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   EXHIBIT A
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ALPHA PHI ALPHA FRATERNITY
INC., et al.,

              Plaintiffs,
                                                         Civ. No. 21-5337
              vs.

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State of
Georgia.

              Defendant.


                    DECLARATION OF WILLIAM S. COOPER

       WILLIAM S. COOPER, acting in accordance with 28 U.S.C. § 1746,

Federal Rule of Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702

and 703, does hereby declare and say:

I.     INTRODUCTION

       1.   My name is William S. Cooper. I have a B.A. in Economics from

Davidson College. As a private consultant, I serve as a demographic and

redistricting expert for the Plaintiffs.

       2.   I have testified at trial as an expert witness on redistricting and

demographics in federal courts in about 50 voting rights cases since the late 1980s.

Over 25 of the cases led to changes in local election district plans. Five of the cases
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resulted in changes to statewide legislative boundaries: Rural West Tennessee

African-American Affairs Council, Inc. v. McWherter, No. 92-cv-2407 (W.D.

Tenn. 1995); Old Person v. Brown, No. 96-cv-0004 (D. Mont. 2002); Bone Shirt v.

Hazeltine, No. 01-cv-3032 (D.S.D. 2004); Alabama Legislative Black Caucus v.

Alabama, No. 12-cv-691 (M.D. Ala. 2017), and Thomas v. Reeves (S.D. Miss.

2019). In Bone Shirt v. Hazeltine, the court adopted the remedial plan I developed.

      3.   I served as the Gingles 1 expert for two post-2010 local-level Section 2

cases in Georgia, NAACP v. Fayette County and NAACP v. Emanuel County. In

both cases, the parties settled on redistricting plans that I developed (with input

from the respective defendants). In the latter part of the decade, I served as the

Gingles 1 expert in three additional Section 2 cases in Georgia, which were all

voluntarily dismissed after the 2018 elections: Georgia NAACP v. Gwinnett

County), No. 1:16-cv-02852-AT; Thompson v. Kemp, No. 1:17-cv-01427 (N.D.

Ga. 2018); and Dwight v. Kemp, No. 1:18-cv-2869 (N.D. Ga. 2018).

      4. In 2022, I have testified as an expert in redistricting and demographics in

six cases challenging district boundaries under Section 2 of the Voting Rights Act:

Caster v. Merrill, No. 21-1356-AMM (N.D. Ala.), Pendergrass v. Raffensperger,

No. 21-05337-SCJ (N.D. Ga.), Alpha Phi Alpha Fraternity v. Raffensperger, No.

21-05339-SCJ (N.D. Ga.), NAACP v Baltimore County, No.21-cv-03232-LKG

(Md.), Christian Ministerial Alliance v. Hutchinson No. 4:19-cv-402-JM (E.D.


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Ark.), and Robinson v Ardoin, No. 3:22-cv-00211-SDD-SDJ (M.D. La.). I also

testified at trial this year as an expert on demographics in NAACP v. Lee, No. 4:21-

cv-187-MW/MAF (N.D. Fla.), a case involving recent changes to Florida election

law.

       5.    Since the release of the 2020 Census, three county commission-level

plans I developed as a private consultant have been adopted by local governments

in San Juan County, Utah, Bolivar County, Mississippi, and Washington County,

Mississippi. In addition, a school board plan I developed was adopted by the

Jefferson County, Alabama Board of Education subsequent to my expert work in

the long-running case of Stout v. Jefferson County Board of Education, No. 2:65-

cv-00396-MHH (N.D. Ala.).

       6.    My redistricting experience is further documented in my curriculum

vitae, which is attached as Exhibit A.

A. Purpose of Declaration

       7.    The attorneys for the Plaintiffs in this case asked me to determine

whether the African-American1 population in Georgia is “sufficiently large and



1 In this report, “African-American” refers to persons who are single-race Black or Any Part
Black (i.e. persons of two or more races and some part Black), including Hispanic Black. In
some instances (e.g. for historical comparisons) numerical or percentage references identify
single-race Black as “SR Black” and Any Part Black as “AP Black.” Unless noted otherwise,
“Black” means AP Black. It is my understanding that following the U.S. Supreme Court decision



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geographically compact” to allow for the creation, consistent with traditional

redistricting principles, of additional majority-Black Senate and House districts

beyond those created in the legislative plans that were signed into law by Governor

Kemp on December 30, 2021—in other words, districts that meet the first Gingles

precondition (“Gingles 1”).2

       8.    For purposes of the Gingles 1 analysis in this report, and unless

otherwise noted, I define majority-Black districts as those that are majority-Black

voting age (“BVAP”). I also report whether districts are majority-Black citizen

voting age (“BCVAP”).3



in Georgia v. Ashcroft, 539 U.S. 461 (2003), the “Any Part” definition is an appropriate Census
classification to use in most Section 2 cases.

Throughout this report, I refer to the two legislative plans signed into law by Governor Kemp as
the “2021 Senate Plan” and the “2021 House Plan,” respectively.

2 See Thornburg v. Gingles, 478 U.S. 30, 50 (1986).

3 The CVAP levels reported herein are estimates based on block group level information
published by the U.S. Census Bureau’s American Communities Survey (ACS). Unless noted
otherwise, the CVAP estimates I report here count only persons who are non-Hispanic (“NH”)
SR Black – and are therefore the most conservative measure of Black citizenship. In the
summary population exhibits that I have prepared for each plan, I also report the NH DOJ Black
CVAP metric. The NH DOJ Black CVAP category includes voting age citizens who are either
NH SR Black or NH Black and White. An “Any Part Black CVAP” category which would
include Black Hispanics cannot be calculated from the 5-Year ACS Census Bureau Special
Tabulation.

The most current ACS data available is from the 2016-2020 ACS Special Tabulation, with a
survey midpoint of July, 1 2018. https://www.census.gov/programs-surveys/decennial-
census/about/voting-rights/cvap.html. The 2016-2020 estimates reflect Census 2020 population
distribution. The 2017-2021 Special Tabulation will be released by the Census Bureau in early
2023, which could require updates to the number of majority-BCVAP districts by plan.

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       9.   The two illustrative plans that I have prepared (one for the State House

and one for the State Senate) demonstrate that Georgia’s Black population is

sufficiently numerous and geographically compact to allow for the creation of at

least three additional majority-Black Senate districts and at least five additional

majority-Black House districts.

       10. The illustrative plans comply with traditional redistricting principles,

including population equality, compactness, contiguity, respect for communities of

interest, and the non-dilution of minority voting strength.

       11. The illustrative plans are drawn to follow, to the extent possible, county

and VTD4 boundaries. Where counties are split to comply with one-person one-vote

requirements or to avoid pairing incumbents, I have generally used whole 2020

Census VTDs as sub-county components. Where VTDs are split, I have followed

census block boundaries that are aligned with roads, natural features, census block

groups, municipal boundaries, and/or current county commission districts.

       12. Exhibit B describes the sources and methodology I have employed in

the preparation of this report and the illustrative plans. Briefly, I used the Maptitude

software program as well as data and shapefiles from the U.S. Census Bureau and

the Georgia Legislative and Congressional Reapportionment Office, among other



4 “VTD” is a Census Bureau term meaning “voting tabulation district.” VTDs generally
correspond to precincts. Statewide, there are 2,698 2020 VTDs.
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sources. I also used official incumbent address information supplied to Plaintiffs’

attorneys by Defendants in January 2022, as well as another potential database of

incumbent address information following the November 2022 General Election

using the 2021 Plans, which I understand is largely based on the address

information contained in the candidate qualifying materials of successful State

House and State Senate candidates.

B. Summary of Expert Conclusions

       13. Based on my Gingles 1 analysis, I conclude the following:

                                           State Senate

       •      The 2021 Senate Plan contains 14 majority-Black districts that are

       BVAP majority (15 are BCVAP majority).

       •      As shown in the Plaintiffs’ Illustrative Senate Plan, a statewide Senate

       plan can be drawn with 18 majority-Black districts, including two additional

       majority-Black districts in south Metro Atlanta and an additional majority-

       Black district anchored in the eastern portion of Georgia’s Black Belt

       (encompassing part of Augusta-Richmond County and extending west to

       Twiggs County).5




5 The Illustrative Senate Plan described infra also creates an additional majority- Black Senate
district in the counties of Cobb and Fulton (District 33), for a total of 18 statewide.
                                                  6
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  •     The Black population in south Metro Atlanta is sufficiently numerous

  and geographically compact to allow for the creation of at least two

  additional compact majority-Black Senate districts, while adhering to

  traditional redistricting principles.

  •     The Black population in and around Georgia’s eastern Black Belt

  counties is sufficiently numerous and geographically compact to form an

  additional majority-Black Senate district, while adhering to traditional

  redistricting principles.

                                  State House

   •    The 2021 House Plan contains 49 majority-Black districts (47 of which

   are also majority BCVAP).

   •    As shown in the Plaintiffs’ Illustrative House Plan, a statewide House

   Plan can be drawn with at least 54 majority-Black districts (53 that are both

   BVAP and BCVAP majority), including five additional majority-Black

   districts. Two of the additional majority Black districts are anchored in south

   Metro Atlanta, two are in Georgia’s Black Belt (one in the eastern end of the

   Black Belt and one in the western end, in Southwest Georgia), and one is in

   metropolitan Macon.




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       •    The Black population in south Metro Atlanta is sufficiently numerous

       and geographically compact to allow for the creation of at least two

       additional majority-Black House districts in Metro Atlanta, while adhering

       to traditional redistricting principles.

       •    The Black population in and around the eastern Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       majority-Black House district, while adhering to traditional redistricting

       principles.

       •    The Black population in and around the western Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       majority-Black House district, while adhering to traditional redistricting

       principles.

       •    The Black population in metropolitan Macon is sufficiently numerous

       and geographically compact to form an additional majority-Black district,

       while adhering to traditional redistricting principles.

C. Gingles 1 Analysis – Focus Areas

      14. According to the data collected in the 2020 Census, and as discussed in

further detail below, Georgia’s Black population has grown significantly since

2010. The State’s Black population is up by 484,848 persons, the equivalent of 2.5


                                            8
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100% Black State Senate districts or eight 100% Black State House districts. By

contrast, the State’s non-Hispanic (“NH”) White population actually declined

during that same period. Yet despite the significant growth in Georgia’s Black

population since 2010, almost no additional majority-Black districts are created in

Georgia’s 2021 Senate and House Plans.6

       15. The 2021 Senate Plan merely maintains the status quo, with 14 majority-

Black districts, the same number as in the previous plan which was enacted in 2012

and first used in 2014 during mid-decade redistricting (the “2014 Benchmark

Senate Plan”).7

       16. The 2021 House Plan has two more majority-Black districts than the

previous plan, which was enacted in 2015 (the “2015 Benchmark House Plan”)

(and which in turn incorporated a discrete set of changes to the plan enacted in




6 The ideal population size for a Senate district is 191,284 and 59,511 for a House district. Those
numbers are derived from the State’s total population and the number of seats in each body.
7 I am counting Senate District 41 (Dekalb County) as majority-Black under the 2014
Benchmark Senate Plan. That district, which was 51.4% BVAP when drawn under the 2010
Census, slipped to 49.76% BVAP according to the 2020 Census. It remained a BCVAP-majority
district at 57.22% BCVAP, according to the 2015-19 ACS.
Notably, Senate District 2 (Chatham County) in the 2014 Benchmark Senate Plan was similarly
drawn at 50.94% BVAP based on 2010 Census data, but had fallen to 47.09% BVAP under the
2020 Census. District 2 is no longer majority-BVAP (46.86% in the 2021 Senate Plan and
46.33% under the Illustrative Senate Plan infra) but remains majority-BCVAP in both plans. I
am not counting Senate District 2 as majority-Black under the 2014 Benchmark Senate Plan,
though I note that doing so would result in the 2021 Senate Plan having one fewer majority-
Black Senate district than its predecessor plan (14 under the 2021 Senate Plan versus 15 under
the 2014 Benchmark Senate Plan).

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2012).8 That small increase is nowhere near commensurate with the significant

growth of Georgia’s Black population during that period.

       17. Under the 2021 Senate Plan, 10 of the 14 majority-Black districts are in

Metro Atlanta. Under the 2021 House Plan, 33 of the 49 majority-Black districts are

in Metro Atlanta.9

       18. To determine where additional majority-Black districts could be drawn,

I focused on areas with substantial Black populations, in particular:

        (1) Metro Atlanta counties (as defined by the Atlanta-Sandy Springs-

Alpharetta Metropolitan Statistical Area (“MSA”) boundaries) shown in the Census

Bureau’s map in Exhibit C;

       (2) Georgia’s Black Belt, as illustrated by the Georgia Budget and Policy




8
  The Senate and House plans initially enacted after the 2010 Census are included in Exhibits I-
2 and V-2, infra. These historical plans are not substantially different than the Benchmark plans
with respect to the number of majority-Black districts. The prior Senate and House maps,
enacted in 2006, are also included in Exhibits I-3 and V-3, respectively.
9 In this report, Metro Atlanta refers to the 29-county Atlanta Metropolitan Statistical Area
(“MSA”) defined by the U.S. Office of Management and Budget. It includes the Counties of
Barrow, Bartow, Butts, Carroll, Cherokee, Clayton, Cobb, Coweta, Dawson, DeKalb, Douglas,
Fayette, Forsyth, Fulton, Gwinnett, Haralson, Heard, Henry, Jasper, Lamar, Meriwether,
Morgan, Newton, Paulding, Pickens, Pike, Rockdale, Spalding, and Walton.

MSA is an abbreviation for “metropolitan statistical area.” Metropolitan statistical areas are
defined by the U.S. Office of Management and Budget and reported in historical and current
census data produced by the Census Bureau. MSAs “consist of the county or counties (or
equivalent entities) associated with at least one urbanized area of at least 50,000 population, plus
adjacent counties having a high degree of social and economic integration with the core as
measured through commuting ties.” U.S. Census Bureau, “About,”
https://www.census.gov/programs-surveys/metro-micro/about.html.
                                                10
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Institute (“GBPI”) map in Figure 1.10 Exhibit D is an excerpt from the GBPI report

(Appendix A) identifying the Black Belt counties and school districts depicted in

Figure 1.

Figure 1
                         Georgia’s Black Belt School Districts




       19. More broadly, and as the GBPI report explains, the term “Black Belt”

refers to a swath of the American South that historically had large numbers of

enslaved Black persons, and that today continues to have substantial Black

populations. In Georgia, the area comprising the Black Belt extends roughly




10 For a current and historical analysis of Georgia’s Black Belt, see Stephen Owens, Education
in Georgia’s Black Belt: Policy Solutions to Help Overcome a History of Exclusion (GBPI
October 10, 2019), https://gbpi.org/education-in-georgias-black-belt.
                                              11
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southwest from the area around Augusta through Macon and Middle Georgia and

on to the southwest corner of the State.

       20. Upon review, I narrowed my focus to four regions within those larger

areas (as illustrated by the maps in Exhibit E and Figure 4, infra):

       21. (Region A) South Metro Atlanta: suburban /exurban counties in a

significantly Black, racially diverse, and geographically compact region that has

emerged over the past quarter of a century—specifically, the counties of Fayette,

Spalding, Henry, Rockdale, and Newton.

       22. The Georgia Governor’s Office of Planning and Budget projects that

this 5-county region will have 725,000 residents by the time of the 2030 Census –

up by about 92,000 persons over the Census 2020 enumeration, of whom 61% will

be non-White. African-Americans are projected to account for about 60% of the

non-White population increase.11

       23. Under the 2021 Senate Plan, parts of three majority-Black districts are in

the south Metro counties—Senate Districts 10, 34, and 43.

       24. Under the 2021 House Plan, parts of seven majority-Black House

districts are in these five south Metro counties.




11 Georgia Governor’s Office of Planning and Budget, “Population Projections,”
https://opb.georgia.gov/census-data/population-projections.
                                              12
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       25. (Region B) Eastern Black Belt: urban Black Belt Richmond County

(Augusta) plus a group of rural Black Belt counties in a geographically compact

area. Several of the rural counties are home to long-standing Black communities

that have not been in a majority-Black Senate district since the passage of the 1965

Voting Rights Act.

       26. All of the Region B counties are part of the Central Savannah River

Area Regional Commission, as shown in Exhibit F on the regional commission

map prepared by the Georgia Department of Community Affairs (“GDCA”).

Georgia’s Regional Commissions are “public agencies created and established by

the Georgia Planning Act (O.C.G.A. 50-8-32) in order to assist local governments

on a regional basis and to develop, promote and assist in establishing coordinated

and comprehensive planning in the state.”12

       27. Region B encompasses the following Central Savannah River Area

Regional Commission counties: (counter clockwise from east to west) Jenkins,

Burke, Richmond, Jefferson, McDuffie, Wilkes, Taliaferro, Glascock, Warren,

Washington, and Hancock. Ten of these 11 contiguous counties—excluding

Glascock (pop. 2,884)—are identified as part of Georgia’s Black Belt by GBPI.



12 See Georgia Department of Community Affairs, “Regional Commissions,”
https://www.dca.ga.gov/local-government-assistance/planning/regional-planning/regional-
commissions; New Georgia Encyclopedia, “Regional Commissions of Georgia,”
https://www.georgiaencyclopedia.org/articles/government-politics/regional-commissions-of-
georgia/.
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Moreover, additional adjacent counties, such as Baldwin County, lie outside the

Central Savannah River Area Regional Commission area but are also identified as

part of the Black Belt by GBPI and have substantial Black populations.

      28. The 2021 Senate Plan includes one majority-Black district in Region

B—Senate District 22 (56.5% BVAP)—in Augusta-Richmond County, and a small

part of another majority Black district—Senate District 26 (56.99% BVAP)—

anchored in Macon-Bibb County.

      29. The 2021 House Plan contains five majority-Black districts in the

Region B area.

      30. (Region C) Western Black Belt: urban Black Belt Dougherty County

(Albany) plus a group of southwest Georgia rural Black Belt counties in a

geographically compact area, implicitly identified in the area encompassed by

majority-Black Senate District 12 (57.97% BVAP) in the 2021 Senate Plan. Region

C encompasses part of the Southwest Georgia and Valley River Area Regional

Commission areas depicted on the GDCA map in Exhibit F.

      31. The 2021 House Plan contains just two majority-Black House districts

in Region C, even though there is obviously sufficient Black population to create

three districts in an area generally circumscribed by majority-Black Senate District




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12 in the 2021 Senate Plan. (This is obvious because Senate Districts are just over

three times the size of House Districts.)

       32. Senate District 12 encompasses 13 counties: (counter clockwise from

north to south on the GDCA map) Sumter, Webster, Stewart, Quitman, Randolph,

Terrell, Clay, Calhoun, Dougherty, Early, Miller, Baker, and Mitchell. Twelve of

the 13 counties—excluding Miller (pop. 6,000)—are identified by GBPI as Black

Belt counties.13 Moreover, additional adjacent counties, such as Thomas County, lie

outside of Senate District 12 in the 2021 Senate Plan but are also identified as part

of the Black Belt by GBPI and have substantial Black populations.

       33. (Region D): Metropolitan Macon: a seven-county region in Middle

Georgia defined by the combined MSAs of Macon-Bibb and Warner Robins. Three

of the Macon area counties are identified as part of Georgia’s Black Belt by




13 Plaintiffs’ Illustrative Senate Plan also contains a majority-Black Senate District in the same
general area of southwest Georgia, Illustrative Senate District 12 (57.97% BVAP).

                                                15
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GBPI—Macon-Bibb, Peach, and Twiggs, encompassing about 59% of the Black

population (177,269) in the seven-county region. 14

       34. As shown in the map in Exhibit F, these seven MSA counties form the

core of the Middle Georgia Regional Commission.

       35. As is the case with Region C, the 2021 House Plan contains just two

majority-Black House districts in Region D, even though there is obviously

sufficient Black population to create three House districts in an area generally

circumscribed by the Macon-Bibb Warner Robins portion of majority-Black Senate

District 26 in the 2021 Senate Plan.15

D. Organization of Declaration

       36. The remainder of this report is organized as follows: Section II reviews

state and regional demographics since 1990. Section III reviews the benchmark

2014 Senate Plan and the 2021 Senate Plan. Section IV presents the Illustrative

Senate Plan that I have prepared, containing 18 majority-Black districts. Section V

reviews the benchmark 2015 House Plan and the enacted 2021 House Plan. Section




14 The Macon-Bibb MSA includes the Counties of Twiggs, Macon-Bibb, Jones, Monroe, and
Crawford. The adjacent Warner Robins MSA encompasses Houston and Peach Counties. As
noted supra, MSAs are in part defined by “counties having a high degree of social and economic
integration with the core as measured through commuting ties.”
15 The Illustrative Senate Plan infra also contains a majority-Black Senate District in the same
general area of metropolitan Macon, Illustrative Senate District 12 (52.81% BVAP), in the
counties of Macon-Bibb and Houston.
                                                16
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VI presents the Illustrative House Plan that I have prepared, containing 54 majority-

Black districts.

      37. An Appendix at the end of my report contains maps and population

summaries overlaying the challenged districts in the 2021 House and Senate Plans

onto historical plans that were in effect from the late 1990s to 2021. I prepared the

maps and population summaries in the Appendix at the request of the attorneys for

the Plaintiffs. The maps and accompanying population data show how the

population living in the area of the challenged districts has been divided and

distributed into historical districts under legislative plans from the 1990s to the

present day.


II. DEMOGRAPHIC PROFILE – STATEWIDE AND REGIONAL

      38. This section provides current and historical population summaries for

Georgia, Metro Atlanta, and for the four distinct areas where additional majority-

Black legislative districts can be created—generally defined by (Region A) the 5-

county south Metro Atlanta area, (Region B) the 11-county area in the eastern

Black Belt within the Augusta/Central Savannah River Regional Commission area,

(Region C) the 13-county western Black Belt around Albany and Southwest

Georgia, and (Region D) the 7-county combined Macon-Bibb Warner Robins

MSAs within the larger geographic area defined by the Middle Georgia Regional

Commission.

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A. 2010 to 2020: A Decade of Minority Population Growth in Georgia

      39. According to the 2020 Census, Georgia has a total population of

10,711,908—up by 1.02 million since 2010. Georgia’s population growth since

2010 can be attributed entirely to gains in the overall minority population.

      40. Between 2010 and 2020, nearly half (47.26%) of the State’s population

gain is attributed to Black population growth.

      41. Figure 2 reveals that Georgia’s Black population, as a share of the

overall statewide population, increased between 2010 and 2020 from 31.53% Black

in 2010 to 33.03% in 2020. Over the 2010 to 2020 decade, the Black population in

Georgia increased by 484,048 persons—an increase of nearly 16% from the 2010

baseline. By contrast, between 2010 and 2020, the NH White population fell by -

51,764 persons.




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Figure 2
                           Georgia – 2010 Census to 2020 Census
                            Population by Race and Ethnicity
                                                                           2010 - % 2010 -
                                  2010               2020                  2020    2020
                                 Number   Percent   Number      Percent   Change Change
       Total Population         9,687,653 100.0% 10,711,908 100.00% 1,024,255 9.56%
       NH White*                5,413,920 55.88% 5,362,156 50.06% -51,764 -0.48%
       Total Minority Pop.      4,273,733 44.12% 5,349,752 49.94% 1,076,019 10.05%
       Latino                     853,689 8.81% 1,123,457 10.49% 269,768 2.52%
       NH Black*                2,910,800 30.05% 3,278,119 30.60% 367,319 3.43%
       NH Asian*                  311,692 3.22%     475,680   4.44% 163,988 1.53%
       NH Hawaiian and PI*          5,152 0.05%       6,101   0.06%       949 0.01%
       slander*#
       NH American Indian and
       Alaska Native*              21,279 0.22%       20,375      0.19%      -904   -0.01%
       NH Other*                   19,141 0.20%       55,887      0.52%    36,746    0.34%
       NH Two or More Races       151,980 1.57%      390,133     3.65% 238,153      2.22%
       SR Black
       (Single-race Black)      2,950,435 30.46%    3,320,513    31.00% 370,078      3.45%
       AP Black
       (Any Part Black)         3,054,098 31.53%    3,538,146    33.03% 484,048      4.52%
       NH Any Part Black        2,997,627 30.94%    3,455,484    32.26% 457,857      4.27%

* Single-race, non-Hispanic.

       42. Non-Hispanic Whites are a razor-thin majority of the 2020 population

(50.06%). Black Georgians account for one-third (33.03%) of the population and

comprise the largest minority population, followed by Latinos (10.49%).

B. Voting Age and Citizen Voting Age Populations in Georgia

       43. As shown in Figure 3, African Americans in Georgia constitute a

slightly smaller percentage of the voting age population (VAP) than the total

population. According to the 2020 Census, Georgia has a total VAP of 8,220,274 –

of whom 2,607,986 (31.73%) are AP Black. The NH White VAP is 4,342,333

(52.82%).


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Figure 3
       Georgia – 2020 Voting Age Population & 2021 Estimated Citizen Voting
                   Age Population by Race and Ethnicity16

                                                               2020    2021
                                                               VAP    CVAP
                                                   2020 VAP Percent Percent
                    Total                           8,220,274 100.00% 100.00%
                    NH White 18+                    4,342,333 52.82%     55.7%
                    Total Minority 18+              3,877,941 47.18%     44.3%
                    Latino 18+                        742,918   9.04%     5.9%
                    Single-race Black (Including
                    Black Hispanics)18+            2,488,419    30.27%   31.4%
                    Any Part Black (Including
                    Black Hispanics) 18+            2,607,986   31.73%   33.3%


       44. The rightmost column in Figure 3 reveals that both the Black and NH

White population comprise a higher percentage of CVAP than the corresponding

VAP, owing to higher non-citizenship rates among other minority populations.

       45. According to estimates from the 2021 1-year American Community

Survey (“ACS”), African Americans represent 33.3% of the statewide CVAP—

about 1.5 percentage points higher than the 2020 AP Black VAP. The NH White

CVAP is 55.7%, nearly 3 points higher than NH White VAP in the 2020 Census.




16
 Sources:
PL94-171 Redistricting File (Census 2020);

Table S2901 -- CITIZEN, VOTING-AGE POPULATION BY SELECTED CHARACTERISTICS
(1-year 2021 ACS)
https://data.census.gov/cedsci/table?q=S2901&g=0400000US13&tid=ACSST1Y2021.S2901

2021 ACS 1-Year Estimates Public Use Microdata Sample
https://data.census.gov/mdat/#/search?ds=ACSPUMS1Y2021&vv=AGEP%2800,18%3A99%29
&cv=RACBLK%281%29&rv=ucgid,CIT%281,2,3,4,%29&wt=PWGTP&g=0400000US13
                                                   20
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       46. The Black CVAP in Georgia is poised to go up this decade. According

to the 2021 1-year ACS, Black citizens of all ages represent 34.45% of all

citizens.17

C. 2020 Census Spatial Distribution of Georgia’s Black Population

       47. The map in Figure 4 below depicts the 2020 Black population

percentage for Georgia’s 159 counties. 67 are in the 20% to 40% range, 33 are 40%

to 60%, and 8 are between 60% and 73%. The bold black boundary identifies the

Atlanta MSA.

       48. Color lines on the Figure 4 map demarcate the areas I focused on in

considering prospects for additional majority-Black House districts: Region A (blue

outline), which is south Metro Atlanta; Region B (red outline), a group of Black

Belt counties around Augusta (Richmond County); Region C (green outline), a

group of Black Belt counties around Albany (Dougherty County) comprising 2021

Senate District 12; and Region D (purple outline), the seven counties in Middle

Georgia (Macon-Warner Robins MSAs). A high-resolution version of the Figure 4

map is in Exhibit E.




   17 Source:
2021 ACS 1-Year Estimates Public Use Microdata Sample
https://data.census.gov/mdat/#/search?ds=ACSPUMS1Y2021&vv=AGEP&cv=RACBLK%281
%29&rv=ucgid,CIT%281,2,3,4%29&wt=PWGTP&g=0400000US13
                                        21
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Figure 4
             2020 Census -- Black Population by County




      49. Exhibit G-1 is a table showing 2010 and 2020 county populations by

race and ethnicity, with the population change between 2010 and 2020. Exhibit G-

2 is a table 2000 and 2010 county populations by race and ethnicity, with

population change between 2000 and 2010. Exhibit G-3 is a table showing 1990

and 2000 county populations by race and ethnicity, with population change between

1990 and 2000. Exhibit G-4 is a table showing the percentage BVAP by county

between 1990 and 2020.



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   D. Black Population as a Component of Total Population from 1990 to 2020

                                    (1) Georgia – Statewide

           50. As shown in Figure 5, Georgia’s Black population has increased

   significantly in absolute and percentage terms since 1990, from about 27% in 1990

   to 33% in 2020. Over the same time period, the percentage of the population

   identifying as NH White has dropped from 70% to 50%.

   Figure 5
                         Georgia – 1990 Census to 2020 Census
                           Population by Race and Ethnicity

                       1990                   2000                  2010               2020
                      Number       Percent   Number      Percent   Number   Percent   Number   Percent
Total Population       6,478,216   100.00%   8,186,453   100.00%   9,687,653 100.0% 10,711,908 100.00%
NH White               4,543,425    70.13%   5,128,661    62.65%   5,413,920 55.88% 5,362,156 50.06%
Total Minority Pop.    1,934,791    29.87%   3,057,792    37.35%   4,273,733 44.12% 5,349,752 49.94%
Latino                   108,922     1.68%     435,227     5.32%     853,689 8.81% 1,123,457 10.49%
Black*                 1,746,565    26.96%   2,393,425    29.24%   3,054,098 31.53% 3,538,146 33.03%

   * SR Black in 1990 -- AP Black 2000-2020

                           (2) Metro Atlanta – 29-County MSA

           51. Figure 6 summarizes the obvious. The key driver of population growth

   in Georgia this century has been Metro Atlanta, led in no small measure by a large

   increase in the Black population in the area. (See Exhibit C depicting the 29-county

   MSA area with bold green lines).




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   Figure 6
                      29-County MSA – Metro Atlanta – 1990 to 2020
                          Population by Race and Ethnicity

                           1990                  2000                  2010               2020
                          Number      Percent   Number      Percent   Number   Percent   Number   Percent
Total Population          3,082,308   100.00%   4,263,438   100.00%   5,286,728 100.00   6,089,815 100.00%
NH White                  2,190,859    71.08%   2,576,109    60.42%                  %
                                                                      2,684,571 50.78%   2,661,835 43.71%
Total Minority Pop.         891,449    28.92%   1,687,329    39.58%   2,602,157 49.22%   3,427,980 56.29%
Latino                       58,917     1.91%     270,655     6.35%     547,894 10.36%     730,470 11.99%
Black*                      779,134    25.28%   1,248,809    29.29%   1,776,888 33.61%   2,186,815 35.91%
   * SR Black in 1990, AP Black 2000-2020

           52. Under the 1990 Census, today’s 29 county-MSA was 25.28% Black,

   increasing to 35.91% in 2020. Since 2000, the Black population in Metro Atlanta

   has climbed by 75%, from 1,248,809 to 2,186,815 in 2020.

           53. According to the 2020 Census, 56.29% of Metro Atlanta residents are

   non-White—a major shift compared to the previous decade. In 2010, NH Whites

   represented 50.78% of the population.

           54. According to the 2020 Census, the 11 core counties comprising the

   Atlanta Regional Commission (“ARC”) area18 account for more than half (54.7%)

   of the statewide Black population. After expanding the Metro Atlanta area to

   include the 29 counties in the Atlanta MSA (including the 11 ARC counties), Metro

   Atlanta encompasses 61.81% of the state’s Black population.




   18 Atlanta Regional Commission, “About the Atlanta Region,” https://atlantaregional.org/atlanta
   region/about-the-atlanta-region.
                                                    24
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                      (3) Region A – 5-County South Metro Atlanta

           55. The table in Figure 7 presents similar 1990 to 2020 population details

   for the five south Metro Atlanta counties (Region A), where I have determined that

   two additional majority-Black Senate districts and at least two additional majority-

   Black House districts can be drawn.


   Figure 7
               Region A – 5-County South Metro Atlanta – 1990 to 2020
                       Population by Race and Ethnicity

                        1990                 2000                 2010               2020
                       Number     Percent   Number     Percent   Number   Percent   Number   Percent
Total Population        271,512   100.00%    401,133   100.00%    559,735 100.00%    633,265 100.00%
NH White                227,297    83.72%    305,779    76.23%    305,092 54.51%     262,792 41.50%
Total Minority Pop.      44,215    16.28%     95,354    23.77%    254,643 45.49%     370,473 58.50%
Latino                    2,757     1.02%     11,560     2.88%     33,722 6.02%       48,287   7.63%
Black*                   38,945    14.34%     74,249    18.51%    205,426 36.70%     294,914 46.57%
   * SR Black in 1990, AP Black 2000-2020

           56. As is readily apparent from the Figure 7 timeline, south Metro Atlanta

   (comprising Fayette, Henry, Spalding, Newton, and Rockdale Counties) has

   undergone a dramatic demographic transformation over the past 30 years. In 1990,

   just 14.34% of the population in the 5-county south Metro Atlanta area was Black.

   By 2010, the Black population had more than doubled to reach 36.70% of the

   overall population, then climbing to 46.57% in 2020.




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           57. Between 2000 and 2020, the Black population in the 5-county south

   Metro Atlanta region quadrupled, from 74,249 to 294,914. The NH White

   population in the region actually decreased during the same period.

                            (4) Region B – Eastern Black Belt

           58. In contrast to south Metro Atlanta, the Black Belt counties in and around

   the Augusta area have experienced a slight overall population decline since 1990,

   from 331,615 to 325,164 in 2020. However, the Black population in the region has

   grown. Figure 8 reveals that a 19% increase in the Black population since 1990 has

   been offset by a 28.7% decline in the NH White population.

   Figure 8
           Region B – Eastern Black Belt Area - 1990 to 2020
                   Population by Race and Ethnicity
                        1990                 2000                 2010               2020
                       Number     Percent   Number     Percent   Number   Percent   Number   Percent
Total Population        331,615   100.00%    321,998   100.00%    322,852 100.00      325,164 100.00%
NH White                174,163    52.52%    146,870    45.61%                 %
                                                                  133,467 41.34%      124,115 38.17%
Total Minority Pop.     157,452    47.48%    175,128    54.39%    189,385 58.66%      201,049 61.83%
Latino                    4,412     1.33%      7,173     2.23%     11,179 3.46%        14,751   4.54%
Black*                  149,307    45.02%    163,130    50.66%    173,238 53.66%      177,610 54.62%
   * SR Black in 1990, AP Black 2000-2020

           59. In 1990, the Black population in Region B represented 45.02% of the

   total population, climbing to 54.62% in 2020.

           60. The total 2020 population in the 11-county area that I identified as

   Region B is sufficient to form about 1.7 Senate districts or 5.5 House districts,

   which is below what would be necessary to create a second majority-Black Senate


                                                26
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   district or a sixth majority-Black House district. However, as shown in the

   Illustrative Senate and House Plans discussed in this report, this population deficit

   can be overcome, and additional majority-Black Senate and House districts can be

   drawn, by including contiguous, demographically similar Black Belt counties such

   as Baldwin, Twiggs, and Wilkinson in the additional districts.

                           (5) Region C – Western Black Belt

          61. As shown in Figure 9, the western Black Belt has experienced a

   population decline since 2010, after holding relatively stable between 1990 and

   2010. All of the population loss can be attributed to a steady decline in the NH

   White population over the past several decades

   Figure 9
              Region C – Western Black Belt Area - 1990 to 2020
                     Population by Race and Ethnicity

                        1990                 2000                 2010               2020
                       Number     Percent   Number     Percent   Number   Percent   Number     Percent
Total Population        205,742   100.00%    214,686   100.00%    209,747 100.00     190,819   100.00%
NH White                100,751    48.97%     90,946    42.36%                 %
                                                                   76,748 36.59%      64,553    33.83%
Total Minority Pop.     104,991    51.03%    123,740    57.64%    132,999 63.41%     126,266    66.17%
Latino                    1,485     0.72%      3,588     1.67%      7,377 3.52%        7,429     3.89%
Black*                  102,728    49.93%    118,786    55.33%    123,663 58.96%     115,621    60.59%
   * SR Black in 1990, AP Black 2000-2020

          62. In 1990, NH Whites constituted about half of the overall population. By

   2020, NH Whites comprised only about one-third. Over the same time period, the

   Black population grew in absolute terms from 102,728 to 115,621, representing just

   under half the population in 1990, but 60.6% of the population by 2020.

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       63. There is insufficient population to create an additional majority-Black

Senate district in Region C and the counties immediately adjacent to Region C in

the western Black Belt. However, as shown in the Illustrative House Plan discussed

in this report, an additional House district can be drawn in the area.

  (6) Region D – Metropolitan Macon (Macon-Bibb Warner Robins MSAs)

       64. As shown in Figure 10, metropolitan Macon has experienced steady

population growth over the past 30 years. Almost all of the growth is attributed to a

near-doubling in the non-White population from 113,653 in 1990 to 216,918 in

2020 (+90.86%).

Figure 10
               Region D – Metropolitan Macon - 1990 to 2020
                 Population by Race and Ethnicity


                        1990               2000               2010               2020
                       Number   Percent   Number   Percent   Number   Percent   Number   Percent
Total Population        317,013 100.00%    356,801 100.00% 399,888 100.00%      425,416 100.00%
NH White                203,360 64.15%     211,927 59.40% 216,968 54.26% %      208,498 49.01%
Total Minority Pop.     113,653 35.85%     144,874 40.60% 182,920 45.74%        216,918 50.99%
Latino                    3,123   0.99%      7,247   2.03% 16,069    4.02%       22,820   5.36%
Black*                  109,958 34.69%     131,627 36.89% 157,470 39.38%        177,269 41.67%
* SR Black in 1990, AP Black 2000-2020

       65. The Black population comprised about one-third of the population in the

Macon area in 1990 (34.69%), climbing to 41.67% in 2020. Non-Hispanic Whites

represented 64.15% of the regional population in 1990, slipping to 49.01% in 2020.




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          66. The seven counties in the combined Macon-Bibb Warner Robins MSAs

are Macon-Bibb, Crawford, Houston, Jones, Monroe, Peach, and Twiggs.

According to the GBPI analysis (Exhibit D), three of the seven counties in

metropolitan Macon are part of the contemporary Black Belt—Macon-Bibb, Peach,

and Twiggs.

          67. Based on the 2020 Census, about seven House districts (7.15) can be

drawn in metropolitan Macon. With a Black population of 177,269 according to

the 2020 Census, there is clearly sufficient Black population in the 7-county Macon

area to encompass three majority-Black House districts rather than just two as under

the 2021 Enacted House Plan.

E. County and Municipal Socioeconomic Characteristics

          68. For background on socioeconomic characteristics by race and ethnicity

at the county, municipal, and community levels in Georgia, I have prepared charts

based on the 5-year 2015-2019 ACS. That data is available online19 and has also

been included in a compact-disk as Exhibit CD.

          69. In addition, Exhibit CD contains charts and statistical summaries of

socioeconomic characteristics from the 1-Year 2021 ACS for Georgia, the two most



19
     The county level data is available at: http://www.fairdata2000.com/ACS_2015_19/Georgia/

The community-level data is available at:
http://www.fairdata2000.com/ACS_2015_19/Georgia/00_Places_2500+/
                                               29
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populous MSAs in the state—Atlanta and Augusta-Richmond County20, and the

four most populous counties of the Atlanta MSA—Cobb, Dekalb, Fulton, and

Gwinnett. Statistics for other less populous counties are not available in the S0201

series.21


III.   SENATE – HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black Senate Districts – 1990s Plan to 2021 Plan

       70. As shown in Figure 11, despite the significant growth in Georgia’s

Black population since 2000—climbing by 1.2 million persons—the number of

majority-Black Senate districts has only inched up to 14 from 13 in the 2006 Plan,

and has remained static for the last decade.




Figure 11
            Number of Majority-Black Senate Districts by Plan – 2000 to 2021




20 The August-Richmond MSA encompasses the Counties of Augusta-Richmond, Burke,
Columbia, Lincoln, McDuffie, Wilkes, Jefferson, Warren, Jenkins and Screven.
21
   Available via: http://www.fairdata2000.com/ACS_2021/Georgia. Source:
U.S. Census Bureau, “S0201 Selected Population Profile in the United States,”
https://data.census.gov/cedsci/table?text=s0201&t=001%3A005%3A451&g=0400000US13,13%
240500000_0500000US13067,13089,13121,13135_310XX00US12060,12260&y=2021

                                             30
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                                                   Statewide     Metro Atlanta
                                                   Majority-      Majority-
                                                     Black          Black
                         Senate Plans22             Districts      Districts
                   1990s Plan – 2000 Census            12                7
                   2006 Plan – 2010 Census             13               10
                   2014 Plan – 2020 Census             14               10
                   2021 Plan – 2020 Census             14               10


       71. As Figure 12 reveals, despite the major changes in the composition of

the State’s population, the percentage of Black Georgians of voting age in majority-

Black Senate districts has hovered around 50% since the mid-2000s, while the

percentage of the NH White VAP in majority-White districts has stayed above 80%

over the same timeframe—indicating that Black populations are disproportionately

“cracked” or divided into majority-White districts rather than placed in majority-

Black districts.23



Figure 12
      Same Race VAP in Majority-Black and Majority NH White Districts
                               2000 to 2021


22 As discussed supra n.7, I am including Senate District 41 (Dekalb County) as majority-Black
under the 2014 Benchmark Senate Plan, even though it had fallen to 49.76% BVAP by the 2020
Census. Notably, when the 2014 Benchmark Senate Plan was drawn, it had 15 total BVAP-
majority districts under the 2010 Census, including both Senate District 41 and Senate District 2
in Savannah. In that sense, the 2021 Senate Plan actually represents a diminution of one
majority-Black district from the last districting effort.
23 “Packing” describes election districts where a minority population is unnecessarily
concentrated, resulting in an overall dilution of minority voting strength in the voting plan.
“Cracking” describes election plans with one or more districts that fragment or divide the
minority population, also resulting in an overall dilution of minority voting strength in the voting
plan.
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                                               Statewide %    Statewide
                                               Black VAP in  %NH White
                                                 Majority-     VAP in
                                                   Black      Majority-
                        Senate Plans             Districts* White Districts
                 1990s Plan – 2000 Census           43.51%                 90.51%
                 2006 Plan – 2010 Census            53.84%                 83.88%
                 2014 Plan – 2020 Census            52.29%                 80.64%
                 2021 Plan – 2020 Census            52.45%                 80.54%
* including Senate District 2 for all years and Senate District 41 for 2014 and 2021

B. 2014 Benchmark Senate Plan

       72. The map in Figure 13 displays 2014 Benchmark Senate Plan districts in

south Metro Atlanta (Region A), the eastern Black Belt (Region B) and

metropolitan Macon (Region D.) Labels on the map display the district number.

Green labels identify majority-Black districts. Exhibit H is a higher resolution

version of the Figure 13 map.




Figure 13



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             2014 Benchmark Senate Plan – Regions A, B, and D




      73. Exhibit I-1 contains a map packet depicting the 2014 Benchmark

Senate Plan, with corresponding Census 2010 statistics, prepared by the Georgia

Legislative & Congressional Reapportionment Office (“GLCRO”). Exhibit I-2

shows the map for the prior 2011-enacted Senate plan, and Exhibit I-3 shows the

map for the Senate plan enacted in 2006.

      74. Exhibit J-1 is a table reporting Census 2020 population statistics for the

56 districts in the 2014 Benchmark Senate Plan, as well as CVAP estimates from




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the 5-year 2015-2019 Special Tabulation.24 Exhibits J-2 and J-3 provide similar

population data for the prior 2011-enacted and 2006-enacted plans.

       75. As a result of the dramatic population shifts in Georgia since 2010, the

2014 Benchmark Senate Plan was severely malapportioned upon release of the

2020 Census, with an overall deviation of 47.75%.

       76. Including Senate District 41 in Metro Atlanta (see supra nn.7 & 22), the

2014 Benchmark Senate Plan contained 14 majority-Black districts. Fifteen districts

in the 2014 Benchmark Plan were BCVAP-majority (the 14 BVAP majority ones

plus Senate District 2 in Chatham County). Seventeen were majority NH Black +

Latino + NH Asian (“B+L+A”) CVAP (i.e., majority minority by CVAP).

       77. Additional 2014 Benchmark Senate Plan information regarding

compactness scores and jurisdictional splits is reported infra for comparison with

the 2021 Senate Plan and Illustrative Senate Plan metrics.

C. 2021 Senate Plan

       78. The map in Figure 14 displays 2021 Senate Plan districts in south Metro

Atlanta (Region A) and in the eastern Black Belt (Region B). Green labels identify

majority-Black districts. Exhibit K is a higher resolution version of the Figure 14

map.



24 See U.S. Census Bureau, Citizen Voting Age Population by Race and Ethnicity,”
https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.
                                             34
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Figure 14
                     2021 Senate Plan – Regions A, B, and D




      79. Exhibit L contains a map packet depicting the 2021 Senate Plan, with

corresponding Census 2020 statistics, prepared by GLCRO.

      80. Exhibit M-1 is a table reporting Census 2020 population statistics for

the 56 districts in the 2021 Plan, as well as CVAP estimates from the 5-year 2016-

2020 Special Tabulation.

      81. Exhibit M-2 breaks out the county population components for the 56

districts in the 2021 Senate Plan.



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      82. Exhibit M-3 is a set of 12 sub-state maps of the 2021 Plan organized by

regional commission areas.

      83. The 2021 Senate Plan contains 14 majority-Black districts (BVAP).

Fifteen are BCVAP majority (the 14 BVAP-majority districts plus Senate District 2

in Chatham County). Eighteen districts in the 2021 Senate Plan are majority

B+L+ACVAP.

      84. Supplemental 2021 Senate Plan information regarding compactness

scores, VTD splits, county splits, municipal splits, and regional splits is reported

infra for comparison with the Illustrative Senate Plan.


IV.   ILLUSTRATIVE SENATE PLAN

A. State-level Perspective

      85. The map in Figure 15 displays Illustrative Senate Plan districts, with the

map zoomed to identify the three additional majority-Black districts (large green

labels) in south Metro Atlanta (Region A) and in the eastern Black Belt (Region B).

Exhibit N is a higher resolution version of the Figure 15 map.




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Figure 15
             Additional Majority-Black Senate Districts – 17, 23, and 28




      86. The additional majority-Black Senate districts are:

Region A –South Metro Atlanta
District 17: in the Counties of Clayton (part), Fayette (part), and Spalding (part)
District 28: in the Counties of Clayton (part) and Henry (part)

Region B – Eastern Black Belt/Central Savannah River Area
District 23: in the Counties of Augusta-Richmond (part), Jenkins, Burke,
Jefferson, Washington, Taliaferro, Hancock, Wilkes (part), Baldwin, Wilkinson,
and Twiggs.

      87. The Illustrative Senate Plan contains 18 majority-Black (BVAP)

districts. As with the 2014 Benchmark Senate and 2021 Senate Plans, District 2

                                         37
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(45.44% BVAP) in Chatham County is majority-BCVAP. Nineteen districts in the

Illustrative Senate Plan are majority-NH DOJ BCVAP.25 Twenty-two districts in

the Illustrative Senate Plan are majority B+L+ACVAP.

       88. Exhibit O-1 is a table reporting Census 2020 population statistics for

the 56 districts in the Illustrative Senate Plan, as well as CVAP estimates from the

5-year 2016-2020 Special Tabulation.

       89. Exhibit O-2 breaks out the county population components for the 56

districts in the Illustrative Senate Plan.

       90. Exhibit O-3 is a set of 12 sub-state maps of the Illustrative Plan

organized by regional commission areas.

       91. Exhibit O-4 is a statewide map showing the 18 majority Black Senate

districts (green) under the Illustrative Plan, with the three additional majority-Black

districts shaded light green.

       92. Exhibit O-5 zooms on each of the three additional majority-Black

districts in the Illustrative Senate Plan.

       93. Exhibit O-6 is a core constituencies report, showing population shifts

by district from the 2021 Senate Plan to the Illustrative Senate Plan.




25 See supra n.3. NH DOJ BCVAP is the sum of voting age citizens who are single-race NH
Black or of 2 races (NH Black and NH White).
                                               38
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      94. The text descriptions of the additional majority-Black Senate districts in

the Illustrative Senate Plan set forth below are illustrated with side-by-side

comparison maps, depicting the Illustrative Senate Plan and 2021 Senate Plan at the

same scale. Higher resolution versions of these side-by-side pairings are also

included in exhibits in the Exhibit P, Exhibit Q, and Exhibit R series, as marked

below. The county-level population change data discussed below is reflected in

Exhibits G-1, G-2, and G-4.

      95. The side-by-side maps are occasionally interspersed with maps

depicting Illustrative Senate Plan boundaries in counties that are split in the process

of creating the additional majority Black districts—e.g., Spalding and Wilkes

Counties, which are not split in the 2021 Plan. The county-level maps reveal that

the splits are reasonable, and especially so within the context of Georgia’s

oftentimes irregularly shaped municipal and VTD boundaries. Notably, the

Illustrative Senate Plan overall splits fewer counties than the 2021 Senate Plan, as

reported infra.

B. District-by-District Analysis

                       (1) South Metro Atlanta (Region A)

                     (a) 2021 Senate District 16 (Exhibit P-1)

      96. As shown in Figure 16, District 16 in the 2021 Senate Plan lies in the

south and southwestern part of the Atlanta Metro area. It includes part of Fayette


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County, extending south to encompass Spalding, Lamar and Pike Counties

(partially displayed on the map).

Figure 16
                       2021 Senate District 16 and vicinity




      97. Both Fayette and Spalding Counties have seen significant, double-digit

growth in their Black populations over the last decade. The Black VAP in Fayette

County increased by 54.5% between 2010 and 2020 (from 15,355 to 23,728) even

as the NH White VAP fell slightly. Spalding County saw its Black VAP grow by

18.5% over the decade, with virtually no change in the White VAP.



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      98. Neighboring Clayton County, which borders Fayette and Spalding

Counties, is majority-Black, and also has increasing Black population (30%

increase since 2010). Senate District 16 is nevertheless drawn with a BVAP of 23%

by packing majority-Black neighborhoods in northeast Fayette County into Senate

District 34 (a neighboring, 69.54% BVAP district anchored in Clayton County), and

then joining the remaining areas of Fayette County with Spalding County and Pike

and Lamar Counties on the outer ring of Metro Atlanta.

                 (b) Illustrative Senate District 28 (Exhibit P-2)

      99. As Figure 17A reveals, a majority-Black District 28 (51.32% BVAP)

can be drawn in the vicinity of 2021 Senate District 16 by joining adjacent portions

of Fayette, Spalding, and Clayton Counties, and unpacking some of the Black

population in neighboring Senate District 34 (parts of Clayton and Fayette

Counties) as well as Senate District 44 (which also stretches into the adjacent

portion of Clayton County). In the 2021 Senate Plan, the BVAP in these two packed

neighboring districts stands at about 70%.




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Figure 17A
                    Illustrative Senate District 28 and vicinity




      100. Figure 17B zooms in on the City of Griffin (pop. 23,470) in Spalding

County, displaying municipal and VTD boundaries. The majority-Black City of

Griffin is placed in Illustrative District 28, with Griffin’s municipal lines serving as

a border between District 28 and District 16.




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Figure 17B
       Griffin/Spalding County Detail – Illustrative Districts 28 and 16




      101. To recap, unpacking 2021 Plan District 34 and District 44 allows a

majority-Black Illustrative Senate District 28 to be drawn in Fayette, Spalding, and

a neighboring part of majority-Black Clayton County, while “uncracking” the

surrounding Black population that is drawn into 2021 Senate District 16.

                    (c) 2021 Senate District 17 (Exhibit Q-1)

      102. As shown in Figure 17C, Senate District 17, as drawn in the 2021

Senate Plan, includes parts of Henry, Newton, and Walton Counties, and all of

Morgan County. Of the counties in 2021 Senate District 17: Henry County’s

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BVAP increased by almost 75% in the last decade (to reach almost 50% of the

county VAP) and Newton County’s BVAP increased by more than 45% to reach

almost 50% of the total VAP of the county.

Figure 17C
                       2021 Senate District 17 and vicinity




      103. Neighboring Dekalb and Rockdale Counties, which border Henry and

Newton Counties, also have substantial Black populations. For example, Rockdale

County is majority Black (58.6% BVAP) and the county’s BVAP increased by 53%

over the last decade. Senate District 17 is nevertheless drawn in the 2021 Plan with

a BVAP under 34%, cracking the Black population in central and eastern Henry
                                         44
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County as well as in parts of Newton County by extending the district out into

predominantly white and more rural Walton and Morgan counties outside the South

Metro area, splitting multiple counties in the process. Meanwhile, the 2021 Senate

Plan packs the Black population in Senate Districts 10 and 43 (which include parts

of Henry, Rockdale, and Newton Counties), drawing those districts with BVAPs of

over 70% and almost 65%, respectively.

                   (d) Illustrative Senate District 17 (Exhibit Q-2)

       104. As shown in Figure 17D, a majority-Black Senate District 17 can be

drawn in the vicinity of 2021 Senate District 17 by unpacking the Black population

in a number of neighboring districts, including 2021 Senate Districts 10 and 43.26




26 The Illustrative Senate Plan places the booming Black population of Newton County in
majority-Black District 43.
                                             45
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Figure 17D
                    Illustrative Senate District 17 and vicinity




      105. By unpacking 2021 Senate Districts 10 and 43 and uncracking the Black

population in central and eastern Henry County (which the 2021 Senate Plan places

in majority-White Senate District 17), a majority-Black Illustrative Senate District

17 can be drawn in Henry, Rockdale, and Dekalb Counties. As Figure 17C and

Figure 17D make clear, Illustrative Senate District 17 is much more compact than

the sprawling 2021 District 17.

      106. Figures 17E and 17F (Exhibits P-3 and P-4) show the broader South

Metro Region under both the 2021 Senate Plan and the Illustrative Senate Plan. As

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shown in those figures, the 2021 Senate Plan repeatedly cracks the growing and

diversifying South Metro Region by submerging it in districts that stretch out into

more rural outlying counties in the outer ring of the Atlanta MSA and beyond. By

contrast, the Illustrative Plan includes districts that are firmly anchored in the South

Metro and are combined with similarly growing and diverse counties closer to the

urban core.

Figure 17E
                 South Metro Region under the 2021 Senate Plan




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Figure 17F
             South Metro Region under the Illustrative Senate Plan




                       (2) Eastern Black Belt (Region B)

                        (a) 2021 District 23 (Exhibit R-1)

      107. Senate District 23 under the 2021 Plan is drawn with a BVAP under

36%. As shown in Figure 18, 2021 Senate District 23 lies around Augusta,

including outlying parts of Augusta-Richmond County and a number of

surrounding Black Belt counties in the larger Central Savannah River region,

including Burke, Jefferson, Warren, and Taliaferro Counties.



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Figure 18
                      2021 Senate District 23 and Vicinity




                    (b) Illustrative District 23 (Exhibit R-2)

      108. As shown in Figure 19A, an additional majority-Black Senate district

can be drawn in the eastern Black Belt region by unpacking the Black population in

both 2021 Senate District 22 (central Augusta-Richmond County) and 2021 Senate

District 26 (which includes Black Belt counties to the west, such as Hancock

County), and by uncracking the Black populations in 2021 Senate District 23 and in

2021 Senate District 25 (which include additional contiguous Black Belt counties

such as Baldwin County).

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Figure 19A
                   Illustrative Senate District 23 and Vicinity




      109. Apart from Augusta-Richmond County, Wilkes County is the only other

split county in Illustrative District 23. As shown in Figure 19B, Illustrative Senate

District 23 divides Wilkes County along current administrative boundaries,

following county commission lines (green) north into the City of Washington where

it follows the western city limits of Washington before returning to east-west

commission boundaries in the center of the city.




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Figure 19B
                        Washington/Wilkes County Detail




      110. To recap, an east-west configuration of counties across the eastern Black

Belt allows a majority-Black Illustrative Senate District 23 to be drawn in an area

that includes part of Augusta-Richmond County and most of the Black Belt area

counties between Augusta and Macon.

C. Supplemental Plan Information

                              (1) Population Equality

      111. As demonstrated by the district-by-district population statistics in

Exhibits O-1 and M-1, the Illustrative Senate Plan matches the 2021 Senate Plan


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by staying within a stringent 1% population deviation limit for each district (i.e., no

district is more than 1% away from ideal population size).

                                       (2) Compactness

       112. Compactness scores for the Illustrative Senate Plan are within the norm

for a typical legislative Plan. Exhibit S-1 contains district-by-district compactness

scores generated by Maptitude for all districts in the Illustrative Senate Plan,

alongside scores for the 2014 Benchmark Senate Plan (Exhibit S-2) and the 2021

Senate Plan (Exhibit S-3).

       113. The table in Figure 20 (condensed from the Exhibit S series) reports

mean and minimum Reock27 and Polsby-Popper28 scores for the Illustrative Senate

Plan, the 2014 Benchmark Senate Plan, and the 2021 Senate Plan.

       114. On balance, the Illustrative Senate Plan and 2021 Senate Plan score

about the same on the widely referenced Reock and Polsby-Popper measures. If




27 “The Reock test is an area-based measure that compares each district to a circle, which is
considered to be the most compact shape possible. For each district, the Reock test computes the
ratio of the area of the district to the area of the minimum enclosing circle for the district. The
measure is always between 0 and 1, with 1 being the most compact. The Reock test computes
one number for each district and the minimum, maximum, mean and standard deviation for the
plan.” Caliper Corporation, Maptitude For Redistricting Software Documentation.
28 The Polsby-Popper test computes the ratio of the district area to the area of a circle with the
same perimeter: 4pArea/(Perimeter2). The measure is always between 0 and 1, with 1 being the
most compact. The Polsby-Popper test computes one number for each district and the minimum,
maximum, mean and standard deviation for the plan. See Caliper Corporation, Maptitude For
Redistricting Software Documentation.
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 anything, the Illustrative Plan scores better inasmuch as its least compact district by

 Reock scores .22, compared to .17 for the 2021 Senate Plan.

 Figure 20
                                Compactness Scores
       Illustrative Senate Plan and 2014 Benchmark and 2021 Senate Plans
                                                    Reock               Polsby-Popper
                                              Mean      Low             Mean       Low
             Illustrative Senate Plan             .43       .22              .28    .14
             2014 Benchmark Senate Plan           .43       .14              .27    .11
             2021 Senate Plan                     .42       .17              .29    .13

                                   (3) Jurisdictional Splits

        115. The Exhibit T series contains Maptitude generated reports for splits of

 key geographic areas in Georgia—from VTDs to regional commissions—under the

 Illustrative Senate Plan, the 2014 Benchmark Plan, and the 2021 Senate Plan.

        116. The table in Figure 21 summarizes split counts for counties, 2020

 VTDs, and municipalities. The Illustrative Senate Plan scores better than the 2021

 Plan across all six categories.

 Figure 21
                   County and VTD Splits/Whole Municipalities –
          Illustrative Plan versus 2014 Benchmark and 2021 Senate Plans
                                                          Single-
                                                          County     Single and            Total
                                    Total      2020       Whole     Multi County           City/
                        Split      County      VTD      City/Towns  Whole City/           Town
                      Counties     Splits*    Splits*     (478)#    Towns (531#)          Splits*
Illustrative Senate          28          57        38           437           464              166
2014 Benchmark               38          65        86           422           448              198
2021 Senate                  29          60        40           434           463              169
 *Populated splits only
 # Higher is better

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       117. Exhibit T-1 contains a county and VTD split report for the Illustrative

Senate Plan. Exhibit T-2 reports on the 2014 Benchmark Senate Plan and Exhibit

T-3 reports on the 2021 Senate Plan.

       118. Exhibit T-4 contains a split report for all 531 municipalities (including

the 53 cities and towns that spill over into another county) for the Illustrative Senate

Plan. Exhibit T-5 reports on the 2014 Benchmark Senate Plan and Exhibit T-6

reports on the 2021 Senate Plan.

                                      (4) Regional Splits

       119. The table in Figure 22 shows regional splits, defined by the 12 state-

designated regional commissions and the 39 federally-designated core-based

statistical areas (“CBSAs”), which include MSAs and micropolitan statistical

areas.29




29 As the Census Bureau has explained “Micropolitan statistical areas consist of the county or
counties (or equivalent entities) associated with at least one urban cluster of at least 10,000 but
less than 50,000 population, plus adjacent counties having a high degree of social and economic
integration with the core as measured through commuting ties.” See also supra n.9.


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Figure 22
                     Split Regional Commissions and CBSAs
        Illustrative Plan versus 2014 Benchmark and 2021 Senate Plans
                                           Regional
                                          Commission    Whole       CBSA
                                            Splits      CBSAs       Splits
            Illustrative Senate                    83      23                72
            2014 Benchmark Senate                  84      21                78
            2021 Senate                            89      20                79

      120. Again, the Illustrative Senate Plan scores higher than the 2021 Senate

Plan across the three categories.

                                    (5) Incumbents

      121. The Illustrative Senate Plan modifies 35 of the 56 districts as drawn in

the 2021 Senate Plan.

      122. Based on January 2022 incumbent address information given to

Plaintiffs’ attorneys by the Defendants in the form of a geocoded shapefile,

Illustrative Senate District 4 has an incumbent conflict. Also, as in the 2021 Plan,

Senate Districts 13 and 52 have paired incumbents. Based on the preliminary

analysis of incumbent address information following the November 2022 general

election pursuant to the 2021 House Plan, three districts in the Illustrative Senate

Plan may have incumbent conflicts: 4, 5, and 35.




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D. Comparative Socioeconomic Analysis

       123. This section of my report briefly highlights charts and tables that I

prepared from the 2015-2019 American Community Survey found on Exhibit CD

or via: http://www.fairdata2000.com/ACS_2015_19/Georgia/.

       124. The datasets available in these ACS-based documents facilitate

comparisons by race/ethnicity and other socioeconomic measurements across

counties that are included in relevant districts in the Illustrative Senate Plan and the

2021 Senate Plan, which can help identify commonalities and communities of

interest in the relevant areas.

       125. For example, the counties within Illustrative Senate District 28 share

socioeconomic characteristics that make them similar to one another. A relatively

high proportion of Black residents are in the labor force in Fayette, Spalding, and

Clayton Counties (64.3%, 58.2%, and 69.5% respectively). (See Exhibit CD

Reports for Fayette, Spalding, and Clayton Counties at pp. 53-55.)30

       126. By comparison, the labor force participation rates for Black residents in

Pike and Lamar Counties (which are contained within 2021 Senate District 16

along with Spalding County and part of Fayette County) are lower than the




   30 Page references to Exhibit CD in this section refer to the county-specific or place-specific
documents in Exhibit CD entitled “Single-Race African Americans and Latinos vis-à-vis Non-
Hispanic Whites – Selected Socio-Economic Data,” which are based on the 2015-2019 ACS 5-
Year Estimates. See supra ¶¶ 68-69.
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counties contained within Illustrative Senate District 28. The Black labor force

participation rates in Pike and Lamar Counties are 51.3% and 48.0% respectively.

(See Exhibit CD Reports for Pike and Lamar Counties at pp. 53-55.)

      127. The counties within Illustrative Senate District 17 share socioeconomic

characteristics that make them similar to one another. For example, the counties

that comprise Illustrative Senate District 17 are similar when educational

attainment rates among Black residents are compared across the counties. A

significant proportion of Black residents in Henry, Rockdale, and Dekalb Counties

have received a bachelor’s degree or higher (34.5%, 29.2%, and 29.2%

respectively). (See Exhibit CD Reports for Henry, Rockdale, and Dekalb Counties

at pp. 21-22.)

      128. On the other hand, the counties that comprise 2021 Senate District 17

do not share these commonalities with respect to educational attainment

characteristics. Walton and Morgan Counties are especially different. White

residents in Walton and Morgan Counties (77.5% and 74.0% White) are less likely

to have received a bachelor’s degree or higher than Black residents in majority-

non-White Henry County (14.1% in Walton County and 7.0% in Morgan County,

compared to 34.5% in Henry County). (See Exhibit CD Reports for Walton and

Morgan Counties at pp. 21-22.)




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       129. The counties within Illustrative Senate District 23 also share certain

socioeconomic characteristics that make them similar to one another. For example,

a significant proportion of Black residents across the Illustrative Senate District 23

counties had incomes that fell below the poverty line (ranging from 20.1% of the

Black population to 38.4% of the Black population) (See Exhibit CD Reports for

relevant counties at pp. 25-29.)

E. Online Interactive Maps

       130. The Illustrative Senate Plan can also be viewed online in detail on the

Dave’s Redistricting Application (DRA) website via this link:

https://davesredistricting.org/maps#viewmap::fe5932c5-df77-4a66-b242-

1112a9666e60.

       131. For comparison, the 2021 Senate Plan can be viewed via this link:

https://davesredistricting.org/join/52efcc99-481d-4b95-8e17-daddf279a59e.


V.     HOUSE – HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black House Districts – 1990s Plan to 2021 Plan

       132. As shown in Figure 23, and despite the significant growth in Georgia’s

Black population over the past two decades discussed earlier in this report, the

number of majority-Black House districts has climbed by just four districts from 45

(25% of districts) in the 2006 plan to 49 (27.2%) in the 2021 Plan, and has

remained more or less static for the last decade.

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Figure 23
      Number of Majority- Black House Districts by Plan –2000 to 2021

                                             Statewide      Metro Atlanta
                                             Majority-       Majority-
                                               Black           Black
                       House Plans            Districts       Districts
                1990s Plan -- 2000 Census         37              22
                2006 Plan -- 2010 Census          45              30
                2012 Plan – 2010 Census           48              32
                2015 Plan -- 2020 Census          47              31
                2021 Plan -- 2020 Census          49              33


      133. Since the enactment of the 2006 Plan, just three majority-Black districts

have been added in Metro Atlanta, even as the Black population in the 29-county

area has climbed by over 400,00 persons—the equivalent of nearly entire seven

House districts based on the 2020 ideal district size.

      134. Despite the nominal increase in majority-Black House districts since

2006, Figure 24 reveals that the percentage of Black Georgians of voting age in

majority-Black House districts is only slightly higher than in the 1990s (52% versus

45%). Under the 2021 Plan, the percentage of the NH White population in majority-

White districts is down from the 1990s (76% versus 90%). Still, as with the Senate,

the 25-point Black-White gap demonstrates that Black populations are

disproportionately “cracked” or divided into majority-White districts in the House.




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Figure 24
    Same Race VAP in Majority-Black and Majority NH White Districts
                             2000 to 2021
                                              Statewide %      Statewide
                                              Black VAP in    %NH White
                                                Majority-       VAP in
                                                  Black      Majority-White
                         House Plans            Districts*      Districts
                  1990s Plan – 2000 Census        44.81%          90.49%
                  2006 Plan – 2010 Census         44.61%          83.73%
                  2015 Plan – 2020 Census         47.94%           77.6%
                  2021 Plan – 2020 Census         51.65%          76.16%

* including Districts that are BVAP- and/or BCVAP-majority

B. 2015 Benchmark House Plan

       135. The map in Figure 25 displays 2015 Benchmark House Plan districts in

south Metro Atlanta (Region A) and in the eastern and western Black Belt (Regions

B and C) and metropolitan Macon (Region D). Labels on the map display the

district number. Green labels identify majority-Black districts.




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Figure 25
            2015 Benchmark House Plan – Regions A, B, C, and D




      136. The map depicted in Figure 25 is also included as Exhibit U.

      137. Exhibit V-1 contains a map packet depicting the Benchmark 2015

House Plan, with corresponding Census 2010 statistics, prepared by GLCRO.

Exhibit V-2 shows the map for the prior 2012-enacted House plan, and Exhibit V-

3 shows the map for the House plan enacted in 2006.

      138. Exhibit W-1 is a table reporting Census 2020 population statistics for

the 180 districts in the 2015 Benchmark House Plan, as well as CVAP estimates



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from the 5-year 2015-2019 Special Tabulation.31 Exhibits W-2 and W-3 provide

similar population information for the prior, 2012-enacted and 2006-enacted plans.

         139. As a result of the dramatic population shifts in Georgia since 2010, the

2015 Benchmark House Plan was severely malapportioned, with an overall

deviation of 56.66%, according to the 2020 Census.

         140. The 2015 Benchmark House Plan contains 47 majority-Black districts,

with 48 BCVAP-majority districts and 62 districts that are B+L+ACVAP majority.

         141. For comparison, additional 2015 Benchmark House Plan information

regarding compactness scores, county splits, VTD splits, and municipal splits is

reported infra.

C. 2021 House Plan

         142. The map in Figure 26 displays 2021 House Plan districts in south Metro

Atlanta (Region A), in the eastern and western Black Belt (Regions B and C) and

metropolitan Macon (Region D). Green labels identify majority-Black districts.

Exhibit X is a higher resolution version of the Figure 26 map.

         143. For comparison, additional 2021 House Plan information regarding

compactness scores, county splits, VTD splits, and municipal splits is reported

infra.



31 See U.S. Census Bureau, Citizen Voting Age Population by Race and Ethnicity,”
https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.
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Figure 26
                     2021 House Plan – Regions A, B, C, and D




      144. Exhibit Y contains a map packet depicting the 2021 House Plan, with

corresponding Census 2020 statistics, prepared by GLCRO.

      145. Exhibit Z-1 is a table reporting Census 2020 population statistics for the

180 districts in the 2021 House Plan, as well as CVAP estimates from the 5-year

2016-2020 Special Tabulation.

      146. Exhibit Z-2 breaks out the county population components for the 180

districts in the 2021 House Plan.




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       147. Exhibit Z-3 is a set of 12 sub-state maps of the 2021 House Plan

organized by regional commission areas.

       148. A higher resolution version of Figure 26 is included as Exhibit Z-4.

       149. The 2021 House Plan contains 49 majority-Black districts, with 49

BCVAP-majority districts. Sixty-two districts in the 2021 House Plan are majority

B+L+ACVAP.

       150. Supplemental 2021 House Plan information regarding compactness

scores, VTD splits, county splits, municipal splits, and regional splits is reported

infra for comparison with the Illustrative House Plan.


VI.    ILLUSTRATIVE HOUSE PLAN

A. State-level Perspective

       151. The map in Figure 27 displays Illustrative House Plan districts,

identifying five additional majority Black districts (large green labels) in south

Metro Atlanta (Region A), in the Black Belt (Regions B and C), and in metropolitan

Macon (Region D). Exhibit AA is a higher resolution version of the Figure 27

map.




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Figure 27
Illustrative House – New Majority-Black Districts –74, 117, 133, 145, and 171




      152. The Illustrative House Plan contains 54 majority-Black districts

(BVAP), with 54 majority-BCVAP districts and 53 that are both BVAP and

BCVAP-majority. Sixty-seven districts in the Illustrative House Plan are majority

B+L+ACVAP.

      153. The five additional majority-Black House districts are:

Region A –South Metro Atlanta
District 74: in the Counties of Clayton (part), Henry (part), and Spalding (part)
District 117: in the Counties of Henry (part) and Spalding (part)

Region B – Eastern Black Belt/Central Savannah River Area
District 133: (north to south) in the Counties of Wilkes (part), Taliaferro, Warren,
                                        65
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Hancock, Baldwin (part), and Wilkinson

Region C – Western Black Belt
District 171: in the Counties of Dougherty (part), Mitchell, and Thomas (part)

Region D – Metropolitan Macon
District 145: in the Counties of Macon-Bibb (part) and Monroe (part)

      154. Exhibit AA-1 is a table reporting Census 2020 population statistics for

the 180 districts in the Illustrative House Plan, as well as CVAP estimates from the

5-year 2016-2020 Special Tabulation.

      155. Exhibit AA-2 breaks out the county population components for the 180

districts in the Illustrative House Plan.

      156. Exhibit AA-3 is a set of 12 sub-state maps of the Illustrative House Plan

organized by regional commission areas.

      157. Exhibit AA-4 is a statewide map showing the 54 majority Black House

districts (green) under the Illustrative Plan, with the five additional majority-Black

districts shaded light green.

      158. Exhibit AA-5 zooms on each of the five additional majority-Black

districts in the Illustrative House Plan

      159. Exhibit AA-6 is a core constituencies report, showing population shifts

by district from the 2021 House Plan to the Illustrative House Plan.

      160. The text descriptions of the five additional majority-Black districts in

the Illustrative House Plan set forth below are illustrated with paired comparison


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map exhibits, depicting the Illustrative House Plan and 2021 House Plan at the

same scale. Higher resolution versions of these side-by-side pairings are also

included in exhibits in the Exhibit AB, Exhibit AC, Exhibit AD, Exhibit AE, and

Exhibit AF series, as marked below. The county-level population change data

discussed below is reflected in Exhibits G-1, G-2, and G-4.

      161. The side-by-side maps are occasionally interspersed with maps

depicting Illustrative House Plan boundaries in a few counties that are split in the

process of creating the additional majority Black districts—e.g., Spalding and

Wilkes—but are not split in the 2021 Plan. These county-level maps reveal that the

splits are reasonable, especially within the context of Georgia’s oftentimes

irregularly shaped municipal and VTD boundaries. Notably, the Illustrative House

Plan overall splits fewer counties than the 2021 Senate Plan, as reported infra.

B. District-by-District Analysis

                        (1) South Metro Atlanta (Region A)

                    (a) 2021 House District 74 (Exhibit AB-1)

      162. As shown in Figure 28, District 74 in the 2021 House Plan lies in the

south Metro Atlanta area and combines parts of Fayette, Spalding, and Henry

Counties. The BVAP of the district as drawn is under 26%.




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Figure 28
                    2021 House Plan District 74 and vicinity




                    (b) Illustrative District 74 (Exhibit AB-2)

      163. An additional majority-Black House District can be drawn in this area

by unpacking the Black population in adjacent 2021 House District 78 (which is

anchored in neighboring Clayton County, and is 71.58% BVAP under the 2021

House Plan) and uncracking the Black population in House District 74, which

includes areas in Henry County and Spalding County that have experienced

substantial Black population growth over the past two decades, as shown in the

Exhibit G series and associated discussion supra.


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      164. As shown in Figure 29, unpacking those districts allows a majority-

Black Illustrative House District 74 to be drawn in Henry, Spalding, and the

neighboring part of Clayton County.

Figure 29
                    Illustrative Plan District 74 and vicinity




                    (c) 2021 House District 117 (Exhibit AC-1)

      165. In the same general area, another additional majority-Black House

district can be drawn around where District 117 in the 2021 House Plan is drawn.

As shown in zoomed-in Figure 29A, displaying municipal boundaries, House

District 117 in the 2021 House Plan lies in the south Metro Atlanta area and

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includes parts of Henry and Spalding Counties. The BVAP of the district as drawn

is just under 37%, and the BVAP of the neighboring district that includes the rest of

Spalding County, District 134, is about 34%.

Figure 29A
                    2021 House Plan District 117 and vicinity




                    (d) Illustrative District 117 (Exhibit AC-2)

      166. At least one additional majority-Black House District can be drawn in

the area around 2021 House District 117 by unpacking the Black population in

2021 House District 116 (which includes part of Henry County just to the north,

closer in to the center of the Metro Atlanta area) and uncracking the Black

                                         70
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populations in House Districts 117 and 134, bringing more of the growing Black

populations in Henry and Spalding Counties into majority-Black districts. As

demonstrated in Figure 29B, unpacking those districts allows for a majority-Black

Illustrative House District 117 to be drawn in Henry and Spalding Counties.

Figure 29A
                    2021 House Plan District 117 and vicinity




      167. Figures 29B and 29C (Exhibits AC-3 and AC-4) show the broader

South Metro Region, including House Districts 74 and 117, in both the 2021 House

Plan and the Illustrative Plan.


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Figure 29B
             South Metro Region under the 2021 House Plan




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Figure 29C
             South Metro Region under the Illustrative House Plan




                        (2) Eastern Black Belt (Region B)
            (a) 2021 Plan Eastern Black Belt Districts (Exhibit AD-1)

         168. As shown in Figure 30, an additional majority-Black House

 District can also be drawn in the area in and around Augusta, including a

 number of Black Belt-area counties such as Baldwin, Wilkinson, and

 Taliaferro that are not within majority-Black districts under the 2021 House

 Plan.




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Figure 30
            2021 House Plan District 133 and the eastern Black Belt




                (b) Illustrative Plan District 133 (Exhibit AD-2)

      169. As shown in Figure 31, in the 2021 House Plan, the area in and around

Augusta includes five majority-Black districts: Districts 129 and 130 (entirely

within Richmond County), as well as Districts 128, 131, and 132. An additional

majority-Black district can be drawn in the outlying area by unpacking the Black

populations of those five majority-Black districts in the 2021 House Plan.




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Figure 31
                 Illustrative House Plan District 133 and vicinity




      170. Looking at the Augusta region as a whole (Region B, outlined in red,

plus adjacent counties), a sixth majority-Black district (Illustrative District 133) can

be drawn in an area extending south-to-north from Wilkinson County to Baldwin

County and on to Wilkes County.

      171. Baldwin County is already split in the 2021 House Plan, but most of the

Black population in the county lives in Milledgeville and is submerged in majority-

White 2021 House District 133.




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      172. The map in zoomed-in Figure 31B demonstrates that Baldwin County

can be split in a reasonable fashion along VTD and municipal lines to include most

of oddly-shaped Milledgeville in Illustrative District 133. (The municipal boundary

of Milledgeville is shaded in the Figure 31B. As shown below, there are

unincorporated parts of Baldwin County contained within the Milledgeville city

limits, some which are not contiguous or barely contiguous with the rest of the

municipality.)

Figure 31B
                 Illustrative House Plan Baldwin County Detail




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       173. The map in Figure 31C shows that Wilkes County can be divided

following county commission and municipal lines in forming Illustrative House

District 133. A single VTD that is partly in the City of Washington forms the

remainder of the perimeter. All of the City of Washington is in Illustrative District

133.

Figure 31

                  Illustrative House Plan Wilkes County Detail




       174. To recap, the Illustrative Plan draws six majority-Black House districts

in the Eastern Black Belt—House Districts 124, 125, 126, 127, 128, and 133—

where there are just five in the 2021 Plan.

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                        (3) Western Black Belt (Region C)

                    (a) 2021 Plan District 171 (Exhibit AE-1)

      175. An additional majority-Black House District can also be drawn in the

area along the historic U.S. Highway 19 corridor between Albany and

Thomasville—unpacking and uncracking the Black population in and around the

two cities. As shown in Figure 32, the 2021 House Plan includes only two

majority-Black House Districts in the same general area as 2021 Senate District 12

in the southwest corner of the state (depicted with black lines as Region C).

Figure 32
               2021 Plan: District 151, 153, 171, 173 and Vicinity




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      176. The BVAP of 2021 House District 171, which contains Mitchell

County, is about 40%. In addition, the BVAP of neighboring 2021 House District

173, which includes Thomas County, is just over 36%. And nearby Dougherty

County, which contains the majority-Black City of Albany, is split among four

districts in the 2021 House Plan—including 2021 House District 153, which is

packed with Black voters (68% BVAP).


                   (b) Illustrative District 171 (Exhibit AE-2)

      177. As shown in Figure 33, an additional majority-Black House District can

be drawn in southwest Georgia by unpacking the Black population in 2021 House

District 153 and uncracking the Black populations in 2021 House Districts 171 and

173. Unpacking those districts allows a majority-Black Illustrative House District

171 to be drawn in part of Dougherty, Mitchell, and Thomas Counties around

where majority-Black 2021 Senate District 12 is drawn.




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Figure 33
                Illustrative House Plan District 171 and vicinity




      178. In addition to creating an additional majority-Black House district in

the western Black Belt, the district unites the areas that comprise the Albany-

Thomasville corridor. This economic, cultural, and historical transportation

corridor runs along the western division of the historic Dixie Highway from




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Albany to Thomasville, and has been recognized by the Southwest Georgia

Regional Commission.32

        179. Moreover, the inclusion of Thomas County in majority-Black

Illustrative House District 171 adds part of a second majority-Black district to the

band of Black Belt counties in Southwest Georgia that extend as far east as the City

of Valdosta and Lowndes County, as depicted in the GBPI map in Figure 4, supra.

Majority-Black 2021 House District 177 in Valdosta is unchanged in the Illustrative

Plan.

        180. To recap, the Illustrative House Plan includes a third majority-Black

district in the same general area as 2021 Senate District 12 in the southwest corner

of the state, whereas the 2021 House Plan only includes two such districts.

                        (4) Metropolitan Macon (Region D)

                            (a) 2021 Plan (Exhibit AF-1)

        181. An additional majority-Black district can also be drawn in the Macon

area by unpacking the Black population in the two majority-Black districts—2021

House District 142 (59.5% BVAP) and 2021 House District 143 (60.79% BVAP).




32
  Southwest Georgia Regional Commission, Corridor Management Plan (2014),
http://www.dot.ga.gov/DriveSmart/Travel/ScenicByways/HistoricDixieHwy/HDH-
CorridorManagementPlan.pdf
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      182. As illustrated in Figure 34, under the 2021 House Plan, House District

145 includes parts of five different counties (Houston, Peach, Macon-Bibb,

Crawford, and Monroe). The BVAP of 2021 House District 145 is 35.67%. Under

the 2021 House Plan, there are two majority-Black districts in counties comprising

the combined Macon-Bibb Warner Robins MSAs, even though the Black

population there is more than sufficient to support a third.

Figure 34
               2021 House Plan Districts 142,143, 145 and vicinity




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               (b) Illustrative House District 145 (Exhibit AF-2)

      183. Under the Illustrative Plan, majority-Black House District 145 (50.2%

BVAP) is anchored in Macon and combined with the southern part of Monroe

County, which is also split in the same general area in the 2021 House Plan.

Figure 35
                   Illustrative House District 145 and Vicinity




C. Supplemental Plan Information

                              (1) Population Equality

      184. As demonstrated by the district-by-district population statistics in

Exhibits AA-1 and Z-1, the Illustrative House Plan matches the 2021 Senate Plan
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by staying within a stringent 1.5% population deviation limit for each district (i.e.,

no district is more than 1.5% away from ideal population size).

                                  (2) Compactness

      185. Compactness scores for the Illustrative House Plan are within the norm.

Exhibit AG-1 contains compactness scores generated by Maptitude for all districts

in the Illustrative House Plan, alongside scores for the 2015 Benchmark House Plan

(Exhibit AG-2) and the 2021 House Plan (Exhibit AG-3).

      186. The table in Figure 37 (condensed from the Exhibit AG series) reports

Reock and Polsby-Popper scores for the Illustrative House Plan, alongside scores

for the 2015 Benchmark House Plan and the 2021 House Plan.


Figure 36
                               Compactness Scores
                         Illustrative House Plan versus
                     2015 Benchmark and 2021 House Plans
                                               Reock               Polsby-Popper
                                          Mean       Low           Mean       Low
            Illustrative House Plan            .39     .16              .27    .11
            2015 Benchmark House Plan          .39     .13              .27    .09
            2021 House Plan                    .39     .12              .28    .10

      187. On balance, the Illustrative House Plan and 2021 House Plan score

about the same on the widely referenced Reock and Polsby-Popper measures. If

anything, the Illustrative Plan scores better inasmuch as its least compact district by

Reock scores .16, compared to .12 for the 2021 House Plan.


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                                  (3) Jurisdictional Splits

       188. The Exhibit AH series contains Maptitude-generated reports for splits

of key geographic areas in Georgia—from VTDs to regional commissions—under

the Illustrative House Plan, the 2015 Benchmark Plan, and the 2021 House Plan.

       189. The table in Figure 38 summarizes split counts for counties, 2020

VTDs, and municipalities. On balance, the Illustrative House Plan and the 2021

House Plan score about the same on county and VTD splits. The 2021 House Plan

has a slight edge on municipal splits (although the Illustrative House Plan keeps

more single-county municipalities whole).

Figure 37
                    County and VTD splits/Whole Municipalities
                          Illustrative House Plan versus
                      2015 Benchmark and 2021 House Plans
                                                                   Single and
                                                         Single-     Multi
                                                         County     County        Total
                                   Total       2020      Whole     Whole City/    City/
                        Split     County       VTD     City/Towns    Towns       Town
                       Counties   Splits*     Splits*    (478)#      (538)#      Splits*
Illustrative House           68        209         179         393         402       361
2015 Benchmark               73        215         268         381         402       378
2021 House                   69        209         179         384         412       344
 *Populated splits only
 # Higher is better

       190. Exhibit AH-1 contains a county and VTD split report generated by

Maptitude for all districts in the Illustrative House Plan. Exhibit AH-2 reports for



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the 2015 Benchmark House Plan and Exhibit AH-3 reports for the 2021 House

Plan.

        191. Exhibit AH-4 contains a split report for all 531 municipalities,

including the 43 cities and towns that spill over into another county. See also

Exhibit AH-5 reports for the 2015 Benchmark House Plan and Exhibit AH-6

reports for the 2021 House Plan.

                                   (4) Regional Splits

        192. The table in Figure 39 shows summaries of Maptitude-generated

regional splits, defined by the 12 state-designated regional commissions and the 39

federally-designated (“CBSAs”), which include MSAs and micropolitan areas.

Figure 38
                      Split Regional Commissions and CBSAs
                            Illustrative House Plan versus
                      2014 Benchmark and 2021 House Plans

                                          Regional
                                         Commission      Whole      CBSA
                                           Splits        CBSAs      Splits
           Illustrative House Plan                223        10           218
           2014 Benchmark House Plan              220          8          217
           2021 House Plan                        225        10           214

        193. On balance, the Illustrative House Plan and 2021 Plan score about the

same across the three regional categories.




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                                  (5) Incumbents

      194. The Illustrative House Plan modifies about half (92) of the districts as

drawn in the 2021 House Plan.

      195. Based on January 2022 incumbent address information given to

Plaintiffs’ attorneys by the Defendants in the form of a geocoded shapefile, the

following seven districts in the Illustrative House Plan may have incumbent

conflicts: 106, 134, 154, 155, 167, 172, and 176. Based on the preliminary analysis

of incumbent address information following the November 2022 general election

pursuant to the 2021 House Plan, eight districts in the Illustrative House Plan may

have incumbent conflicts: 65, 118, 134, 147, 155, 167, 171, 172.

E. Comparative Socioeconomic Analysis

      196. This section of my report briefly highlights charts and tables that I

prepared from the 2015-2019 American Community Survey found on Exhibit CD

or via: http://www.fairdata2000.com/ACS_2015_19/Georgia/.

      197. The datasets available in these ACS-based documents facilitate

comparisons by race/ethnicity across counties and communities under the

Illustrative House Plan and the 2021 House Plan, which can help identify

commonalities and communities of interest in the relevant areas.

      198. For example, Illustrative House District 74 includes parts of Henry,

Spalding, and Clayton Counties and Illustrative House District 117 includes parts of


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Henry and Spalding Counties. The counties within Illustrative House Districts 74

and 117 share socioeconomic characteristics that make them similar to one another.

As one example, and as noted supra with respect to Illustrative Senate District 28, a

similar proportion of Black residents in Henry, Spalding, and Clayton counties are

in the labor force (71.0%, 58.2%, and 69.5% respectively). (See Exhibit CD

Reports for Henry, Spalding, and Clayton Counties at pp. 53-55.)33

       199. In addition to being part of the eastern Black Belt region as discussed

supra, counties within Illustrative House District 133 share socioeconomic

characteristics that make them similar to one another. For example, a comparatively

low proportion of Black residents in Illustrative District 133 counties have received

a bachelor’s degree or higher (ranging from 5.7% to 12.7% of the Black population

ages 25 and over). (See Exhibit CD Reports for relevant counties at pp. 21-22.)

       200. Illustrative House District 171 includes parts of Dougherty and Thomas

Counties, and all of Mitchell County. Poverty rates are comparatively high for the

Black population in all three counties. (See Exhibit CD Reports for Dougherty,

Thomas, and Mitchell Counties at pp. 25-29.)




   33 Page references to Exhibit CD in this section refer to the county-specific or place-specific
documents in Exhibit CD entitled “Single-Race African Americans and Latinos vis-à-vis Non-
Hispanic Whites – Selected Socio-Economic Data,” which are based on the 2015-2019 ACS 5-
Year Estimates. See supra ¶¶ 68-69.
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      201. Illustrative House District 145 is in Macon-Bibb County and Monroe

County. About 91% of all persons and 96% of Black persons in Illustrative House

District 145 are Macon-Bibb residents. With the creation of a third Macon-centric

district, Black voters in the consolidated city would potentially have a stronger

voice in the State House to address shared socio-economic issues. For example,

one-third of the Black population and nearly half (47.5%) of Black children in

Macon-Bibb live in poverty. By contrast, 11.6% of the White population in

Macon-Bibb and 14.1% of White children in live in poverty. (See Exhibit CD

Report for Macon-Bibb County at pp. 25-29.)

E. Online Interactive Maps

      202. The Illustrative House Plan can also be viewed online in detail on the

Dave’s Redistricting Application (DRA) website via the link below.

https://davesredistricting.org/maps#viewmap::b9272e37-d718-49e8-b079-

41f8331c9fa7.

      203. For comparison, the 2021 House Plan can be viewed via this link.

https://davesredistricting.org/join/40c422df-0e13-4933-b3bb-5c661a9fc565




                                       ###

I reserve the right to continue to supplement my declaration in light of additional

facts, testimony and/or materials that may come to light.

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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury of the laws of the

United States that the foregoing is true and correct according to the best of my

knowledge, information and belief.



Executed on December 5, 2022.




                                              WILLIAM S. COOPER




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   William S. Cooper
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   bcooper@msn.com


Summary of Redistricting Work


        I have a B.A. in Economics from Davidson College in Davidson, North Carolina.

        Since 1986, I have prepared proposed redistricting maps of approximately 750

jurisdictions for Section 2 litigation, Section 5 comment letters, and for use in other efforts

to promote compliance with the Voting Rights Act of 1965. I have analyzed and prepared

election plans in over 100 of these jurisdictions for two or more of the decennial censuses –

either as part of concurrent legislative reapportionments or, retrospectively, in relation to

litigation involving many of the cases listed below.

        From 1986 to 2022, I have prepared election plans for Section 2 litigation in

Alabama, Connecticut, Florida, Georgia, Louisiana, Maryland, Mississippi, Missouri,

Montana, Nebraska, New Jersey, New York, North Carolina, Ohio, Pennsylvania, South

Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Washington, and Wyoming.

Post-2020 Redistricting Experience

        Since the release of the 2020 Census, three county commission-level plans I

developed as a private consultant have been adopted by local governments in San Juan

County, Utah, Bolivar County, Miss., and Washington County, Miss. In addition, a

school board plan I developed was adopted by the Jefferson County, Alabama Board of

Education (Stout v. Jefferson County).

        In 2022, I have testified at trial in seven Sec. 2 lawsuits: Alabama (Congress),

Arkansas (Supreme and Appellate Courts), Florida (voter suppression), Georgia (State
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House, State Senate, and Congress), Louisiana (Congress) and Maryland (Baltimore County

Commission).

2010s Redistricting Experience

        I developed statewide legislative plans on behalf of clients in nine states (Alabama,

Connecticut, Florida, Georgia, Kentucky, Mississippi, South Carolina, Texas, and Virginia),

as well as over 150 local redistricting plans in approximately 30 states – primarily for groups

working to protect minority voting rights. In addition, I have prepared congressional plans

for clients in eight states (Alabama, Florida, Georgia, Louisiana, Maryland, Ohio,

Pennsylvania, South Carolina, and Virginia).

        In March 2011, I was retained by the Sussex County, Virginia Board of

Supervisors and the Bolivar County, Mississippi Board of Supervisors to draft new

district plans based on the 2010 Census. In the summer of 2011, both counties received

Section 5 preclearance from the U.S. Department of Justice (DOJ).

       Also in 2011, I was retained by way of a subcontract with Olmedillo X5 LLC to

assist with redistricting for the Miami-Dade County, Florida Board of Commissioners and

the Miami-Dade, Florida School Board. Final plans were adopted in late 2011 following

public hearings.

       In the fall of 2011, I was retained by the City of Grenada, Mississippi to provide

redistricting services. The ward plan I developed received DOJ preclearance in March 2012.

       In 2012 and 2013, I served as a redistricting consultant to the Tunica County,

Mississippi Board of Supervisors and the Claiborne County, Mississippi Board of

Supervisors.

       In Montes v. City of Yakima (E.D. Wash. Feb. 17, 2015) the court adopted, as a

remedy for the Voting Rights Act Section 2 violation, a seven single-member district plan
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that I developed for the Latino plaintiffs. I served as the expert for the Plaintiffs in the

liability and remedy phases of the case.

        In Pope v. Albany County (N.D.N.Y. Mar. 24, 2015), the court approved, as a

remedy for a Section 2 violation, a plan drawn by the defendants, creating a new Black-

majority district. I served as the expert for the Plaintiffs in the liability and remedy phases

of the case.

        In 2016, two redistricting plans that I developed on behalf of the plaintiffs for

consent decrees in Section 2 lawsuits in Georgia were adopted (NAACP v. Fayette County,

Georgia and NAACP v. Emanuel County, Georgia).

        In 2016, two federal courts granted summary judgment to the plaintiffs based in part

on my Gingles 1 testimony: Navajo Nation v. San Juan County, Utah (C.D. Utah 2016) and

NAACP v. Ferguson-Florissant School District, Missouri (E. D. Mo. August 22, 2016).

        Also in 2016, based in part on my analysis, the City of Pasco, Washington admitted

to a Section 2 violation. As a result, in Glatt v. City of Pasco (E.D. Wash. Jan. 27, 2017), the

court ordered a plan that created three Latino majority single-member districts in a 6 district,

1 at-large plan.

        In 2018, I served as the redistricting consultant to the Governor Wolf interveners at

the remedial stage of League of Women Voters, et al. v. Commonwealth of Pennsylvania.

        In August 2018, the Wenatchee City Council adopted a hybrid election plan that I

developed – five single-member districts with two members at-large. The Wenatchee

election plan is the first plan adopted under the Washington Voting Rights Acts of 2018.

        In February 2019, a federal court ruled in favor of the plaintiffs in a Section 2 case

regarding Senate District 22 in Mississippi, based in part on my Gingles 1 testimony in

Thomas v. Bryant (S.D. Ms. Feb 16, 2019).
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       In the summer of 2019, I developed redistricting plans for the Grand County (Utah)

Change of Form of Government Study Committee.

       In the fall of 2019, a redistricting plan I developed for a consent decree involving

the Jefferson County, Alabama Board of Education was adopted Traci Jones, et al. v.

Jefferson County Board of Education, et al.

       In May 2020, a federal court ruled in favor of the plaintiffs in a Section 2 case in

NAACP et al. v. East Ramapo Central School District, NY, based in part on my Gingles 1

testimony. In October 2020, the federal court adopted a consent decree plan I developed

for elections to be held in February 2021.

       In May and June of 2020, I served as a consultant to the City of Quincy, Florida –

the Defendant in a Section 2 lawsuit filed by two Anglo voters (Baroody v. City of

Quincy). The federal court for the Northern District of Florida ruled in favor of the

Defendants. The Plaintiffs voluntarily dismissed the case.

       In the summer of 2020, I provided technical redistricting assistance to the City of

Chestertown, Maryland.

       I am currently a redistricting consultant and expert for the plaintiffs in Jayla Allen v.

Waller County, Texas. I testified remotely at trial in October 2020.

       Since 2011, I have served as a redistricting and demographic consultant to the

Massachusetts-based Prison Policy Initiative for a nationwide project to end prison-based

gerrymandering. I have analyzed proposed and adopted election plans in about 25 states as

part of my work.

       In 2018 (Utah) and again in 2020 (Arizona), I have provided technical assistance to

the Rural Utah Project for voter registration efforts on the Navajo Nation Reservation.

Post-2010 Demographics Experience
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       My trial testimony in Section 2 lawsuits usually includes presentations of U.S.

Census data with charts, tables, and/or maps to demonstrate socioeconomic disparities

between non-Hispanic Whites and racial or ethnic minorities.

       I served as a demographic expert for plaintiffs in four state-level voting cases

related to the Covid-19 pandemic (South Carolina, Alabama, and Louisiana) and state

court in North Carolina.

       I have also served as an expert witness on demographics in non-voting trials. For

example, in an April 2017 opinion in Stout v. Jefferson County Board of Education (Case

no.2:65-cv-00396-MHH), a school desegregation case involving the City of Gardendale,

Ala., the court made extensive reference to my testimony.

       I provide technical demographic and mapping assistance to the Food Research

and Action Center (FRAC) in Washington D.C and their constituent organizations around

the country. Most of my work with FRAC involves the Summer Food Program and Child

and Adult Care Food Program. Both programs provide nutritional assistance to school-

age children who are eligible for free and reduced price meals. As part of this project, I

developed an online interactive map to determine site eligibility for the two programs that

has been in continuous use by community organizations and school districts around the

country since 2003. The map is updated annually with new data from a Special

Tabulation of the American Community Survey prepared by the U.S. Census Bureau for

the Food and Nutrition Service of the U.S. Department of Agriculture.



Historical Redistricting Experience

       In the 1980s and 1990s, I developed voting plans in about 400 state and local

jurisdictions – primarily in the South and Rocky Mountain West. During the 2000s and
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2010s, I prepared draft election plans involving about 350 state and local jurisdictions in 25

states. Most of these plans were prepared at the request of local citizens’ groups, national

organizations such as the NAACP, tribal governments, and for Section 2 or Section 5

litigation.

        Election plans I developed for governments in two counties – Sussex County,

Virginia and Webster County, Mississippi – were adopted and precleared in 2002 by the

U.S. Department of Justice. A ward plan I prepared for the City of Grenada, Mississippi was

precleared in August 2005. A county supervisors’ plan I produced for Bolivar County,

Mississippi was precleared in January 2006.

        In August 2005, a federal court ordered the State of South Dakota to remedy a

Section 2 voting rights violation and adopt a state legislative plan I developed (Bone Shirt v.

Hazeltine).

         A county council plan I developed for Native American plaintiffs in a Section 2

lawsuit (Blackmoon v. Charles Mix County) was adopted by Charles Mix County, South

Dakota in November 2005. A plan I drafted for Latino plaintiffs in Bethlehem, Pennsylvania

(Pennsylvania Statewide Latino Coalition v. Bethlehem Area School District) was adopted

in March 2009. Plans I developed for minority plaintiffs in Columbus County, North

Carolina and Montezuma- Cortez School District in Colorado were adopted in 2009.

        Since 1986, I have testified at trial as an expert witness on redistricting and

demographics in federal courts in the following voting rights cases (approximate most

recent testimony dates are in parentheses). I also filed declarations and was deposed in

most of these cases.

Alabama
Caster v. Merrill (2022)
Chestnut v Merrill (2019)
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Alabama State Conference of the NAACP v. Alabama (2018)
Alabama Legislative Black Caucus et al. v. Alabama et al. (2013)

Arkansas
The Christian Ministerial Alliance v. Hutchinson (2022)

Colorado
Cuthair v. Montezuma-Cortez School Board (1997)

Florida
NAACP v. Lee (2022)
Baroody v. City of Quincy (2020)

Georgia
Pendergrass v. Raffensperger (2022)
Alpha Phi Alpha v. Raffensperger (2022)
Cofield v. City of LaGrange (1996)
Love v. Deal (1995)
Askew v. City of Rome (1995)
Woodard v. Lumber City (1989)

Louisiana
Galmon v. Ardoin (2022)
Terrebonne Parish NAACP v. Jindal, et al. (2017)
Wilson v. Town of St. Francisville (1996)
Reno v. Bossier Parish (1995)
Knight v. McKeithen (1994)

Maryland
NAACP v. Baltimore County (2022)
Cane v. Worcester County (1994)

Mississippi
Thomas v. Bryant (2019)
Fairley v. Hattiesburg (2014)
Boddie v. Cleveland School District (2010)
Fairley v. Hattiesburg (2008)
Boddie v. Cleveland (2003)
Jamison v. City of Tupelo (2006)
Smith v. Clark (2002)
NAACP v. Fordice (1999)
Addy v Newton County (1995)
Ewing v. Monroe County (1995)
Gunn v. Chickasaw County (1995)
Nichols v. Okolona (1995)


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Montana
Old Person v. Brown (on remand) (2001)
Old Person v. Cooney (1998)

Missouri
Missouri NAACP v. Ferguson-Florissant School District (2016)

Nebraska
Stabler v. Thurston County (1995)

New York
NAACP v. East Ramapo Central School District (2020)
Pope v. County of Albany (2015)
Arbor Hills Concerned Citizens v. Albany County (2003)

Ohio
A. Philip Randolph Institute, et al. v. Ryan (2019)

South Carolina
Smith v. Beasley (1996)

South Dakota
Bone Shirt v. Hazeltine (2004)
Cottier v. City of Martin (2004)

Tennessee
Cousins v. McWherter (1994)
Rural West Tennessee African American Affairs Council v. McWherter (1993)

Texas
Jayla Allen v. Waller County, Texas

Utah
Navajo Nation v. San Juan County (2017),brief testimony –11 declarations, 2 depositions

Virginia
Smith v. Brunswick County (1991)
Henderson v. Richmond County (1988)
McDaniel v. Mehfoud (1988)
White v. Daniel (1989)

Wyoming
Large v. Fremont County (2007)
         In addition, I have filed expert declarations or been deposed in the following

cases that did not require trial testimony. The dates listed indicate the deposition date or


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date of last declaration or supplemental declaration:


Alabama
People First of Alabama v. Merrill (2020), Covid-19 demographics only
Alabama State NAACP v. City of Pleasant Grove (2019)
James v. Jefferson County Board of Education (2019)
Voketz v. City of Decatur (2018)

Arkansas
Mays v. Thurston (2020)-- Covid-19 demographics only)

Connecticut
NAACP v. Merrill (2020)

Florida
Florida State Conference of the NAACP v. Lee, et al., (2021)
Calvin v. Jefferson County (2016)
Thompson v. Glades County (2001)
Johnson v. DeSoto County (1999)
Burton v. City of Belle Glade (1997)

Georgia
Dwight v. Kemp (2018)
Georgia NAACP et al. v. Gwinnett County, GA (2018
Georgia State Conference NAACP et al v. Georgia (2018)
Georgia State Conference NAACP, et al. v. Fayette County (2015)
Knighton v. Dougherty County (2002)
Johnson v. Miller (1998)
Jones v. Cook County (1993)

Kentucky
Herbert v. Kentucky State Board of Elections (2013)

Louisiana
Power Coalition for Equity and Justice v. Edwards (2020), Covid-19 demographics only
Johnson v. Ardoin (2019
NAACP v. St. Landry Parish Council (2005)
Prejean v. Foster (1998)
Rodney v. McKeithen (1993)

Maryland
Baltimore County NAACP v. Baltimore County (2022)
Benisek v. Lamone (2017)
Fletcher v. Lamone (2011)

Mississippi
Partee v. Coahoma County (2015)
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Figgs v. Quitman County (2015)
West v. Natchez (2015)
Williams v. Bolivar County (2005)
Houston v. Lafayette County (2002)
Clark v. Calhoun County (on remand)(1993)
Teague v. Attala County (on remand)(1993)
Wilson v. Clarksdale (1992)
Stanfield v. Lee County(1991)

Montana
Alden v. Rosebud County (2000)

North Carolina
Lewis v. Alamance County (1991)
Gause v. Brunswick County (1992)
Webster v. Person County (1992)

Rhode Island
Davidson v. City of Cranston (2015)

South Carolina
Thomas v. Andino (2020), Covid-19 demographics only
Vander Linden v. Campbell (1996

South Dakota
Kirkie v. Buffalo County (2004
Emery v. Hunt (1999)

Tennessee
NAACP v. Frost, et al. (2003)

Virginia
Moon v. Beyer (1990)

Washington
Glatt v. City of Pasco (2016)
Montes v. City of Yakima (2014
                                      ###




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Exhibit B – Methodology and Sources

      1.     In the preparation of this report, I analyzed population and geographic

data from the Decennial Census and the American Community Survey.

      2.     For my redistricting analysis, I used a geographic information system

(GIS) software package called Maptitude for Redistricting, developed by the

Caliper Corporation. This software is deployed by many local and state governing

bodies across the country for redistricting and other types of demographic analysis.

      3.     The geographic boundary files that I used with Maptitude are created

from the U.S. Census 1990-2020 TIGER (Topologically Integrated Geographic

Encoding and Referencing) files.

      4.     I used population data from the 1990-2020 PL 94-171 data files

published by the U.S. Census Bureau. The PL 94-171 dataset is published in

electronic format and is the complete count population file designed by the Census

Bureau for use in legislative redistricting. The file contains basic race and ethnicity

data on the total population and voting-age population found in units of Census

geography such as states, counties, municipalities, townships, reservations, school

districts, census tracts, census block groups, precincts (called voting districts or

“VTDs” by the Census Bureau) and census blocks.




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      5.     I obtained and used 2020 block-level disaggregated citizenship data

(2015-2019 ACS and 2016-2020 ACS) from the Redistricting Data Hub via

https://redistrictingdatahub.org/

      6.     The attorneys for the plaintiffs provided me with incumbent addresses.

      7.     For my analysis, I also relied on shapefiles for current and historical

legislative plans available on the website of the Legislative and Congressional

Reapportionment Office.

      8.     In addition, I obtained shapefiles for the House, Senate, and

Congressional plans in effect during the early 2000’s from the American

Redistricting Project.

https://thearp.org/blog/map-archive/

      9.     I developed the illustrative plans presented in this report using

Maptitude for Redistricting. The Maptitude for Redistricting software processes the

TIGER files to produce a map for display on a computer screen. The software also

merges demographic data from the PL 94-171 files to match the relevant decennial

Census geography.

      10.    I also reviewed and used data from the American Community Survey

(“ACS”) conducted by the Census Bureau – specifically, the 1-year 2021 ACS, the

5-year 2015-2019 ACS, and the 5-year 2016-2020 ACS Special Tabulation of

citizen population and voting age population by race and ethnicity (prepared by the


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Census Bureau for the U.S. Department of Justice) and available from the link

below:

https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

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                    EXHIBIT C
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               Core Based Statistical
                               DocumentAreas
                                        231-1 and
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                                                                       TENNESSEE
                                                                                                                                                                                                                                                                    N
                                                                                                                                                                       NORTH CAROLINA

                                           Chattanooga-
        Chattanooga                         Cleveland-
                                              Dalton
          Dade            Catoosa                                       Fannin                           Towns              Rabun
                                                  Dalton                                      Union                                                                                                 Combined Statistical Area
                 Walker          Whitfield        Murray                                                                                                                                            Metropolitan Statistical Area
                                                                   Gilmer
                                                                                                        White      Cornelia                                                                         Micropolitan Statistical Area
                                                                                          Lumpkin                         am Toccoa
           Summerville               Calhoun                                                                              rsh                                                                       STATE
             Chattooga                                                                                               a be    Stephens
                                          Gordon               Pickens                                        ll e H                                                                                County
                                                                                                           vi
                                                                                  Dawson
                                                                                                         es
                                                                                                      in               Banks            Franklin         Hart
                    Rome                                                                            Ga Hall
                     Floyd                 Bartow              Cherokee            Forsyth
                                                                                                                Jefferson                Madison              Elbert
                                                                                                                   Jackson
                   Cedartown                 Atlanta-Sandy Springs-
                          Polk                     Alpharetta                                             Barrow
                                                                                                                                 Clarke
                                                                                                                                              Athens-
                                                                   Gwinnett
                                         Paulding           Cobb                                                                              Clarke
                                                                                                                                              County
                    Haralson
                                     Atlanta--Athens-Clarke County--                                                       Oconee
                                                                                                                                           Oglethorpe              Wilkes             Lincoln
                                              Sandy Springs          Walton
                                                                               DeKalb
                                             Douglas
                                                                                              lea




                                                                                                                                                                                                                 Augusta-Richmond
                                                                                           c kd




                                                       Fulton                                                          Morgan                Greene          Taliaferro
                                                                                        Ro




                           Carroll                                     Clayton
                                                                                                    Newton                                                                      McDuﬃe
                                                                                                                                                                                                Columbia              County
                                                                                   Henry
                                                              Fayette                                                                                                  Warren
                                             Coweta                                                                                                                                                   Richmond
                           Heard
                                                                            Spalding
                                                                                               Butts
                                                                                                              Jasper             Putnam
                                                                                                                                               Milledgeville
                                                                                                                                                                                                                                              SOUTH
                                                                                                                                                                          Glascock
                                                                                                                                                     Hancock
                                                                                                                                                                                                                                             CAROLINA
                                                                       Pike                                        Macon-               Baldwin
                                                                                                                                                                                                              Burke
                                                                                  Lamar
                                 Troup        Meriwether                                        Monroe              Bibb                                                              Jeﬀerson
                                                                                                                   County                                       Washington
         LaGrange                                                    Thomaston                                      Jones
                                                                         Upson                             Bibb
                                                                                        Macon-Bibb County--                                  Wilkinson                                                          Jenkins            Screven
                                   Columbus                                               Warner Robins
                                                             Talbot                                                                                                       Johnson
                                         Harris                                              Crawford
                                                                                                                            Twiggs
                                                                                                                                                                                            Emanuel
                                                                               Taylor                  Peach
                                         Muscogee
                                                                                                           Warner                                        Dublin
                                                                                                           Robins
                                                                                                                                  Bleckley                Laurens
                                                                                                                                                                                Treutlen                   Candler      Statesboro Savannah
                                                                                                                                                                                                                               Bulloch        Eﬃngham
                 Columbus- Chattahoochee Marion                                         Macon            Houston
                  Auburn-
                                                                                                                                                                                      ery




                                                                         Schley                                          Pulaski
                                                                                                                                                                                       om




                  Opelika                                                                                                                     Dodge                                                                                      Savannah-
                                                                                                                                                                                   ntg




                                                                                                        Dooly                                                                               Vidalia                    Evans
                                                                                                                                                                   Wheeler                                                               Hinesville-
                                                                                                                                                                                Mo




                                                                                                                                                                                            Toombs
                                          Stewart
                                                            Webster
                                                                              Americus                                                                                                                     Tattnall
                                                                                                                                                                                                                                         Statesboro
                                                                               Sumter                                                                                                                                                                           Chatham
                                                                                                                           Wilcox
                                                                                                       Cordele                                               Telfair
          Eufaula            Quitman
                                                                                                         Crisp                                                                                                                     Hinesville           Bryan

                                                                                  Albany                                          Ben Hill                                Jeﬀ Davis             Appling
                                             Randolph               Terrell                                                                                                                                                     Long         Liberty
                                                                                       Lee
                                                                                                                Turner                    Fitzgerald
                                  Clay

                                                                                                                                           Irwin             Douglas                    Bacon                     Jesup
                                                     Calhoun                  Dougherty               Worth                                                                                                           Wayne
  ALABAMA                                                                                                              Tifton
                                                                                                                                                                Coﬀee
                                                                                                                                                                                                                                             McIntosh
                                                                                                                          Tift
                                                                                                                                                                                                    Pierce
                                          Early                Baker                                                                                          Atkinson
                                                                                                                                          Berrien
                                                                                                                                                                                                                                       Brunswick
                                                                               Mitchell                Moultrie                                                                  Waycross                       Brantley                 Glynn
                                                  Miller                                                Colquitt                 Cook                                                  Ware

                                                                                                                                                    Lanier
                                     Seminole                                            Thomasville                                                                                                                            St. Marys
                                                                                               Thomas                                                                  Clinch
                                                                                                                                                                                                      Charlton                    Camden
                                                    Bainbridge                 Grady
                                                                                                                                        Valdosta
                                                           Decatur                                                  Brooks                Lowndes

                                                                                                                                                             Echols
                                                                                                                                                                                                                       Jacksonville-
                                                                                                                                                                                                                        St. Marys-
 Statistical area titles and boundary delineations
                                                                                                                                                                                                                          Palatka
    are based on March 2020 delineation files
 released by the U.S. Office of Management and
                                                                                                                       FLORIDA
 Budget. All other names and boundaries are as                                                                                                                                                                                                             20 Miles
                 of January 1, 2020.

U.S. Census Bureau, Population Division
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Appendix A: Sample Selection
This analysis relied on three measures to select the Black Belt school systems: historical
data of enslaved labor, current enrollments of Black students and current enrollments of
students living in poverty. School systems were considered if they had one of the following
criteria: a majority-Black student population, majority of students living in poverty and a
history of enslaved labor. Enslaved labor data is based on the 1860 U.S. Census data of
the distribution of enslaved populations. A review of the data showed a normal distribution
of enslaved people as a portion of the population except for a dip in the number of
counties with 30 to 39 percent enslaved. The following chart displays the drop in enslaved
populations and the subsequent increase in the number of counties that held 40 to 49
percent enslaved people.


                       Distribution of Enslaved Populations (1860)
                    Number of school systems by percent of enslaved population

 40
 35
 30
 25
 20
 15
 10
  5
  0
         0 to 9     10 to 19    20 to 29     30 to 39      40 to 49   50 to 59    60 to 69    70 to 79


 Source: Distribution of Slave Population of the Southern States of the United States, U.S. Census, 1861



This sharp increase of counties and cities that contained more than 40 percent of their
population enslaved made for a natural threshold for this analysis. This analysis
considered all school systems that currently operate in an area that previously had
enslaved people greater than 40 percent of the population as having a history of slavery.

School systems that met two of the criteria were included in the selection. Of the
remaining systems, the current enrollment had to exceed 30 percent Black and 30


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percent living in poverty. This threshold made it possible that even if the school system
were not majority Black, Black students might represent a plurality of the student body.
Metro Atlanta school systems were excluded due to the unique challenges and
opportunities that come with educating in the region. A table with the data is below, with
Black Belt districts highlighted.

                                 Slave Population      Percent Black          Percent in
        System Name
                                      (1860)              (2018)            Poverty (2018)
 Appling County                        18%                 23%                   44%
 Atkinson County                       23%                 16%                   43%
 Atlanta Public Schools                17%                 74%                   52%
 Bacon County                          18%                 22%                   43%
 Baker County                          70%                 64%                   68%
 Baldwin County                        55%                 66%                   53%
 Banks County                          23%                  2%                   28%
 Barrow County                         32%                 13%                   25%
 Bartow County                         27%                 10%                   26%
 Ben Hill County                       15%                 42%                   48%
 Berrien County                        13%                 12%                   40%
 Bibb County                           42%                 73%                   55%
 Bleckley County                       47%                 26%                   37%
 Brantley County                       20%                  3%                   40%
 Bremen City                            8%                  6%                   13%
 Brooks County                         52%                 53%                   54%
 Bryan County                          59%                 16%                   14%
 Buford City                           20%                 11%                   15%
 Bulloch County                        38%                 37%                   39%
 Burke County                          71%                 65%                   52%
 Butts County                          48%                 32%                   41%
 Calhoun City                          21%                  6%                   23%
 Calhoun County                        56%                 93%                   74%
 Camden County                         77%                 22%                   27%
 Candler County                        27%                 29%                   46%
 Carroll County                        16%                 17%                   29%
 Carrollton City                       16%                 33%                   29%
 Cartersville City                     27%                 23%                   24%
 Catoosa County                        14%                  3%                   23%
 Charlton County                       31%                 29%                   38%


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                          Slave Population     Percent Black          Percent in
       System Name
                               (1860)             (2018)            Poverty (2018)
Chatham County                  49%                57%                   40%
Chattahoochee County            48%                27%                   32%
Chattooga County                29%                 9%                   44%
Cherokee County                 11%                 8%                   10%
Chickamauga City                15%                 0%                   11%
Clarke County                   51%                49%                   46%
Clay County                     46%                95%                   74%
Clayton County                  28%                70%                   42%
Clinch County                   15%                34%                   46%
Cobb County                     27%                31%                   15%
Coffee County                   23%                31%                   45%
Colquitt County                  8%                27%                   49%
Columbia County                 70%                20%                   15%
Commerce City                   32%                11%                   27%
Cook County                     13%                33%                   46%
Coweta County                   49%                23%                   20%
Crawford County                 56%                22%                   40%
Crisp County                    46%                58%                   50%
Dade County                     10%                 1%                   22%
Dalton City                     17%                 5%                   18%
Dawson County                    9%                 1%                   22%
Decatur City                    26%                21%                    9%
Decatur County                  50%                50%                   49%
DeKalb County                   26%                62%                   41%
Dodge County                    47%                35%                   45%
Dooly County                    46%                72%                   52%
Dougherty County                73%                89%                   64%
Douglas County                  24%                53%                   28%
Dublin City                     47%                91%                   72%
Early County                    66%                70%                   59%
Echols County                   21%                 2%                   52%
Effingham County                46%                15%                   20%
Elbert County                   55%                34%                   42%
Emanuel County                  26%                42%                   53%
Evans County                    27%                35%                   54%


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                          Slave Population     Percent Black          Percent in
       System Name
                               (1860)             (2018)            Poverty (2018)
Fannin County                    3%                 0%                   31%
Fayette County                  29%                28%                   11%
Floyd County                    39%                 7%                   28%
Forsyth County                  12%                 4%                    6%
Franklin County                 18%                10%                   36%
Fulton County                   17%                42%                   23%
Gainesville City                14%                18%                   35%
Gilmer County                    3%                 0%                   26%
Glascock County                 31%                 8%                   29%
Glynn County                    73%                35%                   38%
Gordon County                   21%                 2%                   28%
Grady County                    58%                34%                   46%
Greene County                   67%                47%                   41%
Gwinnett County                 20%                32%                   20%
Habersham County                13%                 2%                   29%
Hall County                     14%                 5%                   23%
Hancock County                  68%                96%                   63%
Haralson County                  8%                 2%                   40%
Harris County                   56%                16%                   16%
Hart County                     25%                23%                   36%
Heard County                    36%                 9%                   36%
Henry County                    42%                53%                   25%
Houston County                  69%                38%                   30%
Irwin County                    15%                32%                   42%
Jackson County                  32%                 6%                   25%
Jasper County                   65%                23%                   41%
Jeff Davis County               23%                15%                   43%
Jefferson City                  32%                 8%                   13%
Jefferson County                59%                68%                   56%
Jenkins County                  71%                52%                   55%
Johnson County                  29%                42%                   50%
Jones County                    66%                25%                   29%
Lamar County                    47%                32%                   37%
Lanier County                   30%                25%                   43%
Laurens County                  47%                29%                   39%


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                          Slave Population     Percent Black          Percent in
      System Name
                               (1860)             (2018)            Poverty (2018)
Lee County                      52%                21%                   28%
Liberty County                  73%                53%                   36%
Lincoln County                  69%                38%                   40%
Long County                     74%                26%                   38%
Lowndes County                  46%                22%                   28%
Lumpkin County                   9%                 1%                   28%
Macon County                    58%                81%                   53%
Madison County                  34%                 9%                   33%
Marietta City                   27%                39%                   23%
Marion County                   48%                34%                   42%
McDuffie County                 70%                55%                   52%
McIntosh County                 74%                42%                   44%
Meriwether County               57%                58%                   45%
Miller County                   36%                38%                   46%
Mitchell County                 37%                59%                   54%
Monroe County                   64%                24%                   38%
Montgomery County               33%                32%                   56%
Morgan County                   70%                26%                   30%
Murray County                   20%                 0%                   29%
Muscogee County                 45%                58%                   40%
Newton County                   45%                56%                   40%
Oconee County                   51%                 4%                    9%
Oglethorpe County               65%                17%                   33%
Paulding County                  8%                24%                   19%
Peach County                    56%                51%                   46%
Pelham City                     37%                56%                   55%
Pickens County                   5%                 1%                   24%
Pierce County                   12%                 9%                   33%
Pike County                     47%                 8%                   21%
Polk County                     39%                14%                   42%
Pulaski County                  47%                40%                   50%
Putnam County                   71%                37%                   47%
Quitman County                  47%                72%                   57%
Rabun County                     6%                 1%                   33%
Randolph County                 47%                96%                   66%


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                          Slave Population     Percent Black          Percent in
      System Name
                               (1860)             (2018)            Poverty (2018)
Richmond County                 40%                74%                   52%
Rockdale County                 45%                67%                   39%
Rome City                       39%                35%                   38%
Schley County                   51%                16%                   26%
Screven County                  55%                47%                   47%
Seminole County                 50%                41%                   50%
Social Circle City              42%                22%                   29%
Spalding County                 44%                47%                   45%
Stephens County                 13%                13%                   40%
Stewart County                  59%                95%                   61%
Sumter County                   52%                72%                   57%
Talbot County                   63%                91%                   53%
Taliaferro County               63%                77%                   61%
Tattnall County                 27%                25%                   46%
Taylor County                   40%                41%                   42%
Telfair County                  31%                41%                   52%
Terrell County                  46%                93%                   74%
Thomas County                   58%                35%                   41%
Thomaston-Upson County          49%                35%                   42%
Thomasville City                58%                57%                   41%
Tift County                     23%                35%                   44%
Toombs County                   27%                18%                   54%
Towns County                     4%                 1%                   29%
Treutlen County                 33%                40%                   47%
Trion City                      29%                 1%                   15%
Troup County                    62%                43%                   36%
Turner County                   23%                63%                   57%
Twiggs County                   65%                62%                   55%
Union County                     3%                 0%                   24%
Valdosta City                   46%                75%                   59%
Vidalia City                    27%                50%                   43%
Walker County                   15%                 6%                   30%
Walton County                   42%                23%                   27%
Ware County                     17%                36%                   48%
Warren County                   55%                91%                   67%


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                                      Slave Population          Percent Black            Percent in
          System Name
                                           (1860)                  (2018)              Poverty (2018)
 Washington County                          52%                     64%                     50%
 Wayne County                               28%                     22%                     41%
 Webster County                             46%                     44%                     45%
 Wheeler County                             33%                     36%                     49%
 White County                                8%                      2%                     30%
 Whitfield County                           17%                      1%                     20%
 Wilcox County                              20%                     34%                     44%
 Wilkes County                              70%                     51%                     49%
 Wilkinson County                           42%                     55%                     52%
 Worth County                               23%                     34%                     46%
Source: Institute of Taxation and Economic Policy, February 2019; "Who Pays? A Distributional Analysis of
the Tax Systems in All 50 States," Institute on Taxation and Economic Policy, October 2018


Appendix B: Methods
This analysis focuses on K-12 public education funding and outcomes as a measure of the
state’s responsibility to its citizens. Schools operate in a complex environment of federal
and state laws and local district decisions. The state constitution outlines the ultimate
responsibility for public education, however.

For decades school finance experts studied state funding systems by comparing inputs, or
investments, meaning that two similar students, regardless of the location of their schools,
should be provided similar funding amounts. 47 Additionally, if there were notable
differences between students that affected the school program each would require, then
different funding amounts might also be required. It is for this very reason that students
with disabilities are provided more funding than students without disabilities. 48 This focus
on inputs led to the McDaniel case mentioned in the report’s timeline. The McDaniel case
was a primary driver for state policymakers to draft and pass the Quality Basic Education
Act, an overhaul to the state’s education funding formula, in 1985. 49

More recently, education finance has been analyzed through outputs, or outcomes.
Instead of solely judging a funding system by the amount of money provided, states have
been held accountable for the level of student performance. 50 The question no longer
stops at whether funding amounts are equal, but whether they are adequate to produce
high levels of learning for students across the state. This analysis considers various inputs
such as staffing, budgets and educational opportunities, but the focus remains on outputs.




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                                                      Solutions to Help Overcome a History of Exclusion
                                                                                           October 2019
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                    EXHIBIT F
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                     Regional Commissions
                                                                            State of Georgia
Dade        Catoosa                               Fannin                Union       Towns           Rabun

                  Whitfield
                                   Murray                                          Georgia
       Walker                                 Gilmer                               White
       Northwest Georgia                                                       Habersham
                                                                  Lumpkin Mountains
                                                                                       Stephens
  Chattooga                Gordon            Pickens
                                                              Dawson
                                                                          Hall  Banks Franklin                               Hart
           Floyd            Bartow            Cherokee          Forsyth
                                                                                           Jackson             Madison             Elbert

            Polk          Paulding
                                         Atlanta                                   Barrow
                                   Cobb           Gwinnett                                          Clarke
                                        Regional                                                 Oconee
                                                                                                           Oglethorpe
                                             DeKalb
          Haralson
                                     Commission                                     Walton         Northeast                           Wilkes            Lincoln
                             Douglas
                                                      Clayton
                                                                   Rockdale                         Georgia
                Carroll              Fulton                                                     Morgan                            Taliaferro       McDuffie Columbia
                                                                        Newton                                    Greene
                                                               Henry
                                             Fayette                                                                                        Warren
                              Coweta                                                                Putnam                                                           Richmond
                Heard                                                      Butts     Jasper
                                                        Spalding                                                           Hancock             Glascock
                  Three Rivers
                                 Meriwether           Pike      Lamar Monroe
                                                                                               Jones       Baldwin          Central Savannah River Area
                   Troup                                                                                                                                                      Burke

                                                         Upson                  Middle Georgia                                      Washington           Jefferson
                                                                                        Bibb                     Wilkinson                                                    Jenkins
                          Harris                                                                                                               Johnson                                     Screven
                                             Talbot                     Crawford                  Twiggs
                                                             Taylor                                                                                          Emanuel
                          Muscogee                                              Peach
                                            Marion                                   Houston                                 Laurens
                                                                                                        Bleckley                                                                        Bulloch
                          Chattahoochee River Valley
                                                                                                                                                 Treutlen              Candler
                                                                                                                 Heart of Georgia-Altamaha                                                            Effingham
                                           Schley Macon                                         Pulaski
                                                                                                                  Dodge                            Montgomery
                                                                                 Dooly                                                                                            Evans
                           Stewart                                                                                                                                     Tattnall                   Bryan
                                            Webster          Sumter                                                                     Wheeler            Toombs
                                                                                                  Wilcox                                                                                                          Chatham
                                                                                                                          Telfair
                   Quitman
                                                                                   Crisp
                                                                                                                                                                                          Coastal Georgia
                              Randolph          Terrell          Lee                                                                        Jeff Davis
                                                                                         Turner                 Ben Hill                                     Appling                    Long         Liberty

                          Clay                                                                                  Irwin               Coffee               Bacon                  Wayne
                                     Calhoun              Dougherty             Worth            Tift                                                                                                McIntosh
                            Early                                                                              Berrien
                                               Baker                                                                                                               Pierce
                                                                                                                                      Atkinson
                                               Southwest Georgia
                                   Miller                                          Colquitt
                                                                                                                   Southern Georgia                                         Brantley
                                                                                                                                                                                                  Glynn
                                                             Mitchell                                   Cook
                                                                                                                         Lanier                           Ware
                          Seminole
                                        Decatur                           Thomas                                                        Clinch                                             Camden
                                                             Grady                         Brooks                                                                  Charlton
                                                                                                          Lowndes
                                                                                                                            Echols




                                                                                                                                                                                               Effective July 1, 2021
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                                                                                                     2010 -2020 Change
                                                                                                     Black                Black      % Black
County (Metro                                                                      NH18+   Pop        Pop    18+ Pop     18+Pop      18+Pop
Atlanta in Bold) 2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change        change      change     MSAs
APPLING              18444    3647      1825    12674    13958    2540       1118   10048     208        164       416         121        5.00%
ATKINSON              8286    1284      2048     4801     6129     937       1282    3787     -89       -216       184        -103       -9.90% Douglas,
BACON                11140    1970       875     8103     8310    1245        547    6374      44        182        40          31        2.55%
BAKER                 2876    1178       143     1514     2275     932         77    1235    -575       -459      -375        -291      -23.79%
BALDWIN              43799   18985      1139    22432    35732   14515        835   19377   -1921       -300      -637         488        3.48% Milledgeville,
BANKS                18035      589     1164    15578    13900     365        721   12278    -360        103       148          14        3.99%
BARROW               83505   11907     10560    55582    62195    8222       6726   43241   14138       3287     12417        2553       45.03% Atlanta-Sandy Springs
BARTOW              108901   13395     10751    80159    83570    9377       6817   63759    8744       2365     10213        2083       28.56% Atlanta-Sandy Springs
BEN HILL             17194    6537      1054     9219    13165    4745        653    7459    -440        320       199         498       11.73% Fitzgerald,
BERRIEN              18160    2198      1045    14396    13690    1499        622   11181   -1126         53      -657          66        4.61%
BIBB                157346   88865      6737    56787 120902     64270       4734   47979    1799       6394      5474        7743       13.70% Macon-Bibb County,
BLECKLEY             12583    2951       469     8867     9613    2036        311    7032    -480       -682      -501        -672      -24.82%
BRANTLEY             18021      733      326    16317    13692     470        212   12522    -390        130       174          67       16.63% Brunswick,
BROOKS               16301    5958       955     9066    12747    4357        635    7483      58        164       354         212        5.11% Valdosta,
BRYAN                44738    7463      3269    31321    31828    5025       1919   23033   14505       2837     10452        2048       68.79% Savannah,
BULLOCH              81099   24375      4180    49712    64494   18220       3021   41041   10882       4369      8670        3305       22.16% Statesboro,
BURKE                24596   11430       777    11941    18778    8362        494    9566    1280       -282      2047         501        6.37% Augusta-Richmond Cou
BUTTS                25434    7212       803    16628    20360    5660        559   13510    1779        595      2030         564       11.07% Atlanta-Sandy Springs
CALHOUN               5573    3629       149     1766     4687    2998         90    1567   -1121       -520      -687        -264       -8.09%
CAMDEN               54768   11072      3658    37203    41808    7828       2457   29410    4255        508      4947         818       11.67% St. Marys,
CANDLER              10981    2807      1378     6567     8241    2009        835    5229     -17         76        62          59        3.03%
CARROLL             119148   24618      9586    80725    90996   17827       6129   63803    8621       3049      8593        2916       19.56% Atlanta-Sandy Springs
CATOOSA              67872    2642      2341    59280    52448    1684       1492   46578    3930        849      4446         642       61.61% Chattanoo, TN-
CHARLTON             12518    2798      2036     7532    10135    2147       1971    5929     347       -764       606        -654      -23.35%
CHATHAM             295291 115458      23790 139433 234715       85178     16551 119161     30163       6030     29594        7835       10.13% Savannah,
CHATTAHOOCHEE         9565    1825      1610     5403     7199    1287       1160    4212   -1702       -483     -1015        -284      -18.08% Columbus, -AL
CHATTOOGA            24965    2865      1297    20079    19416    2235        733   15885   -1050       -226      -741        -306      -12.04% Summerville,
CHEROKEE            266620   21687     32111 197867 202928       14976     20915 156155     52274       7817     47502        6222       71.08% Atlanta-Sandy Springs
CLARKE              128671   33672     14336    72201 106830     24776     10213    64531   11957       1589     10539        1713        7.43% Athens-Clarke County,
CLAY                  2848    1634        41     1143     2246    1231         19     973    -335       -311      -220        -153      -11.05%
CLAYTON             297595 216351      42546    25902 220578 158854        27378    23396   38171      40374     36133      37475        30.87% Atlanta-Sandy Springs
CLINCH                6749    2096       253     4256     5034    1406        156    3372     -49        157        79         151       12.03%
COBB                766149 223116 111240 369182 591848 166141              74505 303300     78071      42151     80257      41430        33.22% Atlanta-Sandy Springs

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 43092   12575      5430    24158    32419    9191       3324   19146     736        981      1164         972        11.83% Douglas,
COLQUITT               45898   10648      8709    25588    34193    7461       5467   20507     400        181      1279         440         6.27% Moultrie,
COLUMBIA              156010   32516     11858    99111 114823     22273       7355   76070   31957      12635     24580        9062        68.59% Augusta-Richmond Cou
COOK                   17229    5014      1134    10658    12938    3595        704    8310      17        221       408         325         9.94%
COWETA                146158   28289     11053    99421 111155     20196       7384   78073   18841       5130     18670        4501        28.68% Atlanta-Sandy Springs
CRAWFORD               12130    2455       415     8866     9606    1938        287    7079    -500       -448      -156        -241       -11.06% Macon-Bibb County,
CRISP                  20128    9194       634     9892    15570    6603        414    8248   -3311      -1036     -1747        -214        -3.14% Cordele,
DADE                   16251      228      364    14786    12987     140        243   11925    -382         40       -60            4        2.94% Chattanoo, TN-
DAWSON                 26798      392     1605    23544    21441     249       1047   19183    4468        203      4194         146      141.75% Atlanta-Sandy Springs
DECATUR                29367   12583      1911    14280    22443    9189       1196   11586    1525        984      1683        1112        13.77% Bainbridge,
DEKALB                764382 407451      81471 215895 595276 314230          55506 180161     72489      22898     68519      34330         12.27% Atlanta-Sandy Springs
DODGE                  19925    6148       620    12865    15709    4725        406   10360   -1871       -480     -1010          -94       -1.95%
DOOLY                  11208    5652       797     4611     9187    4526        493    4029   -3710      -1859     -2572       -1168       -20.51%
DOUGHERTY              85790   61457      2413    20631    66266   45631       1591   17909   -8775      -2790     -3965         648         1.44% Albany,
DOUGLAS               144237   74260     16035    49877 108428     53377     10212    41416   11834      20007     13558      17860         50.29% Atlanta-Sandy Springs
EARLY                  10854    5688       186     4813     8315    4075        113    3985    -154        178       208         284         7.49%
ECHOLS                  3697      193     1091     2328     2709     121        667    1856    -337         10      -142          -18      -12.95% Valdosta,
EFFINGHAM              64769   10035      3492    48204    47295    6831       2054   36237   12519       2578      9951        1888        38.20% Savannah,
ELBERT                 19637    5520       996    12610    15493    4122        660   10322    -529       -537        26        -210        -4.85%
EMANUEL                22768    7556       993    13815    17320    5404        589   11013     170       -112       470         135         2.56%
EVANS                  10774    3273      1237     6038     8127    2410        731    4826    -226         19       -36           90        3.88%
FANNIN                 25319      199      753    23351    21188     133        505   19721    1637         84      2037           62       87.32%
FAYETTE               119194   32076      9480    68144    91798   23728       6168   55102   12627       9578     13330        8373        54.53% Atlanta-Sandy Springs
FLOYD                  98584   15606     11466    67747    76295   11064       7167   55088    2267       1175      3423        1136        11.44% Rome,
FORSYTH               251283   13222     25226 159407 181193        8751     16204 122017     75772       7917     59087        5460      165.91% Atlanta-Sandy Springs
FRANKLIN               23424    2207      1121    19262    18307    1523        678   15466    1340        170      1179           95        6.65%
FULTON               1066710 477624      86302 404793 847182 368635          61914 340541 146129         60732 146287         62029         20.23% Atlanta-Sandy Springs
GILMER                 31353      296     3599    26365    25417     161       2158   22187    3061         84      3354           53       49.07%
GLASCOCK                2884      226       52     2573     2236     167         31    2003    -198        -39       -33          -18       -9.73%
GLYNN                  84499   22098      6336    52987    66468   15620       4116   44302    4873        633      6073        1061         7.29% Brunswick,
GORDON                 57544    2919      8957    43317    43500    1939       5592   34084    2358        527      3189         323        19.99% Calhoun,
GRADY                  26236    7693      3273    14715    19962    5678       1857   11968    1225        363      1378         563        11.01%
GREENE                 18915    6027      1289    11126    15358    4470        826    9675    2921       -178      2661           62        1.41%

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
GWINNETT              957062 287687 220460 310583 709484 202762 146659 252041 151741                     86155 138870         71745         54.76% Atlanta-Sandy Springs
HABERSHAM              46031    2165      6880    34694    35878    1675       4115   28299    2990        498      3141         396        30.96% Cornelia,
HALL                  203136   17006     57010 120418 153844       12094     36146    98800   23452       2609     24326        2332        23.89% inesville,
HANCOCK                 8735    6131        63     2413     7487    5108         47    2220    -694       -887      -223        -421        -7.61% Milledgeville,
HARALSON               29919    1541       497    26825    22854    1106        323   20617    1139         13      1307           44        4.14% Atlanta-Sandy Springs
HARRIS                 34668    5742      1417    25925    26799    4431        908   20298    2644         64      2393         188         4.43% Columbus, -AL
HART                   25828    4732       931    19250    20436    3447        578   15761     615       -167       834          -49       -1.40%
HEARD                  11412    1142       253     9589     8698     832        153    7407    -422       -101       -88          -60       -6.73% Atlanta-Sandy Springs
HENRY                 240712 125211      18437    86297 179973     89657     12030    69744   36790      46914     35708      38225         74.32% Atlanta-Sandy Springs
HOUSTON               163633   56520     11807    86211 122118     39605       7530   68018   23733      14719     19709      11436         40.60% Warner Robins,
IRWIN                   9666    2333       663     6402     7547    1720        545    5047     128       -182       324        -110        -6.01%
JACKSON                75907    6148      6712    59064    56451    4268       4261   45015   15422       1618     12011        1140        36.45% Jefferson,
JASPER                 14588    2676       684    10771    11118    1966        402    8400     688       -466       693        -306       -13.47% Atlanta-Sandy Springs
JEFF DAVIS             14779    2493      2047     9950    10856    1752       1233    7643    -289        191       -46         183        11.66%
JEFFERSON              15709    8208       462     6834    12301    6324        280    5536   -1221      -1095      -358        -372        -5.56%
JENKINS                 8674    3638       303     4611     7005    2843        194    3874     334        197       901         561        24.58%
JOHNSON                 9189    3124       117     5800     7474    2513         82    4790    -791       -407      -416        -175        -6.51% Dublin,
JONES                  28347    7114       476    20074    21575    5341        302   15428    -322        -55       379         130         2.49% Macon-Bibb County,
LAMAR                  18500    5220       475    12344    14541    4017        323    9852     183       -611        93        -577       -12.56% Atlanta-Sandy Springs
LANIER                  9877    2369       572     6595     7326    1683        370    5010    -201       -133        16          -27       -1.58% Valdosta,
LAURENS                49570   19132      1424    27881    37734   13695        923   22229    1136       1478      1775        1478        12.10% Dublin,
LEE                    33163    7755       953    22758    24676    5503        603   17356    4865       2324      4313        1733        45.97% Albany,
LIBERTY                65256   31146      7786    24004    48014   21700       5231   19065    1803       2495      3752        2676        14.07% Hinesville,
LINCOLN                 7690    2212        92     5196     6270    1728         54    4316    -306       -387       -75        -241       -12.24% Augusta-Richmond Cou
LONG                   16168    4734      1979     8774    11234    3107       1227    6422    1704        827      1189         530        20.57% Hinesville,
LOWNDES               118251   46758      7872    59306    89031   33302       5201   47140    9018       6468      6768        4906        17.28% Valdosta,
LUMPKIN                33488      685     1790    29241    27689     507       1345   24419    3522        218      3964         169        50.00%
MACON                  12082    7296       472     4078     9938    6021        322    3379   -2658      -1723     -1549        -910       -13.13%
MADISON                30120    3196      1956    23549    23112    2225       1198   18643    2000        698      1866         437        24.44% Athens-Clarke County,
MARION                  7498    2223       560     4486     5854    1687        337    3643   -1244       -688      -792        -426       -20.16%
MCDUFFIE               21632    9045       790    11417    16615    6425        536    9359    -243        167       438         367         6.06% Augusta-Richmond Cou
MCINTOSH               10975    3400       231     7060     9040    2641        166    5998   -3358      -1845     -2215       -1292       -32.85% Brunswick,
MERIWETHER             20613    7547       475    12084    16526    5845        299    9994   -1379      -1204      -256        -393        -6.30% Atlanta-Sandy Springs

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                                                                                                       2010 -2020 Change
                                                                                                       Black                 Black      % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop      18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change      change     MSAs
MILLER                  6000    1831       136     3949     4749    1358         92    3239    -125         70         60         112        8.99%
MITCHELL               21755   10394       964    10106    17065    7917        615    8284   -1743       -935       -597        -257       -3.14%
MONROE                 27957    6444       714    19954    21913    5068        464   15771    1533         57       1442         215        4.43% Macon-Bibb County,
MONTGOMERY              8610    2224       571     5665     6792    1781        377    4527    -513       -233       -247        -110       -5.82% Vidalia,
MORGAN                 20097    4339       712    14487    15574    3280        434   11452    2229         20       2145         160        5.13% Atlanta-Sandy Springs
MURRAY                 39973      556     5914    32164    30210     321       3696   25146     345        143       1230         101       45.91% Dalton,
MUSCOGEE              206922 102212      16513    79083 157052     74301     10894    64635   17037      12315     15765       11327        17.99% Columbus, -AL
NEWTON                112483   55901      7164    46746    84748   40433       4561   37631   12525      13634     13663       12748        46.05% Atlanta-Sandy Springs
OCONEE                 41799    2280      2347    33886    30221    1660       1405   24942    8991        504       6716         409       32.69% Athens-Clarke County,
OGLETHORPE             14825    2468       869    10903    11639    1853        531    8799     -74       -272        295        -162       -8.04% Athens-Clarke County,
PAULDING              168661   41296     12564 108444 123998       28164       7974   83066   26337      15231     24768       11767        71.76% Atlanta-Sandy Springs
PEACH                  27981   12645      2547    12119    22111    9720       1788   10071     286       -309        736        -223       -2.24% Warner Robins,
PICKENS                33216      512     1198    30122    26799     319        755   24626    3785        124       4005          81       34.03% Atlanta-Sandy Springs
PIERCE                 19716    1801       998    16403    14899    1262        595   12662     958         38       1037          50        4.13% Waycross,
PIKE                   18889    1613       348    16313    14337    1254        207   12422    1020       -333       1306        -210      -14.34% Atlanta-Sandy Springs
POLK                   42853    5816      5585    30161    32238    3991       3252   24049    1378        280       1809         274        7.37% Cedartown,
PULASKI                 9855    3250       327     6022     8012    2564        224    5027   -2155       -642      -1420        -387      -13.11%
PUTNAM                 22047    5701      1557    14316    17847    4229       1031   12209     829         64       1230         245        6.15%
QUITMAN                 2235      965       31     1190     1870     765         18    1037    -278       -248       -129        -141      -15.56% Eufaula, AL-
RABUN                  16883      210     1452    14625    13767     129        928   12236     607          -6       920          25       24.04%
RANDOLPH                6425    3947       143     2250     4977    2913         82    1922   -1294       -862      -1014        -619      -17.53%
RICHMOND              206607 119970      11449    68397 160899     87930       8445   58403    6058       7979       9655        9329       11.87% Augusta-Richmond Cou
ROCKDALE               93570   57204      9540    24500    71503   41935       6089   21457    8355      16468       9202      14643        53.65% Atlanta-Sandy Springs
SCHLEY                  4547      933      175     3357     3328     644        103    2520    -463       -247       -179        -166      -20.49% Americus,
SCREVEN                14067    5527       287     8018    10893    4144        188    6387    -526       -897        -10        -326       -7.29%
SEMINOLE                9147    3093       228     5617     7277    2275        160    4681     418        133        552         209       10.12%
SPALDING               67306   24522      3666    37105    52123   17511       2377   30612    3233       2894       4261        2752       18.65% Atlanta-Sandy Springs
STEPHENS               26784    3527       857    21323    21163    2467        578   17310     609        387        940         314       14.58% Toccoa,
STEWART                 5314    2538      1217     1338     4617    2048       1196    1161    -744       -360       -492        -156       -7.08% Columbus, -AL
SUMTER                 29616   15546      1770    11528    23036   11479       1147    9800   -3203      -1654      -1482        -395       -3.33% Americus,
TALBOT                  5733    3145       112     2427     4783    2537         56    2129   -1132       -964       -618        -544      -17.66% Columbus, -AL
TALIAFERRO              1559      876       69      591     1289     722         46     506    -158       -167       -105        -109      -13.12%
TATTNALL               22842    6331      2303    13825    17654    4886       1419   11020   -2678      -1295      -2460       -1348      -21.62%

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
TAYLOR                  7816    2946       168     4584     6120    2235        107    3686   -1090       -602      -608        -380       -14.53%
TELFAIR                12477    4754      1928     5970    10190    3806       1757    4802   -4023      -1380     -2994        -924       -19.53%
TERRELL                 9185    5707       177     3189     7204    4274        121    2709    -130        -57       193         241         5.98% Albany,
THOMAS                 45798   16975      1577    25994    35037   12332        970   20740    1078        236      1454         417         3.50% Thomasville,
TIFT                   41344   12734      5219    22189    31224    8963       3295   18011    1226        859      1466         803         9.84% Tifton,
TOOMBS                 27030    7402      3044    16007    20261    5036       1978   12810    -193        453       653         552        12.31% Vidalia,
TOWNS                  12493      168      415    11469    10923     137        338   10100    2022        115      2093           94     218.60%
TREUTLEN                6406    2114       170     4065     4934    1514         98    3272    -479       -167      -238          -69       -4.36% Dublin,
TROUP                  69426   25473      2956    38099    52581   18202       1822   30377    2382       2501      3339        2433        15.43% LaGrange, -AL
TURNER                  9006    3813       372     4700     6960    2752        256    3891      76         68       233         140         5.36%
TWIGGS                  8022    3226       124     4487     6589    2627         79    3733   -1001       -559      -578        -271        -9.35% Macon-Bibb County,
UNION                  24632      228      816    22646    20808     147        563   19351    3276        112      3245           66       81.48%
UPSON                  27700    8324       633    18009    21711    6202        411   14548     547        572       975         627        11.25% Thomaston,
WALKER                 67654    3664      1685    59654    52794    2454       1066   47292   -1102        368       294         239        10.79% Chattanoo, TN-
WALTON                 96673   18804      5228    68499    73098   13165       3236   53647   12905       5086     11918        4068        44.72% Atlanta-Sandy Springs
WARE                   36251   11421      1612    22275    27788    8226       1012   17818     -61        411        33         377         4.80% Waycross,
WARREN                  5215    3128        53     1974     4159    2360         46    1716    -619       -496      -302        -229        -8.85%
WASHINGTON             19988   10969       334     8412    15709    8333        235    6944   -1199       -354      -432           47        0.57%
WAYNE                  30144    6390      1732    21301    23105    4662       1116   16754      45         92       467         119         2.62% Jesup,
WEBSTER                 2348    1107        59     1136     1847     844         36     931    -451        -94      -242          -17       -1.97%
WHEELER                 7471    2949       272     4157     6217    2561        174    3418      50        302       195         342        15.41%
WHITE                  28003      721      913    24959    22482     484        605   20318     859        153      1538         104        27.37%
WHITFIELD             102864    4919     36916    57875    76262    3349     23553    46881     265        400      2946         286         9.34% Dalton,
WILCOX                  8766    3161       272     5185     7218    2693        209    4215    -489       -144      -250           -1       -0.04%
WILKES                  9565    3989       399     4952     7651    3071        243    4154   -1028       -651      -586        -386       -11.17%
WILKINSON               8877    3330       239     5110     7026    2549        152    4165    -686       -390      -213        -144        -5.35%
WORTH                  20784    5517       381    14427    16444    4108        244   11747    -895       -574       108        -141        -3.32% Albany,



Total              10711908 3538146 1123457 5362156 8220274 2607986        742918 4342333 1024255      484048 1024173        467197




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                    EXHIBIT G-2
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                                                                                                     2000 -2010 Change
                                                                                                     Black                 Black      % Black
County (Metro                                                                      NH18+   Pop        Pop     18+ Pop     18+Pop      18+Pop
Atlanta in Bold) 2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change         change      change     MSAs
APPLING              18236    3483      1704    12854    13542    2419       1016    9968     817         33        852         160        7.08%
ATKINSON              8375    1500      2039     4776     5945    1040       1209    3642     766          -6       644          15        1.46% Douglas,
BACON                11096    1788       791     8431     8270    1214        514    6481     993        161        815         218       21.89%
BAKER                 3451    1637       145     1642     2650    1223         73    1331    -623       -425       -311        -184      -13.08%
BALDWIN              45720   19285       919    24704    36369   14027        677   21005    1020       -288       1390        -314       -2.19% Milledgeville,
BANKS                18395      486     1041    16526    13752     351        615   12531    3973           9      3106          11        3.24%
BARROW               69367    8620      6037    51736    49778    5669       3613   38607   23223       3945     16759         2554       81.99% Atlanta-Sandy Springs
BARTOW              100157   11030      7690    79803    73357    7294       4506   60334   24138       4201     18537         2753       60.63% Atlanta-Sandy Springs
BEN HILL             17634    6217      1026    10164    12966    4247        572    7983     150        463        291         505       13.50% Fitzgerald,
BERRIEN              19286    2145       885    16050    14347    1433        501   12265    3051        263       2536         235       19.62%
BIBB                155547   82471      4389    65494 115428     56527       2849   53639    1660       9069       2421        7533       15.38% Macon-Bibb County,
BLECKLEY             13063    3633       301     9000    10114    2708        189    7124    1397        742       1549         830       44.20%
BRANTLEY             18411      603      343    17198    13518     403        194   12739    3782          -9      3034           7        1.77% Brunswick,
BROOKS               16243    5794       853     9425    12393    4145        553    7564    -207       -735        368        -122       -2.86% Valdosta,
BRYAN                30233    4626      1336    23446    21376    2977        777   17090    6816       1195       5248         776       35.26% Savannah,
BULLOCH              70217   20006      2439    46251    55824   14915       1726   37973   14234       3735     12321         3115       26.40% Statesboro,
BURKE                23316   11712       617    10844    16731    7861        414    8340    1073        291       1442         634        8.77% Augusta-Richmond Coun
BUTTS                23655    6617       597    16200    18330    5096        394   12648    4133        912       3507         902       21.51% Atlanta-Sandy Springs
CALHOUN               6694    4149       262     2250     5374    3262        194    1893     374        304        449         354       12.17%
CAMDEN               50513   10564      2590    35977    36861    7010       1622   27230    6849       1487       7029        1355       23.96% St. Marys,
CANDLER              10998    2731      1227     6949     8179    1950        774    5392    1421        108       1170         154        8.57%
CARROLL             110527   21569      6800    80531    82403   14911       4258   62068   23259       6922     17765         4959       49.83% Atlanta-Sandy Springs
CATOOSA              63942    1793      1469    59149    48002    1042        880   45014   10660       1026       8476         587     129.01% Chattanoo, TN-
CHARLTON             12171    3562       310     8116     9529    2801        252    6343    1889        505       2073         644       29.86%
CHATHAM             265128 109428      14370 133492 205121       77343       9986 111471    33080      14186     31156        13015       20.23% Savannah,
CHATTAHOOCHEE        11267    2308      1398     7089     8214    1571        940    5353   -3615      -2393      -2442       -1497      -48.79% Columbus, -AL
CHATTOOGA            26015    3091      1043    21589    20157    2541        621   16780     545        131        521         202        8.64% Summerville,
CHEROKEE            214346   13870     20566 174243 155426        8754     12908 129832     72443      10019     53633         6272     252.70% Atlanta-Sandy Springs
CLARKE              116714   32083     12192    66674    96291   23063       7933   60254   15225       3918     12910         3630       18.68% Athens-Clarke County,
CLAY                  3183    1945        26     1188     2466    1384         16    1045    -174        -99        -27           7        0.51%
CLAYTON             259424 175977      35447    36610 184445 121379        21831    32242   22907      51427     18849        41548       52.04% Atlanta-Sandy Springs
CLINCH                6798    1939       236     4536     4955    1255        142    3505     -80       -118         -7        -100       -7.38%
COBB                688078 180965      84330 387438 511591 124711          53080 307377     80327      62736     62246        44994       56.44% Atlanta-Sandy Springs

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                                                                                                       2000 -2010 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 42356   11594      4352    25907    31255    8219       2554   20113    4943       1788      4424        1720        26.47% Douglas,
COLQUITT               45498   10467      7763    26759    32914    7021       4701   20826    3445        478      2404         644        10.10% Moultrie,
COLUMBIA              124053   19881      6175    91517    90243   13211       3862   68414   34765       9506     27385        6325        91.85% Augusta-Richmond Coun
COOK                   17212    4793      1024    11171    12530    3270        603    8505    1441        148      1212         345        11.79%
COWETA                127317   23159      8493    92604    92485   15695       5588   69124   38102       6873     28912        5051        47.45% Atlanta-Sandy Springs
CRAWFORD               12630    2903       301     9282     9762    2179        196    7266     135       -116       715           36        1.68% Macon-Bibb County,
CRISP                  23439   10230       748    12216    17317    6817        461    9863    1443        606      1699         827        13.81% Cordele,
DADE                   16633      188      292    15796    13047     136        177   12466    1479         85      1506           50       58.14% Chattanoo, TN-
DAWSON                 22330      189      920    20847    17247     103        602   16265    6331        116      5256           64     164.10% Atlanta-Sandy Springs
DECATUR                27842   11599      1404    14615    20760    8077        821   11670    -398        246       582         705         9.56% Bainbridge,
DEKALB                691893 384553      67824 203395 526757 279900          46921 171336     26028      16037     24870       26315        10.38% Atlanta-Sandy Springs
DODGE                  21796    6628       732    14273    16719    4819        495   11280    2625        958      2527         997        26.09%
DOOLY                  14918    7511       862     6461    11759    5694        558    5437    3393       1768      3182        1662        41.22%
DOUGHERTY              94565   64247      2073    27315    70231   44983       1360   23106   -1500       6093       742        6129        15.77% Albany,
DOUGLAS               132403   54253     11125    64911    94870   35517       6581   51014   40229      36600     28131       23987      208.04% Atlanta-Sandy Springs
EARLY                  11008    5510       171     5250     8107    3791         99    4156   -1346       -486      -706          -14       -0.37%
ECHOLS                  4034      183     1183     2555     2851     139        697    1925     280        -78       197          -30      -17.75% Valdosta,
EFFINGHAM              52250    7457      1501    42311    37344    4943        867   30847   14715       2472     11043        1746        54.61% Savannah,
ELBERT                 20166    6057       967    12956    15467    4332        588   10422    -345       -303       258            8        0.19%
EMANUEL                22598    7668       921    13733    16850    5269        582   10793     761        350      1088         607        13.02%
EVANS                  11000    3254      1441     6228     8163    2320        861    4918     505       -223       552           26        1.13%
FANNIN                 23682      115      431    22761    19151       71       293   18506    3884         83      3497           51     255.00%
FAYETTE               106567   22498      6760    72202    78468   15355       4183   55492   15304      11666     13759        8269      116.69% Atlanta-Sandy Springs
FLOYD                  96317   14431      8987    70959    72872    9928       5376   56175    5752       2086      4543        1595        19.14% Rome,
FORSYTH               175511    5305     16550 140943 122106        3291     10403 100172     77104       4535     51165        2758      517.45% Atlanta-Sandy Springs
FRANKLIN               22084    2037       866    18913    17128    1428        560   14944    1799        200      1697         155        12.18%
FULTON                920581 416892      72566 376014 700895 306606          48745 304024 104575         47878     84179       45410        17.39% Atlanta-Sandy Springs
GILMER                 28292      212     2677    25078    22063     108       1557   20116    4836        136      4310           65     151.16%
GLASCOCK                3082      265       33     2750     2269     185         18    2040     526         47       322           22       13.50%
GLYNN                  79626   21465      5126    51602    60395   14559       3283   41521   12058       3318      9935        2637        22.12% Brunswick,
GORDON                 55186    2392      7738    44107    40311    1616       4603   33417   11082        759      7705         512        46.38% Calhoun,
GRADY                  25011    7330      2500    14879    18584    5115       1570   11674    1352        123      1378         407         8.64%
GREENE                 15994    6205       893     8771    12697    4408        573    7609    1588       -229      1905         124         2.89%

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
GWINNETT              805321 201532 162035 354316 570614 131017 102225 272913 216873                   119728 148159            76424      139.99% Atlanta-Sandy Springs
HABERSHAM              43041    1667      5333    34621    32737    1279       2997   27461    7139        -41      5266           -99       -7.18% Cornelia,
HALL                  179684   14397     46906 114300 129518        9762     27227    89587   40407       3911     27758         2670        37.65% inesville,
HANCOCK                 9429    7018       139     2212     7710    5529        118    2018    -647       -837         59        -168        -2.95% Milledgeville,
HARALSON               28780    1528       318    26516    21547    1062        187   19985    3090         85      2555            96        9.94% Atlanta-Sandy Springs
HARRIS                 32024    5678       872    24848    24406    4243        567   19136    8329       1016      6776          899        26.88% Columbus, -AL
HART                   25213    4899       786    19213    19602    3496        474   15405    2216        382      2007          375        12.02%
HEARD                  11834    1243       223    10190     8786     892        123    7635     822         22       938            36        4.21% Atlanta-Sandy Springs
HENRY                 203922   78297     11813 107083 144265       51432       7182   80733   84581      60321     59785        39567      333.48% Atlanta-Sandy Springs
HOUSTON               139900   41801      8515    84703 102409     28169       5357   65255   29135      13755     22860         9779        53.18% Warner Robins,
IRWIN                   9538    2515       228     6719     7223    1830        140    5209    -393        -70       152          220        13.66%
JACKSON                60485    4530      3736    50695    44440    3128       2251   38046   18896       1174     13922          705        29.10% Jefferson,
JASPER                 13900    3142       510    10095    10425    2272        308    7724    2474          -3     2108          119         5.53% Atlanta-Sandy Springs
JEFF DAVIS             15068    2302      1577    11056    10902    1569        893    8352    2384        370      1672          267        20.51%
JEFFERSON              16930    9303       517     7015    12659    6696        340    5550    -336       -453       296          143         2.18%
JENKINS                 8340    3441       334     4508     6104    2282        214    3556    -235        -55        -28            2        0.09%
JOHNSON                 9980    3531       186     6219     7890    2688        128    5047    1420        363      1909          797        42.15% Dublin,
JONES                  28669    7169       315    20830    21196    5211        188   15538    5030       1600      3968         1159        28.60% Macon-Bibb County,
LAMAR                  18317    5831       341    11943    14448    4594        219    9500    2405        936      2435         1098        31.41% Atlanta-Sandy Springs
LANIER                 10078    2502       461     6899     7310    1710        259    5195    2837        624      2052          422        32.76% Valdosta,
LAURENS                48434   17654      1143    28920    35959   12217        725   22496    3560       2035      3130         1774        16.99% Dublin,
LEE                    28298    5431       560    21453    20363    3770        348   15672    3541       1542      3195         1048        38.50% Albany,
LIBERTY                63453   28651      6159    27085    44262   19024       3649   20233    1843       1184      2346         1757        10.18% Hinesville,
LINCOLN                 7996    2599        98     5201     6345    1969         63    4250    -352       -284         34          -92       -4.46% Augusta-Richmond Coun
LONG                   14464    3907      1778     8491    10045    2577       1031    6249    4160       1331      3152         1017        65.19% Hinesville,
LOWNDES               109233   40290      5238    61234    82263   28396       3467   48506   17118       8523     14282         6956        32.44% Valdosta,
LUMPKIN                29966      467     1344    27519    23725     338        861   22026    8950        124      7811            94       38.52%
MACON                  14740    9019       475    12310    11487    6931        282    9690     666        600      1300         1074        18.34%
MADISON                28120    2498       227     8716    21246    1788        147    7069    2390        282      2280          275        18.18% Athens-Clarke County,
MARION                  8742    2911       527     4961     6646    2113        346    4035    1598        446      1527          477        29.16%
MCDUFFIE               21875    8878      1139    24106    16177    6058        642   18544     644        833       862          744        14.00% Augusta-Richmond Coun
MCINTOSH               14333    5245       570     5100    11255    3933        353    4057    3486       1203      3450         1269        47.64% Brunswick,
MERIWETHER             21992    8751       347    12606    16782    6238        216   10121    -542       -809       246         -265        -4.08% Atlanta-Sandy Springs

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
MILLER                  6125    1761        93     4237     4689    1246         51    3364    -258        -87        -16           58        4.88%
MITCHELL               23498   11329      1028    10894    17662    8174        675    8626    -434       -195        270         347         4.43%
MONROE                 26424    6387       535    19101    20471    4853        351   14967    4667        260      4427          430         9.72% Macon-Bibb County,
MONTGOMERY              9123    2457       480     6144     7039    1891        294    4822     853        195        840         222        13.30% Vidalia,
MORGAN                 17868    4319       494    12814    13429    3120        304    9845    2411       -162      2078             6        0.19% Atlanta-Sandy Springs
MURRAY                 39628      413     5154    33666    28980     220       2875   25580    3122        109      2678            51       30.18% Dalton,
MUSCOGEE              189885   89897     12110    82890 141287     62974       7954   66462    3594       6740      4998         7142        12.79% Columbus, -AL
NEWTON                 99958   42267      4635    51995    71085   27685       2719   39806   37957      28259     26241        18457      200.01% Atlanta-Sandy Springs
OCONEE                 32808    1776      1436    28306    23505    1251        854   20545    6583         45      5211            87        7.47% Athens-Clarke County,
OGLETHORPE             14899    2740       546    11429    11344    2015        318    8876    2264        192      1967          225        12.57% Athens-Clarke County,
PAULDING              142324   26065      7264 106739      99230   16397       4235   77000   60646      20113     42631        12658      338.54% Atlanta-Sandy Springs
PEACH                  27695   12954      1890    12499    21375    9943       1225    9937    4027       2138      3870         2057        26.08% Warner Robins,
PICKENS                29431      388      819    27802    22794     238        488   21759    6448         80      5224            27       12.80% Atlanta-Sandy Springs
PIERCE                 18758    1763       887    15860    13862    1212        510   11953    3122         17      2395            47        4.03% Waycross,
PIKE                   17869    1946       193    15506    13031    1464        130   11275    4181       -110      3122           -46       -3.05% Atlanta-Sandy Springs
POLK                   41475    5536      4885    30492    30429    3717       2781   23535    3348        327      2239          194         5.51% Cedartown,
PULASKI                12010    3892       465     7494     9432    2951        275    6097    2422        579      2060          518        21.29%
PUTNAM                 21218    5637      1347    14024    16617    3984        825   11647    2406        -66      2173          129         3.35%
QUITMAN                 2513    1213        34     1265     1999     906         21    1072     -85        -14         24           91       11.17% Eufaula, AL-
RABUN                  16276      216     1301    14468    12847     104        819   11728    1226         70      1083            26       33.33%
RANDOLPH                7719    4809       119     2781     5991    3532         89    2366     -72        161        329         385        12.23%
RICHMOND              200549 111991       8207    76236 151244     78601       5630   63232     774      10663      5077        10870        16.05% Augusta-Richmond Coun
ROCKDALE               85215   40736      8063    34826    62301   27292       5017   28709   15104      27644     11478        18911      225.64% Atlanta-Sandy Springs
SCHLEY                  5010    1180       161     3612     3507     810         82    2579    1244        -14        844           33        4.25% Americus,
SCREVEN                14593    6424       180     7898    10903    4470        106    6241    -781       -571       -180        -210        -4.49%
SEMINOLE                8729    2960       204     5516     6725    2066        124    4489    -640       -303       -194            4        0.19%
SPALDING               64073   21628      2451    38986    47862   14759       1612   30775    5656       3287      5377         2792        23.33% Atlanta-Sandy Springs
STEPHENS               26175    3140       633    22006    20223    2153        363   17423     740          -8       755          -12       -0.55% Toccoa,
STEWART                 6058    2898      1454     1655     5109    2204       1438    1421     806       -363      1164         -132        -5.65% Columbus, -AL
SUMTER                 32819   17200      1717    13413    24518   11874       1098   11129    -381        841        550        1118        10.39% Americus,
TALBOT                  6865    4109        91     2639     5401    3081         66    2228     367         72        473         139         4.72% Columbus, -AL
TALIAFERRO              1717    1043        35      625     1394     831         20     533    -360       -218       -183          -82       -8.98%
TATTNALL               25520    7626      2502    15196    20114    6234       1598   12120    3215        542      2917          724        13.14%

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
TAYLOR                  8906    3548       164     5123     6728    2615        112    3944      91       -230        282           66        2.59%
TELFAIR                16500    6134      2026     8429    13184    4730       1838    6720    4706       1566      4043         1319        38.67%
TERRELL                 9315    5764       157     3366     7011    4033        105    2854   -1655       -929       -845        -361        -8.22% Albany,
THOMAS                 44720   16739      1275    26081    33583   11915        793   20401    1983          -6     2447          673         5.99% Thomasville,
TIFT                   40118   11875      4037    23555    29758    8160       2376   18742    1711        995      1810         1146        16.34% Tifton,
TOOMBS                 27223    6949      3055    16887    19608    4484       1779   13099    1156        591        984         465        11.57% Vidalia,
TOWNS                  10471       53      206    10102     8830       43       149    8559    1152         36      1028            27     168.75%
TREUTLEN                6885    2281       103     4466     5172    1583         70    3499      31          -2        99           22        1.41% Dublin,
TROUP                  67044   22972      2170    40408    49242   15769       1359   31106    8265       4053      6836         3280        26.26% LaGrange, -AL
TURNER                  8930    3745       282     4820     6727    2612        175    3879    -574       -160         20         156         6.35%
TWIGGS                  9023    3785       124     5059     7167    2898         89    4130   -1567       -863       -564        -306        -9.55% Macon-Bibb County,
UNION                  21356      116      519    20345    17563       81       347   16853    4067           5     3733           -10      -10.99%
UPSON                  27153    7752       588    18522    20736    5575        375   14562    -444          -5       171         192         3.57% Thomaston,
WALKER                 68756    3296      1113    63343    52500    2215        673   48872    7703        838      6563          523        30.91% Chattanoo, TN-
WALTON                 83768   13718      2683    65677    61180    9097       1619   49336   23081       4821     17716         3338        57.96% Atlanta-Sandy Springs
WARE                   36312   11010      1207    23583    27755    7849        764   18749     829        978      1076          927        13.39% Waycross,
WARREN                  5834    3624        54     2133     4461    2589         36    1815    -502       -159       -205           19        0.74%
WASHINGTON             21187   11323       407     9339    16141    8286        299    7477      11          -2       669         483         6.19%
WAYNE                  30099    6298      1719    21749    22638    4543       1181   16655    3534        817      2964          679        17.57% Jesup,
WEBSTER                 2799    1201        98     1492     2089     861         49    1173     409         76        302           45        5.51%
WHEELER                 7421    2647       356     4405     6022    2219        253    3548    1242        578      1226          639        40.44%
WHITE                  27144      568      647    25453    20944     380        370   19852    7200        101      5622            36       10.47%
WHITFIELD             102599    4519     32471    63818    73316    3063     18717    50242   19074       1015     12625          718        30.62% Dalton,
WILCOX                  9255    3305       338     5544     7468    2694        261    4470     678        183        844         358        15.33%
WILKES                 10593    4640       361     5495     8237    3457        218    4505     -94          -2       111           41        1.20%
WILKINSON               9563    3720       214     5529     7239    2693        137    4340    -657       -477       -198        -146        -5.14%
WORTH                  21679    6091       335    15044    16336    4249        217   11699    -288       -441        653         120         2.91% Albany,



Total               9687653 3054098    853689 5413920 7196101 2140789      539002 4242514 1501200      660673 1178882         517311         24.16%




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                    EXHIBIT G-3
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                                                                                                     1990 -2000 Change
                                                                                                     Black                Black       % Black
County (Metro                                                                      NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold) 2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change        change       change     MSAs
APPLING              17419    3450       792    13053    12690    2259        513    9826    1675        182      1530         299        15.26%
ATKINSON              7609    1506      1290     4760     5301    1025        750    3487    1396       -152       950          -23       -2.19% Douglas,
BACON                10103    1627       342     8068     7455     996        235    6176     537        147       747         163        19.57%
BAKER                 4074    2062       111     1889     2961    1407         64    1482     459        201       426         204        16.96%
BALDWIN              44700   19573       607    23920    34979   14341        430   19749    5170       2867      4607        2322        19.32% Milledgeville,
BANKS                14422      477      493    13256    10646     340        309    9856    4114        113      3075           82       31.78%
BARROW               46144    4675      1460    38543    33019    3115        961   28072   16423       1321     11612         873        38.94% Atlanta-Sandy Springs
BARTOW               76019    6829      2524    65644    54820    4541       1631   47917   20108       1803     14285        1042        29.78% Atlanta-Sandy Springs
BEN HILL             17484    5754       800    10818    12675    3742        565    8287    1239        666      1412         663        21.53% Fitzgerald,
BERRIEN              16235    1882       384    13761    11811    1198        220   10252    2082        234      1567         189        18.73%
BIBB                153887   73402      2023    76262 113007     48994       1392   60951    3920      10876      2903        7252        17.37% Macon-Bibb County,
BLECKLEY             11666    2891       107     8505     8565    1878         76    6503    1236        559       884         382        25.53%
BRANTLEY             14629      612      152    13712    10484     396         96    9879    3552         16      2772           17        4.49% Brunswick,
BROOKS               16450    6529       505     9303    12025    4267        360    7329    1052        139      1219         345         8.80% Valdosta,
BRYAN                23417    3431       465    19138    16128    2201        284   13367    7979       1138      5694         755        52.21% Savannah,
BULLOCH              55983   16271      1052    37998    43503   11800        816   30318   12858       5045     10215        4275        56.81% Statesboro,
BURKE                22243   11421       316    10336    15289    7227        196    7735    1664        665      1539         675        10.30% Augusta-Richmond Cou
BUTTS                19522    5705       277    13366    14823    4194        196   10298    4196        267      3444         308         7.93% Atlanta-Sandy Springs
CALHOUN               6320    3845       189     2368     4925    2908        155    1939    1307        892      1368         968        49.90%
CAMDEN               43664    9077      1585    31975    29832    5655        975   22486   13497       2998      8815        1592        39.18% St. Marys,
CANDLER               9577    2623       882     6028     7009    1796        594    4592    1833        218      1369         233        14.91%
CARROLL              87268   14647      2243    69258    64638    9952       1625   52256   15846       3416     12357        2350        30.91% Atlanta-Sandy Springs
CATOOSA              53282      767      621    51013    39526     455        392   38065   10818        410      8085         197        76.36% Chattanoo, TN-
CHARLTON             10282    3057        81     7014     7456    2157         48    5154    1786        702      1601         675        45.55%
CHATHAM             232048   95242      5403 125802 173965       64328       3822 101588    15113      12634     14316        9112        16.50% Savannah,
CHATTAHOOCHEE        14882    4701      1551     8181    10656    3068       1042    6209   -2052       -534     -1548        -502       -14.06% Columbus, -AL
CHATTOOGA            25470    2960       537    21776    19636    2339        396   16774    3228       1019      3088        1002        74.94% Summerville,
CHEROKEE            141903    3851      7695 127618 101793        2482       5281   92111   51699       2158     36932        1277      105.98% Atlanta-Sandy Springs
CLARKE              101489   28165      6436    62895    83381   19433       4529   56121   13895       5230     13339        4138        27.05% Athens-Clarke County,
CLAY                  3357    2044        32     1282     2493    1377         17    1096      -7          0       112           46        3.46%
CLAYTON             236517 124550      17728    82637 165596     79831     11823    65444   54465      81147     34399      51042       177.30% Atlanta-Sandy Springs
CLINCH                6878    2057        54     4713     4962    1355         32    3537     718        375       646         317        30.54%
COBB                607751 118229      46964 417947 449345       79717     32367 319272 160006         74075 114844         48983       159.38% Atlanta-Sandy Springs

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop    18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 37413    9806      2550    24701    26831    6499       1609   18475    7821       2302      6093        1820        38.90% Douglas,
COLQUITT               42053    9989      4554    27252    30510    6377       3037   20906    5408       1128      4242         986        18.29% Moultrie,
COLUMBIA               89288   10375      2313    72438    62858    6886       1463   51640   23257       3093     16971        1741        33.84% Augusta-Richmond Cou
COOK                   15771    4645       485    10526    11318    2925        307    7987    2315        614      1723         405        16.07%
COWETA                 89215   16286      2797    68867    63573   10644       2072   49992   35362       4092     25071        2676        33.58% Atlanta-Sandy Springs
CRAWFORD               12495    3019       301     9037     9047    2143        235    6572    3504        262      2597         239        12.55% Macon-Bibb County,
CRISP                  21996    9624       382    11778    15618    5990        274    9193    1985       1471      1602        1072        21.80% Cordele,
DADE                   15154      103      137    14685    11541       86        90   11198    2007           2     1816            8       10.26% Chattanoo, TN-
DAWSON                 15999       73      254    15429    11991       39       180   11598    6570         69      5177           37    1850.00% Atlanta-Sandy Springs
DECATUR                28240   11353       905    15800    20178    7372        565   12097    2729       1283      2267         996        15.62% Bainbridge,
DEKALB                665865 368516      52542 214685 501887 253585          39251 185270 120028       138091      85603      96167         61.09% Atlanta-Sandy Springs
DODGE                  19171    5670       248    13142    14192    3822        162   10126    1564        806      1145         485        14.53%
DOOLY                  11525    5743       537     5161     8577    4032        339    4135    1624        891      1666        1013        33.55%
DOUGHERTY              96065   58154      1292    35794    69489   38854        874   29091    -246       9767      2495        8532        28.14% Albany,
DOUGLAS                92174   17653      2640    69965    66739   11530       1679   52179   21054      12056     15768        7868      214.86% Atlanta-Sandy Springs
EARLY                  12354    5996       152     6159     8813    3805         86    4877     500        770       523         591        18.39%
ECHOLS                  3754      261      739     2688     2654     169        501    1936    1420          -3     1017           18       11.92% Valdosta,
EFFINGHAM              37535    4985       531    31493    26301    3197        324   22422   11848       1365      8589         894        38.82% Savannah,
ELBERT                 20511    6360       489    13505    15209    4324        372   10407    1562        642      1348         531        14.00%
EMANUEL                21837    7318       745    13663    15762    4662        562   10451    1291        637      1461         683        17.17%
EVANS                  10495    3477       625     6333     7611    2294        435    4837    1771        514      1445         435        23.40%
FANNIN                 19798       32      130    19312    15654       20        88   15314    3806         27      3369           16     400.00%
FAYETTE                91263   10832      2582    74820    64709    7086       1702   53926   28848       7452     20521        4849      216.76% Atlanta-Sandy Springs
FLOYD                  90565   12345      4983    71674    68329    8333       3288   55597    9314       1239      6547         926        12.50% Rome,
FORSYTH                98407      770     5477    90820    70941     533       3787   65662   54324        756     38231         519     3707.14% Atlanta-Sandy Springs
FRANKLIN               20285    1837       187    18064    15431    1273        132   13880    3635        156      2734         156        13.97%
FULTON                816006 369014      48056 369997 616716 261196          35704 297707 167055         45006 124950         35953         15.96% Atlanta-Sandy Springs
GILMER                 23456       76     1815    21287    17753       43      1200   16301   10088         39      7749            9       26.47%
GLASCOCK                2556      218       12     2309     1947     163          6    1761     199        -80       145          -63      -27.88%
GLYNN                  67568   18147      2019    46566    50460   11922       1380   36533    5072       2206      4207        1562        15.08% Brunswick,
GORDON                 44104    1633      3268    38642    32606    1104       2318   28782    9032        312      7032         214        24.04% Calhoun,
GRADY                  23659    7207      1222    14954    17206    4708        827   11473    3380        812      2653         572        13.83%
GREENE                 14406    6434       420     7481    10792    4284        267    6181    2613        547      2609         626        17.11%

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
GWINNETT              588448   81804     64137 394164 422455       54593     44167 289400 235538         63629 168259         41685       322.94% Atlanta-Sandy Springs
HABERSHAM              35902    1708      2750    30486    27471    1378       1707   23711    8281        154      6384           13        0.95% Cornelia,
HALL                  139277   10486     27242    98942 101760      7092     17424    75382   43849       2291     30791        1607        29.30% inesville,
HANCOCK                10076    7855        54     2141     7651    5697         44    1885    1168        778      1536        1128        24.69% Milledgeville,
HARALSON               25690    1443       143    23799    18992     966         97   17691    3724         16      2848            7        0.73% Atlanta-Sandy Springs
HARRIS                 23695    4662       260    18444    17630    3344        186   13853    5907         91      4342           82        2.51% Columbus, -AL
HART                   22997    4517       196    18087    17595    3121        137   14205    3285        515      2774         529        20.41%
HEARD                  11012    1221       116     9580     7848     856         65    6856    2384         58      1669           92       12.04% Atlanta-Sandy Springs
HENRY                 119341   17976      2692    95550    84480   11865       1690   68770   60600      11908     41955        7570      176.25% Atlanta-Sandy Springs
HOUSTON               110765   28046      3363    76391    79549   18390       2252   56784   21557       8670     15523        6073        49.31% Warner Robins,
IRWIN                   9931    2585       202     7102     7071    1610        126    5309    1282        -45       904          -14       -0.86%
JACKSON                41589    3356      1249    36314    30518    2423        793   26894   11584        452      8464         372        18.14% Jefferson,
JASPER                 11426    3145       236     7964     8317    2153        153    5959    2973        205      2249         190         9.68% Atlanta-Sandy Springs
JEFF DAVIS             12684    1932       651     9992     9230    1302        436    7407     652         98       575           89        7.34%
JEFFERSON              17266    9756       259     7215    12363    6553        185    5607    -142         56       203         293         4.68%
JENKINS                 8575    3496       287     4766     6132    2280        203    3634     328         84       320         126         5.85%
JOHNSON                 8560    3168        78     5307     5981    1891         54    4034     231        329        91         167         9.69% Dublin,
JONES                  23639    5569       169    17649    17228    4052        102   12888    2900        252      2277         344         9.28% Macon-Bibb County,
LAMAR                  15912    4895       172    10683    12013    3496        128    8274    2874        453      2419         468        15.46% Atlanta-Sandy Springs
LANIER                  7241    1878       126     5122     5258    1288         80    3811    1710        408      1343         341        36.01% Valdosta,
LAURENS                44874   15619       529    28199    32829   10443        334   21689    4886       2315      4099        1883        22.00% Dublin,
LEE                    24757    3889       300    20203    17168    2722        178   14023    8507        754      6134         547        25.15% Albany,
LIBERTY                61610   27467      5022    27244    41916   17267       3181   20050    8865       6812      5214        3843        28.63% Hinesville,
LINCOLN                 8348    2883        81     5321     6311    2061         54    4149     906         57       857         147         7.68% Augusta-Richmond Cou
LONG                   10304    2576       870     6678     6893    1560        541    4687    4102       1234      2571         699        81.18% Hinesville,
LOWNDES                92115   31767      2447    55992    67981   21440       1655   43485   16134       7526     13241        5744        36.60% Valdosta,
LUMPKIN                21016      343      728    19381    15914     244        447   14812    6443        105      4889           68       38.64%
MACON                  14074    8419       364     5184    10187    5857        233    4011     960        725      1215         900        18.16%
MADISON                25730    2216       507    22713    18966    1513        307   16936    4680        367      3532         233        18.20% Athens-Clarke County,
MARION                  7144    2465       413     4182     5119    1636        294    3128    1554        159      1127           93        6.03%
MCDUFFIE               21231    8045       284    12795    15315    5314        167    9717    1112        725      1107         610        12.97% Augusta-Richmond Cou
MCINTOSH               10847    4042        99     6607     7805    2664         55    5007    5257       1736      3813        1121        72.65% Brunswick,
MERIWETHER             22534    9560       191    12579    16536    6503        134    9747     123       -429       665           57        0.88% Atlanta-Sandy Springs

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
MILLER                  6383    1848        44     4456     4705    1188         26    3465     103        122       155           96        8.79%
MITCHELL               23932   11524       491    11746    17392    7827        294    9137    3657       1877      3545        1929        32.71%
MONROE                 21757    6127       281    15150    16044    4423        188   11288    4644        721      3557         574        14.91% Macon-Bibb County,
MONTGOMERY              8270    2262       271     5684     6199    1669        162    4325    1107        236       898         233        16.23% Vidalia,
MORGAN                 15457    4481       248    10619    11351    3114        159    7996    2574         22      2030           17        0.55% Atlanta-Sandy Springs
MURRAY                 36506      304     2006    33890    26302     169       1223   24692   10359        263      7573         145      604.17% Dalton,
MUSCOGEE              186291   83157      8372    90668 136289     55832       5772   71510    7013      14996      5452      10698         23.70% Columbus, -AL
NEWTON                 62001   14008      1157    46007    44844    9228        741   34274   20193       4651     14712        2995        48.05% Atlanta-Sandy Springs
OCONEE                 26225    1731       833    23112    18294    1164        520   16259    8607        416      5734         301        34.88% Athens-Clarke County,
OGLETHORPE             12635    2548       174     9817     9377    1790        115    7401    2872        129      2167         153         9.35% Athens-Clarke County,
PAULDING               81678    5952      1398    73188    56599    3739        845   51262   40067       4304     27099        2640      240.22% Atlanta-Sandy Springs
PEACH                  23668   10816       998    11654    17505    7886        663    8812    2479        741      2081         809        11.43% Warner Robins,
PICKENS                22983      308      467    21897    17570     211        313   16827    8551         61      6754           32       17.88% Atlanta-Sandy Springs
PIERCE                 15636    1746       357    13425    11467    1165        231   10009    2308        177      1892         135        13.11% Waycross,
PIKE                   13688    2056       167    11350     9909    1510         99    8229    3464          3      2479           61        4.21% Atlanta-Sandy Springs
POLK                   38127    5209      2921    29684    28190    3523       1862   22577    4312        418      3315         323        10.09% Cedartown,
PULASKI                 9588    3313       270     5932     7372    2433        174    4713    1480        681      1448         713        41.45%
PUTNAM                 18812    5703       407    12471    14444    3855        282   10163    4675        955      3945         699        22.15%
QUITMAN                 2598    1227        13     1351     1975     815          8    1142     389        120       336           83       11.34% Eufaula, AL-
RABUN                  15050      146      683    14023    11764       78       456   11086    3402        105      2674           40     105.26%
RANDOLPH                7791    4648        92     3016     5662    3147         58    2427    -232          3        -4         185         6.25%
RICHMOND              199775 101328       5545    88660 146167     67731       3794   71158   10056      21689      7921      15059         28.59% Augusta-Richmond Cou
ROCKDALE               70111   13092      4182    50967    50823    8381       2961   38183   16020       8737     12059        5524      193.35% Atlanta-Sandy Springs
SCHLEY                  3766    1194        89     2462     2663     777         52    1825     178        -28        91          -35       -4.31% Americus,
SCREVEN                15374    6995       147     8182    11083    4680         94    6268    1532        786      1294         732        18.54%
SEMINOLE                9369    3263       347     5734     6919    2062        225    4598     359        320       274         226        12.31%
SPALDING               58417   18341       947    38435    42485   11967        632   29386    3960       2556      3338        1839        18.16% Atlanta-Sandy Springs
STEPHENS               25435    3148       250    21673    19468    2165        165   16880    2178        361      1819         244        12.70% Toccoa,
STEWART                 5252    3261        79     1926     3945    2336         45    1567    -402       -317      -164        -146        -5.88% Columbus, -AL
SUMTER                 33200   16359       891    15672    23968   10756        600   12389    2972       2314      2575        1879        21.17% Americus,
TALBOT                  6498    4037        82     2354     4928    2942         62    1909     -26        -30       171         134         4.77% Columbus, -AL
TALIAFERRO              2077    1261        19      787     1577     913         13     649     162         94       192         114        14.27%
TATTNALL               22305    7084      1883    13218    17197    5510       1219   10380    4583       1907      3758        1723        45.50%

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black      % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop    18+Pop      18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change      change     MSAs
TAYLOR                  8815    3778       163     4847     6446    2549        125    3746    1173        478       940         375       17.25%
TELFAIR                11794    4568       215     6993     9141    3411        170    5542     794        795      1186         936       37.82%
TERRELL                10970    6693       136     4101     7856    4394         88    3341     317        316       367         359        8.90% Albany,
THOMAS                 42737   16745       734    24875    31136   11242        471   19129    3751       1986      3309        1684       17.62% Thomasville,
TIFT                   38407   10880      2944    24092    27948    7014       1923   18625    3409       1509      3008        1245       21.58% Tifton,
TOOMBS                 26067    6358      2310    17226    18624    4019       1406   13069    1995        721      1648         530       15.19% Vidalia,
TOWNS                   9319       17       67     9159     7802       16        57    7673    2565         17      2224          16   #DIV/0!
TREUTLEN                6854    2283        79     4463     5073    1561         58    3433     860        299       782         283       22.14% Dublin,
TROUP                  58779   18919      1004    38261    42406   12489        695   28827    3243       2225      2376        1564       14.32% LaGrange, -AL
TURNER                  9504    3905       244     5315     6707    2456        180    4040     801        371       724         445       22.13%
TWIGGS                 10590    4648       112     5784     7731    3204         83    4407     784        147       922         284        9.73% Macon-Bibb County,
UNION                  17289      111      153    16837    13830       91       125   13474    5296         92      4510          76     506.67%
UPSON                  27597    7757       327    19271    20565    5383        222   14788    1297        485       944         357        7.10% Thomaston,
WALKER                 61053    2458       565    57336    45937    1692        364   43356    2713        212      2620          31        1.87% Chattanoo, TN-
WALTON                 60687    8897      1163    49731    43464    5759        775   36362   22101       1792     15610        1032       21.83% Atlanta-Sandy Springs
WARE                   35483   10032       688    24434    26679    6922        445   19098      12        794       708         821       13.46% Waycross,
WARREN                  6336    3783        51     2483     4666    2570         27    2050     258        127       305         197        8.30%
WASHINGTON             21176   11325       134     9620    15472    7803         86    7511    2064       1451      1993        1288       19.77%
WAYNE                  26565    5481      1013    19838    19674    3864        720   14922    4209       1123      3813        1154       42.58% Jesup,
WEBSTER                 2390    1125        66     1186     1787     816         43     916     127          -7      149          29        3.68%
WHEELER                 6179    2069       219     3866     4796    1580        150    3046    1276        595      1301         655       70.81%
WHITE                  19944      467      311    18804    15322     344        209   14516    6938        107      5307          87       33.85%
WHITFIELD              83525    3504     18419    60338    60691    2345     11396    46058   11063        603      7164         330       16.38% Dalton,
WILCOX                  8577    3122       139     5299     6624    2336         92    4178    1569        897      1602         942       67.58%
WILKES                 10687    4642       212     5758     8126    3416        164    4495      90       -267       337          30        0.89%
WILKINSON              10220    4197       101     5893     7437    2839         74    4501      -8       -105       218          87        3.16%
WORTH                  21967    6532       240    14999    15683    4129        140   11267    2222        481      1928         420       11.32% Albany,



Total               8186453 2393425    435227 5128661 6017219 1623478      299258 3925585 1711281      648273 1268525        456307




                                                                                                                                                        Page 5 of 5
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


001             171,350                -1,644           -0.95%        37,852    22.09%      2,493       40,345         23.55%                  10,252    5.98%

      VAP       127,614                                               26,202    20.53%           878    27,080         21.22%                   6,353    4.98%


002             172,067                  -927           -0.54%        92,824    53.95%      2,226       95,050         55.24%                   9,860    5.73%

      VAP       132,543                                               66,470    50.15%      1,050       67,520         50.94%                   6,981    5.27%


003             171,952                -1,042           -0.60%        39,606    23.03%      1,755       41,361         24.05%                   8,534    4.96%

      VAP       129,192                                               28,065    21.72%           585    28,650         22.18%                   5,463    4.23%


004             173,075                   81            0.05%         41,571    24.02%      1,245       42,816         24.74%                   8,958    5.18%

      VAP       131,149                                               30,454    23.22%           468    30,922         23.58%                   5,691    4.34%


005             172,513                  -481           -0.28%        49,881    28.91%      2,901       52,782         30.60%                  71,815   41.63%

      VAP       119,904                                               33,732    28.13%      1,292       35,024         29.21%                  45,746   38.15%


006             173,708                  714            0.41%         39,863    22.95%      2,400       42,263         24.33%                  24,754   14.25%

      VAP       137,161                                               30,590    22.30%      1,349       31,939         23.29%                  16,160   11.78%


007             171,498                -1,496           -0.86%        39,294    22.91%      1,115       40,409         23.56%                  11,685    6.81%

      VAP       128,245                                               28,401    22.15%           309    28,710         22.39%                   6,972    5.44%


008             171,383                -1,611           -0.93%        56,380    32.90%      1,515       57,895         33.78%                   9,198    5.37%

      VAP       128,253                                               40,080    31.25%           592    40,672         31.71%                   5,852    4.56%


009             173,867                  873            0.50%         34,699    19.96%      2,110       36,809         21.17%                  18,207   10.47%

      VAP       125,254                                               22,663    18.09%           832    23,495         18.76%                  11,604    9.26%


010             172,386                  -608           -0.35%       118,775    68.90%      2,614      121,389         70.42%                   7,140    4.14%

      VAP       125,304                                               84,709    67.60%      1,289       85,998         68.63%                   4,386    3.50%


011             172,584                  -410           -0.24%        57,123    33.10%       959        58,082         33.65%                  13,703    7.94%

      VAP       127,856                                               39,947    31.24%           352    40,299         31.52%                   8,305    6.50%


012             173,031                   37            0.02%        107,565    62.17%      1,262      108,827         62.89%                   6,147    3.55%

      VAP       130,495                                               76,605    58.70%           556    77,161         59.13%                   4,550    3.49%


013             171,539                -1,455           -0.84%        55,521    32.37%       951        56,472         32.92%                   8,156    4.75%

      VAP       128,351                                               39,341    30.65%           314    39,655         30.90%                   5,009    3.90%


014             173,151                  157            0.09%         15,505    8.95%       1,636       17,141          9.90%                  18,976   10.96%

      VAP       126,557                                               10,603    8.38%            465    11,068          8.75%                  11,707    9.25%


015             173,280                  286            0.17%         96,128    55.48%      2,958       99,086         57.18%                  10,633    6.14%

      VAP       128,462                                               69,203    53.87%      1,220       70,423         54.82%                   6,935    5.40%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     1
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


016             172,012                  -982           -0.57%        35,797    20.81%      1,478       37,275         21.67%                   7,128    4.14%

      VAP       127,450                                               25,465    19.98%           519    25,984         20.39%                   4,552    3.57%


017             171,822                -1,172           -0.68%        51,053    29.71%      2,106       53,159         30.94%                   7,980    4.64%

      VAP       121,373                                               33,663    27.74%           747    34,410         28.35%                   4,852    4.00%


018             172,982                   -12           -0.01%        48,323    27.94%      1,242       49,565         28.65%                   6,126    3.54%

      VAP       132,567                                               35,668    26.91%           447    36,115         27.24%                   3,906    2.95%


019             173,261                  267            0.15%         45,980    26.54%      1,751       47,731         27.55%                  15,524    8.96%

      VAP       128,915                                               33,460    25.96%           529    33,989         26.37%                  10,084    7.82%


020             173,859                  865            0.50%         50,174    28.86%      1,700       51,874         29.84%                   7,596    4.37%

      VAP       128,979                                               35,317    27.38%           567    35,884         27.82%                   4,759    3.69%


021             174,508                 1,514           0.88%         11,300    6.48%       1,358       12,658          7.25%                  11,742    6.73%

      VAP       125,212                                                7,721    6.17%            489     8,210          6.56%                   7,457    5.96%


022             171,645                -1,349           -0.78%       101,076    58.89%      2,998      104,074         60.63%                   7,217    4.20%

      VAP       129,039                                               71,660    55.53%      1,337       72,997         56.57%                   4,982    3.86%


023             171,559                -1,435           -0.83%        62,136    36.22%      1,544       63,680         37.12%                   5,511    3.21%

      VAP       128,048                                               43,718    34.14%           496    44,214         34.53%                   3,559    2.78%


024             172,595                  -399           -0.23%        33,638    19.49%      1,599       35,237         20.42%                   6,943    4.02%

      VAP       129,147                                               24,539    19.00%           470    25,009         19.36%                   4,236    3.28%


025             174,016                 1,022           0.59%         52,329    30.07%      1,171       53,500         30.74%                   5,684    3.27%

      VAP       134,483                                               38,282    28.47%           378    38,660         28.75%                   3,698    2.75%


026             171,351                -1,643           -0.95%       103,229    60.24%      1,561      104,790         61.16%                   5,003    2.92%

      VAP       126,588                                               72,782    57.50%           626    73,408         57.99%                   3,298    2.61%


027             172,726                  -268           -0.15%         4,490    2.60%        778         5,268          3.05%                  16,179    9.37%

      VAP       120,121                                                2,998    2.50%            277     3,275          2.73%                  10,177    8.47%


028             172,358                  -636           -0.37%        28,697    16.65%      1,436       30,133         17.48%                   9,562    5.55%

      VAP       126,140                                               20,138    15.96%           414    20,552         16.29%                   6,218    4.93%


029             173,911                  917            0.53%         45,511    26.17%      1,733       47,244         27.17%                   7,317    4.21%

      VAP       131,011                                               32,576    24.87%           552    33,128         25.29%                   4,795    3.66%


030             172,531                  -463           -0.27%        33,612    19.48%      2,207       35,819         20.76%                  10,302    5.97%

      VAP       125,663                                               23,275    18.52%           700    23,975         19.08%                   6,291    5.01%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     2
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


031             174,298                 1,304           0.75%         23,616    13.55%      1,798       25,414         14.58%                  10,762    6.17%

      VAP       124,828                                               15,799    12.66%           511    16,310         13.07%                   6,220    4.98%


032             174,271                 1,277           0.74%         14,817    8.50%       1,334       16,151          9.27%                   9,811    5.63%

      VAP       130,854                                               10,791    8.25%            542    11,333          8.66%                   6,539    5.00%


033             174,114                 1,120           0.65%         62,936    36.15%      3,058       65,994         37.90%                  33,571   19.28%

      VAP       128,718                                               43,422    33.73%      1,379       44,801         34.81%                  20,775   16.14%


034             173,063                   69            0.04%        108,169    62.50%      2,853      111,022         64.15%                  24,642   14.24%

      VAP       123,516                                               75,265    60.94%      1,375       76,640         62.05%                  15,146   12.26%


035             173,728                  734            0.42%        107,338    61.79%      3,013      110,351         63.52%                  13,774    7.93%

      VAP       122,650                                               72,472    59.09%      1,309       73,781         60.16%                   8,213    6.70%


036             172,083                  -911           -0.53%       103,348    60.06%      2,338      105,686         61.42%                  12,232    7.11%

      VAP       137,631                                               78,481    57.02%      1,630       80,111         58.21%                   8,800    6.39%


037             172,832                  -162           -0.09%        30,548    17.67%      1,919       32,467         18.79%                  13,258    7.67%

      VAP       126,053                                               20,606    16.35%           802    21,408         16.98%                   8,429    6.69%


038             174,530                 1,536           0.89%        110,537    63.33%      2,421      112,958         64.72%                  17,411    9.98%

      VAP       129,186                                               80,556    62.36%      1,289       81,845         63.35%                  10,835    8.39%


039             173,809                  815            0.47%        110,761    63.73%      2,303      113,064         65.05%                   9,651    5.55%

      VAP       139,465                                               83,562    59.92%      1,557       85,119         61.03%                   6,962    4.99%


040             173,539                  545            0.32%         26,747    15.41%      1,754       28,501         16.42%                  36,807   21.21%

      VAP       133,946                                               20,482    15.29%      1,010       21,492         16.05%                  25,354   18.93%


041             173,452                  458            0.26%         90,037    51.91%      2,732       92,769         53.48%                  23,281   13.42%

      VAP       127,577                                               64,136    50.27%      1,444       65,580         51.40%                  14,850   11.64%


042             172,447                  -547           -0.32%        42,913    24.88%      1,779       44,692         25.92%                  24,229   14.05%

      VAP       138,757                                               33,570    24.19%      1,094       34,664         24.98%                  16,922   12.20%


043             172,105                  -889           -0.51%       105,035    61.03%      2,631      107,666         62.56%                  12,251    7.12%

      VAP       123,175                                               71,792    58.28%      1,213       73,005         59.27%                   7,461    6.06%


044             174,464                 1,470           0.85%        122,966    70.48%      2,787      125,753         72.08%                  14,561    8.35%

      VAP       127,853                                               87,966    68.80%      1,378       89,344         69.88%                   9,051    7.08%


045             173,558                  564            0.33%         24,226    13.96%      1,927       26,153         15.07%                  22,225   12.81%

      VAP       120,526                                               15,902    13.19%           691    16,593         13.77%                  13,760   11.42%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     3
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Plan Name: Senate14                                              Plan Type : Senate                  User: Gina                   Administrator: State




                                                                        %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT             POPULATION                 DEVIATION          DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


046                   174,230                           1,236            0.71%         30,244    17.36%      1,313       31,557         18.11%                   8,606    4.94%

         VAP          135,912                                                          21,845    16.07%           563    22,408         16.49%                   5,673    4.17%


047                   174,417                           1,423            0.82%         25,803    14.79%      1,534       27,337         15.67%                  16,455    9.43%

         VAP          129,264                                                          18,117    14.02%           489    18,606         14.39%                   9,911    7.67%


048                   171,240                           -1,754           -1.01%        25,398    14.83%      1,929       27,327         15.96%                  21,232   12.40%

         VAP          122,833                                                          17,133    13.95%           794    17,927         14.59%                  13,645   11.11%


049                   173,823                             829            0.48%         12,877    7.41%       1,070       13,947          8.02%                  44,504   25.60%

         VAP          125,571                                                           9,143    7.28%            322     9,465          7.54%                  25,911   20.63%


050                   171,792                           -1,202           -0.69%         9,219    5.37%       1,099       10,318          6.01%                  13,621    7.93%

         VAP          131,117                                                           6,960    5.31%            256     7,216          5.50%                   7,940    6.06%


051                   173,593                             599            0.35%          1,471    0.85%        498         1,969          1.13%                   7,454    4.29%

         VAP          136,858                                                           1,128    0.82%            148     1,276          0.93%                   4,570    3.34%


052                   172,494                            -500            -0.29%        19,604    11.37%      1,418       21,022         12.19%                  18,234   10.57%

         VAP          128,253                                                          13,936    10.87%           368    14,304         11.15%                  10,849    8.46%


053                   173,151                             157            0.09%          7,102    4.10%       1,091        8,193          4.73%                   3,905    2.26%

         VAP          132,044                                                           5,563    4.21%            239     5,802          4.39%                   2,345    1.78%


054                   173,417                             423            0.24%          4,520    2.61%        968         5,488          3.16%                  38,990   22.48%

         VAP          125,379                                                           3,377    2.69%            250     3,627          2.89%                  22,395   17.86%


055                   174,196                           1,202            0.69%        114,253    65.59%      3,254      117,507         67.46%                  11,564    6.64%

         VAP          123,203                                                          78,012    63.32%      1,571       79,583         64.60%                   6,951    5.64%


056                   174,487                           1,493            0.86%         26,018    14.91%      2,040       28,058         16.08%                  22,826   13.08%

         VAP          129,856                                                          19,127    14.73%           996    20,123         15.50%                  14,917   11.49%


Total Population:         9,687,653
Ideal Value:        172,994
Summary Statistics
Population Range:         171,240     to      174,530

Absolute Overall Range:               3,290

Relative Range:           -1.01%        to    0.89%
Relative Overall Range:         1.90%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                                      4
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                                                               Population Summary Report
                                                Georgia State Senate --2014 Benchmark Plan
                                                                                                                                   2015-19  2015-19
                      % 2020                      18+ AP    % 18+ AP 18+_NH % 18+ NH 2015-19                  2015-19    2015-19   B+L+A NH White
District   2020 Pop. Deviation 18+ Pop             Black      Black    White   White   BCVAP*                 LCVAP*     ACVAP*    CVAP*    CVAP*
   001        198887     3.97%   152297               35451    23.28%    96772  63.54% 22.69%                   5.60%      2.50%     30.79%  68.07%
   002        189492    -0.94%   150134               70693    47.09%    60178  40.08% 53.43%                   4.30%      1.46%     59.18%  40.00%
   003        177449    -7.23%   138541               28640    20.67%    95762  69.12% 22.80%                   3.18%      1.40%     27.39%  71.81%
   004        193292     1.05%   147437               35090    23.80%    99258  67.32% 24.14%                   2.82%      0.76%     27.72%  71.45%
   005        196143     2.54%   142732               43538    30.50%    23318  16.34% 39.22%                  19.37%     13.57%     72.16%  26.68%
   006        210532    10.06%   172356               43196    25.06%    92734  53.80% 25.05%                   5.73%      4.64%     35.42%  64.09%
   007        171471   -10.36%   130540               30505    23.37%    88112  67.50% 24.31%                   3.43%      0.47%     28.21%  71.23%
   008        179719    -6.05%   135732               46162    34.01%    77098  56.80% 33.19%                   4.02%      1.18%     38.39%  60.73%
   009        208385     8.94%   154183               44050    28.57%    70409  45.67% 25.32%                   8.13%      8.70%     42.15%  56.96%
   010        189350    -1.01%   146159             109589     74.98%    24225  16.57% 73.45%                   3.29%      2.66%     79.39%  19.99%
   011        176167    -7.90%   134129               43418    32.37%    77682  57.92% 34.09%                   3.11%      0.59%     37.78%  61.39%
   012        156514   -18.18%   122414               76043    62.12%    39684  32.42% 63.31%                   1.39%      0.68%     65.38%  34.05%
   013        166659   -12.87%   128573               40500    31.50%    78559  61.10% 32.60%                   2.73%      0.91%     36.23%  63.09%
   014        201621     5.40%   153905               16759    10.89%   111171  72.23% 10.68%                   6.08%      1.75%     18.52%  80.36%
   015        167658   -12.35%   127245               72150    56.70%    43673  34.32% 55.52%                   5.54%      1.20%     62.26%  36.50%
   016        185112    -3.23%   142191               31282    22.00%    96558  67.91% 21.58%                   3.25%      1.96%     26.79%  72.18%
   017        203628     6.45%   151694               63292    41.72%    74437  49.07% 35.83%                   3.75%      1.13%     40.71%  58.47%
   018        181317    -5.21%   142464               43919    30.83%    87228  61.23% 30.31%                   2.09%      1.11%     33.52%  65.66%
   019        171580   -10.30%   130086               35842    27.55%    80326  61.75% 28.65%                   4.82%      0.49%     33.95%  65.24%
   020        194874     1.88%   146865               44728    30.46%    88596  60.32% 30.31%                   3.34%      1.99%     35.64%  63.45%
   021        213660    11.70%   161932               12410      7.66%  120173  74.21%  7.30%                   4.78%      3.41%     15.49%  83.83%
   022        177079    -7.43%   137131               80572    58.76%    44194  32.23% 60.81%                   4.00%      1.50%     66.31%  32.82%
   023        172283    -9.93%   133828               47670    35.62%    76938  57.49% 34.71%                   2.44%      1.16%     38.31%  60.89%
   024        201121     5.14%   152283               31388    20.61%   104217  68.44% 20.74%                   3.65%      2.67%     27.06%  72.23%
   025        184090    -3.76%   146057               41632    28.50%    94913  64.98% 30.11%                   2.17%      0.99%     33.27%  66.32%
   026        162113   -15.25%   123874               74504    60.14%    42998  34.71% 60.87%                   1.71%      0.71%     63.28%  36.27%
   027        247844    29.57%   178599                8702      4.87%  119868  67.12%  3.95%                   5.33%      7.35%     16.63%  82.62%
   028        193759     1.29%   148139               25846    17.45%   106941  72.19% 17.43%                   4.00%      1.42%     22.85%  76.32%
   029        190152    -0.59%   146692               41511    28.30%    89648  61.11% 28.79%                   3.92%      2.16%     34.87%  64.43%
   030        185628    -2.96%   140487               32442    23.09%    92957  66.17% 22.57%                   3.58%      1.07%     27.23%  71.80%
   031        200874     5.01%   148856               26030    17.49%   107611  72.29% 14.69%                   4.17%      0.65%     19.51%  79.72%
   032        191820     0.28%   146090               15068    10.31%   100623  68.88%  9.43%                   4.72%      6.29%     20.45%  78.78%
   033        194620     1.74%   149098               57946    38.86%    54199  36.35% 42.38%                   9.42%      2.68%     54.48%  44.66%
   034        193843     1.34%   143989               98409    68.34%    20582  14.29% 71.98%                   5.24%      3.44%     80.65%  18.33%
   035        207451     8.45%   155438             110949     71.38%    29749  19.14% 68.38%                   4.15%      0.96%     73.49%  25.68%
   036        194797     1.84%   160571               86374    53.79%    55677  34.67% 55.27%                   3.64%      2.85%     61.76%  37.72%
   037        192450     0.61%   149015               32301    21.68%    93201  62.54% 20.68%                   5.28%      3.58%     29.54%  69.66%
   038        194347     1.60%   149483               95641    63.98%    35249  23.58% 68.29%                   4.41%      1.98%     74.69%  24.80%
   039        205632     7.50%   170381               98999    58.10%    50264  29.50% 62.02%                   2.97%      3.59%     68.58%  30.69%
   040        195569     2.24%   151062               27069    17.92%    76038  50.34% 19.37%                   6.80%      8.03%     34.21%  65.14%
   041        196140     2.54%   146663               72979    49.76%    31519  21.49% 57.22%                   6.08%      7.27%     70.57%  28.32%
   042        188406    -1.50%   151516               36776    24.27%    82267  54.30% 27.82%                   3.82%      5.74%     37.38%  61.71%
   043        196565     2.76%   148422             102018     68.74%    33974  22.89% 66.24%                   3.75%      1.45%     71.44%  27.81%
   044        198371     3.70%   151932             110050     72.43%    22257  14.65% 74.99%                   4.65%      3.54%     83.17%  15.89%
   045        214703    12.24%   158272               29023    18.34%    80234  50.69% 17.75%                   7.78%     10.08%     35.62%  63.70%
   046        203757     6.52%   160011               27059    16.91%   113961  71.22% 18.37%                   3.08%      2.76%     24.21%  75.11%
   047        202081     5.64%   154098               23646    15.34%   105856  68.69% 15.67%                   5.12%      2.23%     23.02%  76.30%
   048        197406     3.20%   151281               28527    18.86%    57510  38.02% 20.30%                   7.68%     20.19%     48.17%  50.90%
   049        196756     2.86%   149277               11752      7.87%   96626  64.73%  8.65%                  11.42%      2.05%     22.11%  77.08%
   050        186077    -2.72%   145138                8642      5.95%  119197  82.13%  6.33%                   4.30%      1.03%     11.66%  87.35%
   051        193626     1.22%   158512                1962      1.24%  142807  90.09%  1.37%                   2.34%      0.49%      4.20%  94.12%
   052        179411    -6.21%   137797               16207    11.76%   101967  74.00% 11.79%                   4.98%      0.90%     17.67%  81.60%
   053        174643    -8.70%   135994                6402      4.71%  120228  88.41%  4.66%                   1.45%      0.74%      6.86%  92.13%
   054        176410    -7.78%   132248                4100      3.10%   95114  71.92%  3.35%                  11.02%      0.79%     15.16%  83.25%
   055        199509     4.30%   149542             104737     70.04%    26486  17.71% 72.06%                   3.70%      1.73%     77.50%  21.77%
   056        189065    -1.16%   146889               23796    16.20%    90510  61.62% 17.68%                   5.90%      6.17%     29.75%  69.41%
Total
2020
Pop.       10,711,908      47.75% 8,220,274        2,607,986       31.73% 4,342,333        52.82%

Majority Districts                                                 13                                    15                           17         39

CVAP Source:
* 2015-19 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)

Source for disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
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                                                           Population Summary Report
                                              Georgia State Senate -2011 Plan
                                                                                                                                       2006-2010
                      % 2020                    18+ AP    % 18+ AP        18+_NH % 18+ NH 2006-2010 2006-2010             2006-2010     B+L+A
District   2020 Pop. Deviation 18+ Pop           Black      Black          White    White   BCVAP*    LCVAP*                ACVAP*      CVAP*
   001        171350    -0.95%   127614             27080     21.2%          89831   70.39%  20.07%     3.90%                 2.00%       25.97%
   002        172067    -0.54%   132543             67520     50.9%          54497   41.12%  53.36%     2.44%                 1.13%       56.93%
   003        171952    -0.60%   129192             28650     22.2%          92672   71.73%  22.46%     2.43%                 0.74%       25.63%
   004        173075     0.05%   131149             30922     23.6%          92265   70.35%  23.57%     1.64%                 0.62%       25.83%
   005        172323    -0.39%   119823             34545     28.8%          27743   23.15%  37.43%    12.69%                 9.70%       59.82%
   006        173708     0.41%   137161             31939     23.3%          81413   59.36%  21.15%     3.24%                 2.60%       26.99%
   007        171777    -0.70%   128025             27351     21.4%          92252   72.06%  22.07%     2.05%                 0.06%       24.18%
   008        171383    -0.93%   128253             40672     31.7%          79220   61.77%  31.99%     1.87%                 0.67%       34.53%
   009        173867     0.50%   125254             23495     18.8%          79744   63.67%  15.89%     3.88%                 6.64%       26.41%
   010        172386    -0.35%   125304             85998     68.6%          31542   25.17%  67.49%     2.23%                 2.05%       71.77%
   011        172584    -0.24%   127856             40299     31.5%          77812   60.86%  33.06%     1.98%                 0.29%       35.33%
   012        172926    -0.04%   130407             77155     59.2%          47349   36.31%  59.83%     1.10%                 0.36%       61.29%
   013        171365    -0.94%   128659             41020     31.9%          80830   62.82%  32.27%     1.88%                 0.44%       34.59%
   014        173151     0.09%   126557             11068      8.8%         100580   79.47%   8.76%     3.51%                 1.03%       13.30%
   015        173280     0.17%   128462             70423     54.8%          49110   38.23%  52.78%     3.55%                 0.80%       57.13%
   016        172012    -0.57%   127450             25984     20.4%          93645   73.48%  19.93%     1.99%                 0.92%       22.84%
   017        171822    -0.68%   121373             34410     28.4%          79927   65.85%  24.92%     2.66%                 1.07%       28.65%
   018        172982    -0.01%   132567             36115     27.2%          89587   67.58%  27.40%     1.65%                 0.79%       29.84%
   019        173261     0.15%   128915             33989     26.4%          83563   64.82%  27.37%     3.49%                 0.33%       31.19%
   020        173859     0.50%   128979             35884     27.8%          84987   65.89%  27.68%     2.00%                 1.32%       31.00%
   021        174508     0.88%   125212              8210      6.6%         101929   81.41%   5.89%     3.15%                 2.14%       11.18%
   022        171645    -0.78%   129039             72997     56.6%          48103   37.28%  55.66%     3.10%                 1.26%       60.02%
   023        172187    -0.47%   128540             44335     34.5%          78094   60.75%  34.57%     1.03%                 0.65%       36.25%
   024        171967    -0.59%   128655             24888     19.3%          95312   74.08%  19.50%     2.09%                 1.85%       23.44%
   025        174016     0.59%   134483             38660     28.8%          89944   66.88%  29.18%     1.35%                 0.51%       31.04%
   026        171351    -0.95%   126588             73408     58.0%          48667   38.45%  57.89%     1.11%                 0.58%       59.58%
   027        172726    -0.15%   120121              3275      2.7%          98446   81.96%   2.12%     3.37%                 2.78%        8.27%
   028        172358    -0.37%   126140             20552     16.3%          96736   76.69%  16.18%     2.45%                 0.73%       19.36%
   029        173911     0.53%   131011             33128     25.3%          89031   67.96%  26.03%     2.47%                 1.41%       29.91%
   030        172531    -0.27%   125663             23975     19.1%          93513   74.42%  18.06%     2.19%                 0.56%       20.81%
   031        174298     0.75%   124828             16310     13.1%         100359   80.40%  11.74%     2.53%                 0.61%       14.88%
   032        174271     0.74%   130854             11333      8.7%         102432   78.28%   8.75%     2.90%                 4.29%       15.94%
   033        174114     0.65%   128718             44801     34.8%          59010   45.84%  36.47%     5.14%                 1.63%       43.24%
   034        173063     0.04%   123516             76640     62.1%          26225   21.23%  64.69%     4.28%                 3.71%       72.68%
   035        173728     0.42%   122650             73781     60.2%          39009   31.81%  58.56%     2.88%                 1.01%       62.45%
   036        172083    -0.53%   137631             80111     58.2%          45549   33.10%  58.93%     2.84%                 2.36%       64.13%
   037        172832    -0.09%   126053             21408     17.0%          90383   71.70%  14.74%     3.86%                 3.06%       21.66%
   038        174530     0.89%   129186             81845     63.4%          33635   26.04%  68.01%     2.82%                 1.36%       72.19%
   039        173809     0.47%   139465             85119     61.0%          40407   28.97%  62.14%     2.33%                 1.89%       66.36%
   040        173539     0.32%   133946             21492     16.1%          74299   55.47%  16.17%     4.92%                 6.06%       27.15%
   041        173452     0.26%   127577             65580     51.4%          34734   27.23%  55.70%     4.08%                 5.28%       65.06%
   042        172447    -0.32%   138757             34664     25.0%          76721   55.29%  26.54%     3.61%                 3.44%       33.59%
   043        172105    -0.51%   123175             73005     59.3%          41279   33.51%  55.95%     2.19%                 1.05%       59.19%
   044        174464     0.85%   127853             89344     69.9%          24598   19.24%  71.85%     3.07%                 2.30%       77.22%
   045        173558     0.33%   120526             16593     13.8%          77283   64.12%  13.44%     5.74%                 6.32%       25.50%
   046        174230     0.71%   135912             22408     16.5%         102352   75.31%  16.77%     1.86%                 1.95%       20.58%
   047        174417     0.82%   129264             18606     14.4%          96620   74.75%  14.27%     3.16%                 1.60%       19.03%
   048        171430    -0.90%   122914             18406     15.0%          60176   48.96%  16.51%     4.70%                14.45%       35.66%
   049        173823     0.48%   125571              9465      7.5%          87303   69.52%   8.32%     6.14%                 1.36%       15.82%
   050        171792    -0.69%   131117              7216      5.5%         113429   86.51%   5.27%     1.85%                 0.73%        7.85%
   051        173593     0.35%   136858              1276      0.9%         128844   94.14%   0.80%     1.41%                 0.23%        2.44%
   052        172494    -0.29%   128253             14304     11.2%         100866   78.65%  10.80%     2.49%                 0.77%       14.06%
   053        173151     0.09%   132044              5802      4.4%         121629   92.11%   4.32%     1.21%                 0.43%        5.96%
   054        173417     0.24%   125379              3627      2.9%          97436   77.71%   3.20%     6.52%                 0.47%       10.19%
   055        174196     0.69%   123203             79583     64.6%          33740   27.39%  63.88%     2.40%                 1.91%       68.19%
  056        174,487     0.86%  129,856             20123     15.5%          85,852  66.11%     0.14    3.46%                 3.47%       20.93%


CVAP Source:
* 2006-10 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)
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                                              Population Summary Report -- 2010 Census
                                              Georgia State Senate -2006 Benchmark Plan
                                                                                                                                       2006-2010
                      % 2010                    18+ AP    % 18+ AP        18+_NH % 18+ NH 2006-2010 2006-2010             2006-2010     B+L+A
District   2010 Pop. Deviation 18+ Pop           Black      Black          White    White   BCVAP*    LCVAP*                ACVAP*      CVAP*
   001        184711     6.77%   138727             28211    20.34%          99045   71.40%  19.04%     3.71%                 1.92%       24.67%
   002        145784   -15.73%   112658             61726    54.79%          42284   37.53%  57.54%     2.07%                 1.03%       60.64%
   003        175054     1.19%   131558             28706    21.82%          94902   72.14%  22.04%     2.40%                 0.73%       25.17%
   004        182797     5.67%   138452             33267    24.03%          97083   70.12%  24.09%     1.57%                 0.58%       26.24%
   005        165465    -4.35%   116283             33067    28.44%          21463   18.46%  40.07%    13.89%                10.37%       64.33%
   006        166643    -3.67%   126854             47911    37.77%          54761   43.17%  39.41%     4.53%                 2.56%       46.50%
   007        162770    -5.91%   120774             24525    20.31%          87389   72.36%  21.43%     2.19%                 0.14%       23.76%
   008        165743    -4.19%   124564             44682    35.87%          72509   58.21%  35.97%     1.94%                 0.68%       38.59%
   009        203621    17.70%   145121             38197    26.32%          75722   52.18%  23.89%     5.40%                 6.37%       35.66%
   010        173450     0.26%   127296             85751    67.36%          35990   28.27%  66.52%     1.92%                 0.92%       69.36%
   011        149726   -13.45%   110742             32490    29.34%          69166   62.46%  30.87%     2.01%                 0.24%       33.12%
   012        141413   -18.26%   106402             64913    61.01%          38212   35.91%  60.86%     1.04%                 0.31%       62.21%
   013        150866   -12.79%   111625             31860    28.54%          73782   66.10%  28.86%     1.67%                 0.45%       30.98%
   014        158067    -8.63%   121156             52475    43.31%          61431   50.70%  44.67%     1.42%                 0.40%       46.49%
   015        133879   -22.61%    98798             54594    55.26%          36113   36.55%  52.77%     4.36%                 1.03%       58.16%
   016        165379    -4.40%   122416             27345    22.34%          87358   71.36%  22.30%     2.11%                 0.96%       25.37%
   017        238272    37.73%   169706             48961    28.85%         111309   65.59%  25.89%     2.34%                 1.09%       29.32%
   018        181223     4.76%   135340             30636    22.64%          95435   70.51%  22.18%     2.17%                 1.19%       25.54%
   019        161882    -6.42%   118661             32286    27.21%          75769   63.85%  28.34%     3.90%                 0.55%       32.79%
   020        176026     1.75%   134154             40285    30.03%          87131   64.95%  30.48%     1.52%                 0.89%       32.89%
   021        171113    -1.09%   125264              8607     6.87%         102102   81.51%   6.68%     3.51%                 2.19%       12.38%
   022        138542   -19.92%   103278             62421    60.44%          35770   34.63%  59.52%     2.77%                 1.07%       63.36%
   023        153242   -11.42%   115804             46613    40.25%          62952   54.36%  39.61%     1.57%                 0.74%       41.92%
   024        182334     5.40%   134569             28263    21.00%          96242   71.52%  21.01%     2.35%                 2.09%       25.45%
   025        160177    -7.41%   125124             42949    34.33%          77377   61.84%  35.94%     1.21%                 0.39%       37.54%
   026        135905   -21.44%    99895             59270    59.33%          36366   36.40%  58.03%     1.45%                 0.79%       60.27%
   027        264822    53.08%   186205              6478     3.48%         154737   83.10%   2.82%     3.59%                 2.09%        8.50%
   028        191899    10.93%   140568             21340    15.18%         109867   78.16%  15.31%     2.26%                 0.67%       18.24%
   029        173136     0.08%   130030             33994    26.14%          87586   67.36%  26.29%     2.42%                 1.31%       30.02%
   030        212492    22.83%   153122             35660    23.29%         106598   69.62%  21.82%     2.75%                 0.82%       25.39%
   031        204694    18.32%   148103             17314    11.69%         119626   80.77%  10.37%     2.36%                 0.55%       13.28%
   032        151598   -12.37%   116859             11522     9.86%          88178   75.46%   8.99%     2.88%                 3.97%       15.84%
   033        158587    -8.33%   116259             42842    36.85%          51012   43.88%  38.30%     5.26%                 1.53%       45.09%
   034        160881    -7.00%   115085             75542    65.64%          27419   23.82%  65.89%     3.20%                 2.29%       71.38%
   035        214483    23.98%   152659           110519     72.40%          31056   20.34%  72.82%     2.21%                 0.87%       75.90%
   036        145158   -16.09%   117776             60646    51.49%          45548   38.67%  51.99%     2.57%                 2.41%       56.97%
   037        192546    11.30%   140657             23916    17.00%         100422   71.39%  15.00%     3.75%                 3.05%       21.80%
   038        145163   -16.09%   108443             63546    58.60%          36308   33.48%  61.94%     1.27%                 0.83%       64.04%
   039        146037   -15.58%   122766             60282    49.10%          48988   39.90%  50.12%     3.27%                 2.75%       56.14%
   040        153070   -11.52%   119014             15664    13.16%          69656   58.53%  12.70%     4.00%                 6.52%       23.22%
   041        150651   -12.92%   112808             41216    36.54%          46499   41.22%  38.29%     4.15%                 6.40%       48.84%
   042        147006   -15.02%   118734             33805    28.47%          64015   53.91%  31.12%     3.20%                 3.15%       37.47%
   043        177093     2.37%   127999             95437    74.56%          25236   19.72%  73.24%     1.56%                 0.83%       75.63%
   044        170216    -1.61%   122115             67541    55.31%          29482   24.14%  57.21%     5.31%                 5.21%       67.73%
   045        256939    48.52%   178613             27938    15.64%         112602   63.04%  14.98%     5.30%                 6.28%       26.56%
   046        181993     5.20%   141820             27119    19.12%         100341   70.75%  20.14%     2.21%                 1.92%       24.27%
   047        193917    12.09%   143996             17787    12.35%         114361   79.42%  11.59%     2.34%                 1.44%       15.37%
   048        198933    14.99%   141413             17034    12.05%          81921   57.93%  13.00%     3.98%                11.47%       28.45%
   049        190699    10.23%   137589             10015     7.28%          96620   70.22%   7.91%     6.34%                 1.34%       15.59%
   050        164656    -4.82%   127509              8870     6.96%         110345   86.54%   7.06%     1.44%                 0.59%        9.09%
   051        190842    10.32%   149612              1387     0.93%         140803   94.11%   0.76%     1.39%                 0.23%        2.38%
   052        168885    -2.38%   125503             12854    10.24%         100230   79.86%  10.45%     2.42%                 0.85%       13.72%
   053        164710    -4.79%   125890              5810     4.62%         115710   91.91%   4.47%     1.11%                 0.39%        5.97%
   054        173407     0.24%   125160              3705     2.96%          97125   77.60%   3.28%     6.62%                 0.53%       10.43%
   055        158179    -8.56%   113993             81541    71.53%          22515   19.75%   71.4%     2.27%                 2.21%       75.91%
  056        160,877    -7.00%  120,580             19454    16.13%          80,045  66.38%  14.04%     3.40%                 3.23%       20.67%


CVAP Source:
* 2006-10 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)
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                    EXHIBIT K
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                    EXHIBIT L
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       User: State
 Plan Name: Senate-prop1-2021
  Plan Type: Senate

Population Summary

Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,012.61
Relative Mean Deviation:            0.53%
Standard Deviation:                 1,154.96

District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                                 Origin]                                                  Races]
001                       191,402          118        0.06%       145,428     75.98%      58.9%       23.66%        8.78%     2.64%      0.25%       0.3%      0.48%         4.99%
002                       190,408          -876       -0.46%      150,843     79.22%      36.4%       47.51%        8.36%       3.4%     0.21%      0.15%      0.46%         3.49%
003                       191,212           -72       -0.04%      148,915     77.88%     66.23%       20.92%        6.82%     1.22%      0.26%      0.09%      0.42%         4.04%
004                       191,098          -186       -0.10%      146,443     76.63%     64.48%        22.6%        6.49%     1.86%      0.23%      0.07%      0.38%          3.9%
005                       191,921          637        0.33%       139,394     72.63%     13.35%       26.84%       45.47%    10.98%      0.15%      0.04%      0.64%         2.52%
006                       191,401          117        0.06%       155,781     81.39%     56.41%       21.47%        9.18%     7.21%      0.16%      0.03%      1.11%         4.42%
007                       189,709     -1,575          -0.82%      147,425     77.71%     35.09%       20.08%       18.57%    21.67%      0.16%      0.04%      0.66%         3.72%
008                       192,396      1,112          0.58%       145,144     75.44%     57.39%       30.03%        7.28%     1.21%      0.28%      0.07%      0.35%          3.4%
009                       192,915      1,631          0.85%       142,054     73.64%     32.04%       28.46%       21.09%    13.98%      0.18%      0.03%      0.72%         3.48%
010                       192,898      1,614          0.84%       147,884     76.66%     17.71%       68.95%        6.03%       3.1%     0.18%      0.03%      0.66%         3.34%
011                       189,976     -1,308          -0.68%      144,597     76.11%     55.75%       31.13%        9.36%     0.69%      0.23%      0.03%      0.26%         2.54%
012                       190,819          -465       -0.24%      149,154     78.17%     33.83%       58.82%        3.89%     0.86%      0.16%      0.02%      0.21%          2.2%
013                       189,326     -1,958          -1.02%      144,141     76.13%     61.25%       27.08%         7.2%       1.2%     0.17%      0.02%      0.26%         2.81%
014                       192,533      1,249          0.65%       155,340     80.68%     54.63%       16.79%       13.97%     9.46%      0.13%      0.04%      0.79%         4.19%
015                       189,446     -1,838          -0.96%      144,506     76.28%     34.07%       52.31%        7.57%     1.31%      0.23%      0.27%      0.44%         3.79%
016                       191,829          545        0.28%       147,133      76.7%     64.19%       22.31%        5.95%     3.04%      0.17%      0.03%      0.51%         3.79%
017                       192,510      1,226          0.64%       144,472     75.05%     56.69%       31.21%        6.08%     1.41%      0.16%      0.05%      0.59%         3.81%
018                       191,825          541        0.28%       150,196      78.3%     58.41%       30.01%        5.18%     2.42%      0.22%      0.03%       0.4%         3.33%
019                       192,316      1,032          0.54%       146,131     75.98%     61.67%       24.76%        9.72%     0.58%      0.17%      0.06%      0.27%         2.77%
020                       192,588      1,304          0.68%       147,033     76.35%     59.74%       30.65%        4.21%     1.73%      0.15%      0.05%      0.31%         3.16%
021                       192,572      1,288          0.67%       145,120     75.36%     71.13%        6.52%       10.13%     7.38%      0.19%      0.04%      0.53%         4.08%
022                       193,163      1,879          0.98%       150,450     77.89%      31.1%       56.58%        5.63%     1.97%      0.24%      0.18%      0.44%         3.86%
023                       190,344          -940       -0.49%      144,113     75.71%     54.27%       34.66%        5.46%     1.16%      0.24%       0.1%      0.34%         3.78%
024                       192,674      1,390          0.73%       148,602     77.13%     67.45%       18.98%         5.4%     3.31%      0.18%      0.09%      0.43%         4.15%
025                       191,161          -123       -0.06%      148,917      77.9%     57.45%        33.4%        4.27%     1.08%      0.16%      0.05%      0.43%         3.16%
026                       189,945     -1,339          -0.70%      145,744     76.73%     33.26%       57.37%        4.85%     0.83%      0.21%      0.04%      0.31%         3.14%
027                       190,676          -608       -0.32%      139,196       73%         68%        4.31%       11.61%    11.41%      0.18%      0.04%      0.52%         3.94%
028                       190,422          -862       -0.45%      144,973     76.13%     67.06%       18.79%         7.4%     1.96%      0.22%      0.04%      0.48%         4.06%
029                       189,424     -1,860          -0.97%      145,674      76.9%     60.71%       26.22%        5.34%     3.02%      0.23%       0.1%      0.42%         3.97%


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Population Summary                                                                                                                                  Senate-prop1-2021



District      Population Deviation    % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                   Origin]                                                  Races]
030                191,475     191      0.10%       145,077     75.77%     66.97%       19.83%        7.27%     0.95%      0.23%      0.03%      0.49%          4.24%
031                192,560    1,276     0.67%       142,251     73.87%      65.2%       19.83%        8.85%     1.07%      0.23%      0.06%      0.58%          4.19%
032                192,448    1,164     0.61%       149,879     77.88%     63.13%       13.22%       12.09%     5.49%       0.2%      0.04%      0.91%          4.91%
033                192,694    1,410     0.74%       146,415     75.98%        26%       40.48%       26.72%     2.13%      0.19%      0.05%      0.86%          3.56%
034                190,668    -616      -0.32%      141,840     74.39%     11.11%        66.6%       14.82%       3.9%     0.23%      0.04%       0.6%           2.7%
035                192,839    1,555     0.81%       144,675     75.02%     16.46%       69.77%        8.68%     1.13%      0.17%      0.06%      0.64%          3.08%
036                192,282     998      0.52%       161,385     83.93%      33.1%       51.35%        7.56%     3.58%      0.17%      0.04%      0.53%          3.68%
037                192,671    1,387     0.73%       147,779      76.7%     62.38%       18.04%        9.99%     3.85%      0.16%      0.03%      0.78%          4.76%
038                193,155    1,871     0.98%       148,367     76.81%     20.03%       62.74%        9.72%     3.42%      0.18%      0.04%      0.58%          3.29%
039                191,500     216      0.11%       156,022     81.47%     25.32%       60.33%         6.1%     4.25%      0.16%      0.04%      0.57%          3.22%
040                190,544    -740      -0.39%      147,000     77.15%     43.69%       16.42%       24.81%    10.84%      0.12%      0.04%      0.65%          3.43%
041                191,023    -261      -0.14%      145,278     76.05%     18.86%       60.28%        7.32%     9.19%      0.22%      0.02%      0.64%          3.48%
042                190,940    -344      -0.18%      153,952     80.63%     49.91%       28.14%       10.13%     6.81%      0.13%      0.03%      0.61%          4.24%
043                192,729    1,445     0.76%       145,741     75.62%     23.45%       62.77%        8.13%     1.24%      0.17%      0.09%      0.67%          3.49%
044                190,036   -1,248     -0.65%      145,224     76.42%     13.02%       69.13%        9.96%     4.15%      0.16%      0.04%      0.62%          2.91%
045                190,692    -592      -0.31%      140,706     73.79%     52.74%       17.12%       14.66%    10.69%      0.13%      0.03%      0.62%          4.01%
046                190,312    -972      -0.51%      146,713     77.09%     67.24%       16.64%        7.99%     3.77%       0.2%      0.03%      0.58%          3.56%
047                190,607    -677      -0.35%      146,599     76.91%     64.67%       16.96%       11.22%     2.66%      0.16%      0.04%      0.58%          3.71%
048                190,123   -1,161     -0.61%      136,995     72.06%     49.01%        8.35%        7.58%    30.59%      0.13%      0.04%      0.55%          3.75%
049                189,355   -1,929     -1.01%      144,123     76.11%     60.85%        7.13%       26.24%     2.15%      0.15%      0.04%      0.35%          3.08%
050                189,320   -1,964     -1.03%      148,799      78.6%     78.61%        5.05%       11.08%     1.22%      0.22%      0.04%      0.26%          3.52%
051                190,167   -1,117     -0.58%      155,571     81.81%     88.75%        0.84%        5.43%     0.59%      0.31%      0.02%       0.3%          3.77%
052                190,799    -485      -0.25%      146,620     76.85%      71.8%       12.39%       10.11%     1.08%      0.21%      0.03%      0.35%          4.02%
053                190,236   -1,048     -0.55%      148,201      77.9%     85.78%        4.46%        3.98%        1%      0.24%      0.06%       0.3%          4.18%
054                192,443    1,159     0.61%       143,843     74.75%     65.71%        2.97%       26.66%     1.14%      0.19%      0.02%      0.25%          3.07%
055                190,155   -1,129     -0.59%      141,968     74.66%     18.09%       62.96%       10.14%     4.19%      0.17%      0.04%      0.73%          3.67%
056                191,226     -58      -0.03%      144,448     75.54%      73.9%        6.36%        8.63%     5.67%      0.11%      0.03%      0.75%          4.56%

Total:          10,711,908
Ideal District:    191,284




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       User: State
 Plan Name: Senate-prop1-2021
  Plan Type: Senate

Population Summary

Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,012.61
Relative Mean Deviation:            0.53%
Standard Deviation:                 1,154.96

District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop]          [%         [%             [%        [%          [%        [%        [%           [%
                                                                                       NH18+_Wht] NH18+_Blk]     H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                                          ]                 Races]
001                       191,402          118        0.06%       145,428     75.98%        61.99%      22.8%         7.55%     2.81%      0.28%      0.27%       0.4%          3.9%
002                       190,408          -876       -0.46%      150,843     79.22%        40.21%     44.81%         7.48%     3.77%      0.22%      0.15%      0.42%         2.95%
003                       191,212           -72       -0.04%      148,915     77.88%        68.88%     19.81%         6.17%     1.27%      0.27%      0.08%      0.34%         3.19%
004                       191,098          -186       -0.10%      146,443     76.63%        66.78%     21.98%         5.52%      1.9%      0.24%      0.07%      0.33%         3.17%
005                       191,921          637        0.33%       139,394     72.63%        15.69%     27.21%        41.67%    12.41%      0.14%      0.04%      0.55%         2.28%
006                       191,401          117        0.06%       155,781     81.39%        57.79%     21.79%         8.24%     7.14%      0.16%      0.03%      1.05%          3.8%
007                       189,709     -1,575          -0.82%      147,425     77.71%        37.84%     19.33%        16.56%    22.58%      0.16%      0.05%      0.55%         2.93%
008                       192,396      1,112          0.58%       145,144     75.44%         60.1%     29.02%         6.21%     1.27%      0.29%      0.08%      0.27%         2.75%
009                       192,915      1,631          0.85%       142,054     73.64%        35.81%     27.23%        18.77%    14.59%      0.18%      0.04%      0.59%          2.8%
010                       192,898      1,614          0.84%       147,884     76.66%        19.64%     68.31%         5.18%     3.15%      0.18%      0.04%      0.61%         2.89%
011                       189,976     -1,308          -0.68%      144,597     76.11%        58.97%     30.08%          7.6%     0.72%      0.26%      0.02%      0.22%         2.13%
012                       190,819          -465       -0.24%      149,154     78.17%        36.71%     56.63%         3.48%     0.92%      0.18%      0.02%      0.18%         1.88%
013                       189,326     -1,958          -1.02%      144,141     76.13%         64.1%     26.01%         6.01%     1.21%      0.17%      0.02%      0.21%         2.26%
014                       192,533      1,249          0.65%       155,340     80.68%         57.1%     16.83%        12.13%     9.43%      0.12%      0.05%      0.74%         3.61%
015                       189,446     -1,838          -0.96%      144,506     76.28%        36.52%     51.56%         6.59%     1.45%      0.23%      0.25%      0.36%         3.04%
016                       191,829          545        0.28%       147,133      76.7%        66.91%     21.49%         5.03%     2.92%      0.18%      0.03%      0.42%         3.01%
017                       192,510      1,226          0.64%       144,472     75.05%        59.42%     30.21%         5.13%     1.41%      0.17%      0.03%      0.49%         3.14%
018                       191,825          541        0.28%       150,196      78.3%        60.69%      29.2%         4.51%     2.46%      0.22%      0.03%      0.29%          2.6%
019                       192,316      1,032          0.54%       146,131     75.98%        63.99%     24.52%         8.38%     0.62%      0.18%      0.06%       0.2%         2.06%
020                       192,588      1,304          0.68%       147,033     76.35%        61.71%     30.17%         3.49%     1.76%      0.16%      0.05%      0.25%         2.41%
021                       192,572      1,288          0.67%       145,120     75.36%        73.87%      6.37%         8.77%     6.98%      0.18%      0.04%      0.48%         3.32%
022                       193,163      1,879          0.98%       150,450     77.89%        34.38%     53.94%         5.35%      2.3%      0.24%      0.18%      0.38%         3.24%
023                       190,344          -940       -0.49%      144,113     75.71%        56.89%     33.91%         4.52%     1.24%      0.25%      0.09%      0.27%         2.84%
024                       192,674      1,390          0.73%       148,602     77.13%        69.81%     18.69%          4.4%     3.27%       0.2%      0.07%      0.35%          3.2%
025                       191,161          -123       -0.06%      148,917      77.9%        59.94%     32.23%         3.66%     1.09%      0.18%      0.04%      0.39%         2.48%
026                       189,945     -1,339          -0.70%      145,744     76.73%         36.6%     55.18%         4.24%     0.92%      0.22%      0.03%      0.24%         2.56%
027                       190,676          -608       -0.32%      139,196       73%          71.5%      4.16%         10.2%    10.27%      0.15%      0.04%      0.45%         3.22%
028                       190,422          -862       -0.45%      144,973     76.13%        69.44%     18.18%         6.44%     1.99%      0.23%      0.04%      0.38%         3.29%


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Population Summary                                                                                                                                   Senate-prop1-2021



District      Population Deviation    % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%             [%        [%          [%        [%        [%           [%
                                                                         NH18+_Wht] NH18+_Blk]     H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                            ]                 Races]
029                189,424   -1,860     -0.97%      145,674      76.9%        63.22%     25.52%         4.45%       3%       0.23%      0.11%      0.33%         3.13%
030                191,475     191      0.10%       145,077     75.77%        69.41%     19.44%          6.1%     0.97%      0.24%      0.03%      0.41%          3.4%
031                192,560    1,276     0.67%       142,251     73.87%        68.26%     19.13%         7.42%     1.12%      0.22%      0.06%      0.46%         3.33%
032                192,448    1,164     0.61%       149,879     77.88%        65.78%     13.13%        10.55%     5.42%       0.2%      0.04%      0.83%         4.05%
033                192,694    1,410     0.74%       146,415     75.98%        30.25%     40.26%        22.93%     2.35%      0.22%      0.05%      0.81%         3.14%
034                190,668    -616      -0.32%      141,840     74.39%        13.36%      66.5%        12.75%     4.26%      0.22%      0.04%      0.56%         2.31%
035                192,839    1,555     0.81%       144,675     75.02%        18.82%     68.87%         7.51%     1.26%      0.18%      0.06%      0.59%          2.7%
036                192,282     998      0.52%       161,385     83.93%        36.18%     48.68%         7.06%     4.01%      0.17%      0.04%      0.51%         3.34%
037                192,671    1,387     0.73%       147,779      76.7%        65.37%     17.41%         8.69%     3.94%      0.17%      0.04%      0.67%         3.73%
038                193,155    1,871     0.98%       148,367     76.81%        21.87%     62.45%         8.44%     3.55%      0.18%      0.04%      0.56%         2.92%
039                191,500     216      0.11%       156,022     81.47%        27.87%     57.97%         5.65%     4.83%      0.15%      0.04%       0.5%         2.98%
040                190,544    -740      -0.39%      147,000     77.15%        46.34%     17.32%        21.62%    11.15%      0.11%      0.04%      0.59%         2.84%
041                191,023    -261      -0.14%      145,278     76.05%        21.39%     59.67%         6.68%     8.42%      0.22%      0.02%       0.6%         3.01%
042                190,940    -344      -0.18%      153,952     80.63%        51.39%     28.73%         8.64%     7.16%      0.12%      0.03%      0.53%          3.4%
043                192,729    1,445     0.76%       145,741     75.62%        26.53%     61.35%         6.89%     1.34%      0.17%      0.08%       0.6%         3.05%
044                190,036   -1,248     -0.65%      145,224     76.42%        15.29%     68.39%          8.6%     4.37%      0.17%      0.04%      0.56%         2.58%
045                190,692    -592      -0.31%      140,706     73.79%        55.47%     16.86%        13.05%    10.89%      0.13%      0.03%       0.5%         3.07%
046                190,312    -972      -0.51%      146,713     77.09%         69.9%     15.64%         6.99%     3.85%      0.22%      0.02%       0.5%         2.89%
047                190,607    -677      -0.35%      146,599     76.91%        67.46%     16.34%         9.57%     2.79%      0.17%      0.04%       0.5%         3.13%
048                190,123   -1,161     -0.61%      136,995     72.06%        52.25%      8.26%           7%     29.05%      0.11%      0.04%      0.47%         2.83%
049                189,355   -1,929     -1.01%      144,123     76.11%        65.64%      7.12%         21.9%     2.22%      0.16%      0.04%      0.29%         2.63%
050                189,320   -1,964     -1.03%      148,799      78.6%        81.54%      5.03%         8.78%     1.24%      0.24%      0.03%      0.24%         2.91%
051                190,167   -1,117     -0.58%      155,571     81.81%        90.24%      0.84%         4.34%     0.61%      0.33%      0.02%      0.27%         3.34%
052                190,799    -485      -0.25%      146,620     76.85%        74.74%     12.08%         8.24%     1.13%      0.22%      0.02%      0.29%         3.27%
053                190,236   -1,048     -0.55%      148,201      77.9%        87.31%      4.49%         3.23%     0.99%      0.26%      0.06%      0.22%         3.44%
054                192,443    1,159     0.61%       143,843     74.75%        69.98%      3.07%        22.64%     1.15%      0.22%      0.02%      0.21%         2.71%
055                190,155   -1,129     -0.59%      141,968     74.66%        20.56%     62.42%         8.71%     4.24%      0.18%      0.04%      0.67%         3.18%
056                191,226     -58      -0.03%      144,448     75.54%        76.17%      6.37%         7.66%     5.51%      0.12%      0.03%      0.63%         3.51%

Total:          10,711,908
Ideal District:    191,284




                                                                                                                                                             Page 2 of 2
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                                                         Population Summary Report
                                             Georgia State Senate -- Enacted 2021 Plan
                                                                                          2016-20         2016-2020 2016-20 NH 2016-20 2016-20 NH
                        % 2020                18+ AP     % 18+ AP    18+_NH      % 18+ NH   NH    2016-20    NH       B+L+NH   NH White DOJ Black
District 2020 Pop.     Deviation   18+ Pop     Black       Black      White       White   BCVAP* LCVAP* ACVAP*        ACVAP     CVAP*    CVAP**

 001        191402         0.06%    145428       36468     25.08%       90,150     61.99%    23.33%    6.89%       2.42%        32.64%     64.57%    24.20%
 002        190408        -0.46%    150843       70688     46.86%       60,650     40.21%    51.98%    4.28%       1.22%        57.48%     40.53%    52.70%
 003        191212        -0.04%    148915       31545     21.18%      102,574     68.88%    22.52%    3.12%       1.07%        26.72%     71.66%    22.75%
 004        191098        -0.10%    146443       34217     23.37%       97,792     66.78%    23.16%    2.54%       0.68%        26.37%     71.64%    23.77%
 005        191921         0.33%    139394       41736     29.94%       21,872     15.69%    36.89%   22.01%      12.24%        71.15%     26.51%    37.40%
 006        191401         0.06%    155781       37231     23.90%       90,024     57.79%    21.84%    4.81%       4.33%        30.99%     66.49%    22.68%
 007        189709        -0.82%    147425       31601     21.44%       55,780     37.84%    23.36%    9.48%      16.21%        49.05%     48.59%    23.99%
 008        192396         0.58%    145144       44098     30.38%       87,232     60.10%    29.62%    4.62%       0.63%        34.86%     63.30%    29.87%
 009        192915         0.85%    142054       41948     29.53%       50,868     35.81%    31.45%   10.16%      11.19%        52.80%     45.04%    32.25%
 010        192898         0.84%    147884      105671     71.46%       29,039     19.64%    68.16%    3.62%       2.41%        74.20%     23.73%    69.24%
 011        189976        -0.68%    144597       44887     31.04%       85,275     58.97%    32.29%    3.60%       0.53%        36.42%     62.50%    32.39%
 012        190819        -0.24%    149154       86465     57.97%       54,752     36.71%    58.80%    1.58%       0.51%        60.89%     37.77%    59.26%
 013        189326        -1.02%    144141       38871     26.97%       92,398     64.10%    27.47%    3.43%       0.73%        31.63%     67.31%    27.69%
 014        192533         0.65%    155340       29470     18.97%       88,706     57.10%    18.74%    6.79%       5.99%        31.52%     66.36%    19.52%
 015        189446        -0.96%    144506       78040     54.00%       52,771     36.52%    53.80%    4.84%       1.13%        59.76%     38.23%    54.34%
 016        191829         0.28%    147133       33393     22.70%       98,454     66.91%    22.16%    3.53%       1.79%        27.47%     70.81%    22.47%
 017        192510         0.64%    144472       46245     32.01%       85,846     59.42%    27.94%    2.99%       1.32%        32.24%     65.68%    28.78%
 018        191825         0.28%    150196       45662     30.40%       91,155     60.69%    30.81%    2.85%       1.27%        34.92%     63.48%    31.20%
 019        192316         0.54%    146131       37589     25.72%       93,506     63.99%    27.41%    4.96%       0.21%        32.58%     66.23%    27.72%
 020        192588         0.68%    147033       45991     31.28%       90,729     61.71%    31.58%    2.81%       1.38%        35.76%     63.24%    31.72%
 021        192572         0.67%    145120       10823      7.46%      107,202     73.87%     7.97%    4.93%       3.57%        16.46%     82.05%     8.20%
 022        193163         0.98%    150450       85009     56.50%       51,728     34.38%    57.36%    4.04%       1.57%        62.97%     34.90%    57.98%
 023        190344        -0.49%    144113       51133     35.48%       81,988     56.89%    34.69%    3.29%       0.75%        38.74%     59.32%    35.34%
 024        192674         0.73%    148602       29503     19.85%      103,744     69.81%    20.25%    3.23%       2.30%        25.78%     72.65%    20.76%
 025        191161        -0.06%    148917       49860     33.48%       89,256     59.94%    32.17%    2.87%       0.92%        35.96%     62.80%    32.65%
 026        189945        -0.70%    145744       83056     56.99%       53,346     36.60%    55.23%    2.53%       0.72%        58.48%     39.92%    55.85%
 027        190676        -0.32%    139196        6961      5.00%       99,531     71.50%     3.91%    5.70%       4.39%        14.00%     83.77%     4.52%
 028        190422        -0.45%    144973       28282     19.51%      100,664     69.44%    17.83%    4.31%       1.36%        23.51%     74.54%    18.42%
 029        189424        -0.97%    145674       39150     26.88%       92,102     63.22%    26.94%    4.06%       1.61%        32.61%     65.57%    27.18%
 030        191475         0.10%    145077       30346     20.92%      100,699     69.41%    20.86%    2.90%       0.72%        24.49%     73.87%    21.26%
 031        192560         0.67%    142251       29440     20.70%       97,094     68.26%    17.61%    4.90%       0.66%        23.16%     74.68%    18.20%
 032        192448         0.61%    149879       22274     14.86%       98,589     65.78%    13.83%    5.81%       3.85%        23.50%     74.61%    14.28%
 033        192694         0.74%    146415       62897     42.96%       44,286     30.25%    47.21%   10.59%       2.02%        59.82%     37.64%    48.40%
 034        190668        -0.32%    141840       98640     69.54%       18,951     13.36%    73.48%    5.26%       3.10%        81.85%     16.03%    74.46%
 035        192839         0.81%    144675      104019     71.90%       27,234     18.82%    69.29%    4.50%       0.83%        74.62%     24.11%    69.77%
 036        192282         0.52%    161385       82859     51.34%       58,394     36.18%    51.43%    4.15%       3.28%        58.87%     38.63%    52.36%
 037        192671         0.73%    147779       28484     19.27%       96,596     65.37%    17.91%    6.55%       3.39%        27.86%     70.93%    18.12%
 038        193155         0.98%    148367       96886     65.30%       32,445     21.87%    68.07%    4.48%       2.38%        74.93%     23.45%    68.69%
 039        191500         0.11%    156022       94702     60.70%       43,478     27.87%    62.34%    3.27%       2.90%        68.51%     29.51%    62.94%
 040        190544        -0.39%    147000       28277     19.24%       68,121     46.34%    22.44%    8.17%       7.48%        38.09%     60.06%    22.85%
 041        191023        -0.14%    145278       90961     62.61%       31,068     21.39%    66.25%    2.56%       3.99%        72.80%     25.05%    66.98%
 042        190940        -0.18%    153952       47383     30.78%       79,111     51.39%    32.84%    3.94%       4.12%        40.91%     56.42%    33.75%
 043        192729         0.76%    145741       93754     64.33%       38,669     26.53%    61.80%    4.25%       1.28%        67.33%     31.05%    62.18%
 044        190036        -0.65%    145224      103599     71.34%       22,202     15.29%    71.73%    5.54%       3.92%        81.19%     16.46%    72.44%
 045        190692        -0.31%    140706       26149     18.58%       78,049     55.47%    17.86%    8.71%       6.93%        33.49%     65.08%    18.26%
 046        190312        -0.51%    146713       24793     16.90%      102,559     69.90%    17.61%    4.31%       2.48%        24.39%     74.40%    17.88%
 047        190607        -0.35%    146599       25543     17.42%       98,893     67.46%    17.95%    5.40%       1.54%        24.90%     73.43%    18.43%
 048        190123        -0.61%    136995       12968      9.47%       71,575     52.25%     8.08%    5.45%      16.74%        30.28%     68.11%     8.34%
 049        189355        -1.01%    144123       11475      7.96%       94,600     65.64%     8.30%   11.63%       1.69%        21.62%     76.95%     8.69%
 050        189320        -1.03%    148799        8341      5.61%      121,337     81.54%     5.67%    5.05%       0.81%        11.53%     87.00%     5.97%
 051        190167        -0.58%    155571        1876      1.21%      140,394     90.24%     1.11%    2.82%       0.40%         4.33%     92.93%     1.35%
 052        190799        -0.25%    146620       19120     13.04%      109,583     74.74%    12.10%    4.85%       0.69%        17.64%     80.53%    12.89%
 053        190236        -0.55%    148201        7558      5.10%      129,390     87.31%     4.51%    1.91%       0.71%         7.12%     91.33%     4.96%
 054        192443         0.61%    143843        5450      3.79%      100,668     69.98%     3.73%   12.79%       0.64%        17.17%     81.43%     4.14%
 055        190155        -0.59%    141968       93659     65.97%       29,183     20.56%    67.43%    4.64%       2.78%        74.84%     23.29%    67.91%
 056        191226        -0.03%    144448       10940      7.57%       110031     76.17%     6.60%    5.24%       3.84%        15.68%     82.68%     7.18%

Total     10,711,908       2.01% 8,220,274 2,607,986       31.73% 4,342,333        52.82%
Majority Districts                                          14                                 15                               18              37   15

CVAP Source:
* 2016-20 ACS Special Tabulation            https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-block-level-2020/
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (survey midpoint of July 2018)
* Single race NH Black CVAP, Single Race NH Asian CVAP, **NH DOJ Black= SR NH Black CVAP+SR NH Black/White CVAP
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      User:
Plan Name: Ga_SB1EX
 Plan Type: Senate


Plan Components with Population Detail
Friday, November 18, 2022                                                   12:24 PM
                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 001
 County: Bryan GA
           Total:                    44,738       31,321         7,463           3,269
                                                 70.01%        16.68%           7.31%
          Voting Age                 31,828       23,033         5,025           1,919
                                                 72.37%        15.79%           6.03%
 County: Chatham GA
         Total:                      81,408       57,419        13,170           5,755
                                                 70.53%        16.18%           7.07%
          Voting Age                 65,586       48,052         9,743           3,823
                                                 73.27%        14.86%           5.83%
 County: Liberty GA
         Total:                      65,256       24,004        31,146          7,786
                                                 36.78%        47.73%         11.93%
          Voting Age                 48,014       19,065        21,700          5,231
                                                 39.71%        45.20%         10.89%
District 001 Total
           Total:                   191,402      112,744        51,779         16,810
                                                 58.90%        27.05%          8.78%
          Voting Age                145,428       90,150        36,468         10,973
                                                 61.99%        25.08%          7.55%
District 002
 County: Chatham GA
           Total:                   190,408       69,315        95,717         15,917
                                                 36.40%        50.27%          8.36%
          Voting Age                150,843       60,650        70,688         11,281
                                                 40.21%        46.86%          7.48%
District 002 Total
           Total:                   190,408       69,315        95,717         15,917
                                                 36.40%        50.27%          8.36%
          Voting Age                150,843       60,650        70,688         11,281
                                                 40.21%        46.86%          7.48%
District 003
 County: Brantley GA
           Total:                    18,021       16,317           733             326
                                                 90.54%         4.07%           1.81%
          Voting Age                 13,692       12,522           470             212
                                                 91.45%         3.43%           1.55%
 County: Camden GA
         Total:                      54,768       37,203        11,072           3,658
                                                 67.93%        20.22%           6.68%
          Voting Age                 41,808       29,410         7,828           2,457
                                                 70.35%        18.72%           5.88%



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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 003
 County: Charlton GA
           Total:                    12,518        7,532         2,798          2,036
                                                 60.17%        22.35%         16.26%
          Voting Age                 10,135        5,929         2,147          1,971
                                                 58.50%        21.18%         19.45%
 County: Glynn GA
         Total:                      84,499       52,987        22,098           6,336
                                                 62.71%        26.15%           7.50%
          Voting Age                 66,468       44,302        15,620           4,116
                                                 66.65%        23.50%           6.19%
 County: McIntosh GA
         Total:                      10,975        7,060         3,400             231
                                                 64.33%        30.98%           2.10%
          Voting Age                  9,040        5,998         2,641             166
                                                 66.35%        29.21%           1.84%
 County: Ware GA
         Total:                      10,431        5,546         4,137             446
                                                 53.17%        39.66%           4.28%
          Voting Age                  7,772        4,413         2,839             264
                                                 56.78%        36.53%           3.40%
District 003 Total
           Total:                   191,212      126,645        44,238         13,033
                                                 66.23%        23.14%          6.82%
          Voting Age                148,915      102,574        31,545          9,186
                                                 68.88%        21.18%          6.17%
District 004
 County: Bulloch GA
           Total:                    81,099       49,712        24,375           4,180
                                                 61.30%        30.06%           5.15%
          Voting Age                 64,494       41,041        18,220           3,021
                                                 63.64%        28.25%           4.68%
 County: Candler GA
         Total:                      10,981        6,567         2,807          1,378
                                                 59.80%        25.56%         12.55%
          Voting Age                  8,241        5,229         2,009            835
                                                 63.45%        24.38%         10.13%
 County: Chatham GA
         Total:                      23,475       12,699         6,571           2,118
                                                 54.10%        27.99%           9.02%
          Voting Age                 18,286       10,459         4,747           1,447
                                                 57.20%        25.96%           7.91%
 County: Effingham GA
         Total:                      64,769       48,204        10,035           3,492
                                                 74.42%        15.49%           5.39%
          Voting Age                 47,295       36,237         6,831           2,054
                                                 76.62%        14.44%           4.34%




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 004
 County: Evans GA
           Total:                    10,774        6,038         3,273          1,237
                                                 56.04%        30.38%         11.48%
          Voting Age                  8,127        4,826         2,410            731
                                                 59.38%        29.65%          8.99%
District 004 Total
           Total:                   191,098      123,220        47,061         12,405
                                                 64.48%        24.63%          6.49%
          Voting Age                146,443       97,792        34,217          8,088
                                                 66.78%        23.37%          5.52%
District 005
 County: Gwinnett GA
           Total:                   191,921       25,625        57,719         87,276
                                                 13.35%        30.07%         45.47%
          Voting Age                139,394       21,872        41,736         58,087
                                                 15.69%        29.94%         41.67%
District 005 Total
           Total:                   191,921       25,625        57,719         87,276
                                                 13.35%        30.07%         45.47%
          Voting Age                139,394       21,872        41,736         58,087
                                                 15.69%        29.94%         41.67%
District 006
 County: Cobb GA
           Total:                    92,249       47,515        24,074           7,843
                                                 51.51%        26.10%           8.50%
          Voting Age                 75,423       40,514        19,059           5,897
                                                 53.72%        25.27%           7.82%
 County: Fulton GA
         Total:                      99,152       60,447        21,872           9,733
                                                 60.96%        22.06%           9.82%
          Voting Age                 80,358       49,510        18,172           6,939
                                                 61.61%        22.61%           8.64%
District 006 Total
           Total:                   191,401      107,962        45,946         17,576
                                                 56.41%        24.01%          9.18%
          Voting Age                155,781       90,024        37,231         12,836
                                                 57.79%        23.90%          8.24%
District 007
 County: Gwinnett GA
           Total:                   189,709       66,571        43,563         35,227
                                                 35.09%        22.96%         18.57%
          Voting Age                147,425       55,780        31,601         24,417
                                                 37.84%        21.44%         16.56%




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 007
District 007 Total
           Total:                   189,709       66,571        43,563         35,227
                                                 35.09%        22.96%         18.57%
          Voting Age                147,425       55,780        31,601         24,417
                                                 37.84%        21.44%         16.56%
District 008
 County: Atkinson GA
           Total:                     8,286        4,801         1,284          2,048
                                                 57.94%        15.50%         24.72%
          Voting Age                  6,129        3,787           937          1,282
                                                 61.79%        15.29%         20.92%
 County: Clinch GA
         Total:                       6,749        4,256         2,096             253
                                                 63.06%        31.06%           3.75%
          Voting Age                  5,034        3,372         1,406             156
                                                 66.98%        27.93%           3.10%
 County: Echols GA
         Total:                       3,697        2,328           193          1,091
                                                 62.97%         5.22%         29.51%
          Voting Age                  2,709        1,856           121            667
                                                 68.51%         4.47%         24.62%
 County: Lanier GA
         Total:                       9,877        6,595         2,369             572
                                                 66.77%        23.99%           5.79%
          Voting Age                  7,326        5,010         1,683             370
                                                 68.39%        22.97%           5.05%
 County: Lowndes GA
         Total:                     118,251       59,306        46,758           7,872
                                                 50.15%        39.54%           6.66%
          Voting Age                 89,031       47,140        33,302           5,201
                                                 52.95%        37.40%           5.84%
 County: Pierce GA
         Total:                      19,716       16,403         1,801             998
                                                 83.20%         9.13%           5.06%
          Voting Age                 14,899       12,662         1,262             595
                                                 84.99%         8.47%           3.99%
 County: Ware GA
         Total:                      25,820       16,729         7,284           1,166
                                                 64.79%        28.21%           4.52%
          Voting Age                 20,016       13,405         5,387             748
                                                 66.97%        26.91%           3.74%
District 008 Total
           Total:                   192,396      110,418        61,785         14,000
                                                 57.39%        32.11%          7.28%
          Voting Age                145,144       87,232        44,098          9,019
                                                 60.10%        30.38%          6.21%
District 009



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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 009
 County: Gwinnett GA
           Total:                   192,915       61,816        61,009         40,681
                                                 32.04%        31.62%         21.09%
          Voting Age                142,054       50,868        41,948         26,669
                                                 35.81%        29.53%         18.77%
District 009 Total
           Total:                   192,915       61,816        61,009         40,681
                                                 32.04%        31.62%         21.09%
          Voting Age                142,054       50,868        41,948         26,669
                                                 35.81%        29.53%         18.77%
District 010
 County: DeKalb GA
           Total:                    75,906        1,776        72,230           1,895
                                                  2.34%        95.16%           2.50%
          Voting Age                 58,884        1,559        55,941           1,270
                                                  2.65%        95.00%           2.16%
 County: Henry GA
         Total:                     116,992       32,379        68,165           9,737
                                                 27.68%        58.26%           8.32%
          Voting Age                 89,000       27,480        49,730           6,391
                                                 30.88%        55.88%           7.18%
District 010 Total
           Total:                   192,898       34,155       140,395         11,632
                                                 17.71%        72.78%          6.03%
          Voting Age                147,884       29,039       105,671          7,661
                                                 19.64%        71.46%          5.18%
District 011
 County: Brooks GA
           Total:                    16,301        9,066         5,958             955
                                                 55.62%        36.55%           5.86%
          Voting Age                 12,747        7,483         4,357             635
                                                 58.70%        34.18%           4.98%
 County: Colquitt GA
         Total:                      45,898       25,588        10,648          8,709
                                                 55.75%        23.20%         18.97%
          Voting Age                 34,193       20,507         7,461          5,467
                                                 59.97%        21.82%         15.99%
 County: Cook GA
         Total:                      17,229       10,658         5,014           1,134
                                                 61.86%        29.10%           6.58%
          Voting Age                 12,938        8,310         3,595             704
                                                 64.23%        27.79%           5.44%
 County: Decatur GA
         Total:                      29,367       14,280        12,583           1,911
                                                 48.63%        42.85%           6.51%
          Voting Age                 22,443       11,586         9,189           1,196
                                                 51.62%        40.94%           5.33%



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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 011
 County: Grady GA
           Total:                    26,236       14,715         7,693          3,273
                                                 56.09%        29.32%         12.48%
          Voting Age                 19,962       11,968         5,678          1,857
                                                 59.95%        28.44%          9.30%
 County: Seminole GA
         Total:                       9,147        5,617         3,093             228
                                                 61.41%        33.81%           2.49%
          Voting Age                  7,277        4,681         2,275             160
                                                 64.33%        31.26%           2.20%
 County: Thomas GA
         Total:                      45,798       25,994        16,975           1,577
                                                 56.76%        37.06%           3.44%
          Voting Age                 35,037       20,740        12,332             970
                                                 59.19%        35.20%           2.77%
District 011 Total
           Total:                   189,976      105,918        61,964         17,787
                                                 55.75%        32.62%          9.36%
          Voting Age                144,597       85,275        44,887         10,989
                                                 58.97%        31.04%          7.60%
District 012
 County: Baker GA
           Total:                     2,876        1,514         1,178             143
                                                 52.64%        40.96%           4.97%
          Voting Age                  2,275        1,235           932              77
                                                 54.29%        40.97%           3.38%
 County: Calhoun GA
         Total:                       5,573        1,766         3,629             149
                                                 31.69%        65.12%           2.67%
          Voting Age                  4,687        1,567         2,998              90
                                                 33.43%        63.96%           1.92%
 County: Clay GA
         Total:                       2,848        1,143         1,634              41
                                                 40.13%        57.37%           1.44%
          Voting Age                  2,246          973         1,231              19
                                                 43.32%        54.81%           0.85%
 County: Dougherty GA
         Total:                      85,790       20,631        61,457           2,413
                                                 24.05%        71.64%           2.81%
          Voting Age                 66,266       17,909        45,631           1,591
                                                 27.03%        68.86%           2.40%
 County: Early GA
         Total:                      10,854        4,813         5,688             186
                                                 44.34%        52.40%           1.71%
          Voting Age                  8,315        3,985         4,075             113
                                                 47.93%        49.01%           1.36%




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 012
 County: Miller GA
           Total:                     6,000        3,949         1,831             136
                                                 65.82%        30.52%           2.27%
          Voting Age                  4,749        3,239         1,358              92
                                                 68.20%        28.60%           1.94%
 County: Mitchell GA
         Total:                      21,755       10,106        10,394             964
                                                 46.45%        47.78%           4.43%
          Voting Age                 17,065        8,284         7,917             615
                                                 48.54%        46.39%           3.60%
 County: Quitman GA
         Total:                       2,235        1,190           965              31
                                                 53.24%        43.18%           1.39%
          Voting Age                  1,870        1,037           765              18
                                                 55.45%        40.91%           0.96%
 County: Randolph GA
         Total:                       6,425        2,250         3,947             143
                                                 35.02%        61.43%           2.23%
          Voting Age                  4,977        1,922         2,913              82
                                                 38.62%        58.53%           1.65%
 County: Stewart GA
         Total:                       5,314        1,338         2,538          1,217
                                                 25.18%        47.76%         22.90%
          Voting Age                  4,617        1,161         2,048          1,196
                                                 25.15%        44.36%         25.90%
 County: Sumter GA
         Total:                      29,616       11,528        15,546           1,770
                                                 38.92%        52.49%           5.98%
          Voting Age                 23,036        9,800        11,479           1,147
                                                 42.54%        49.83%           4.98%
 County: Terrell GA
         Total:                       9,185        3,189         5,707             177
                                                 34.72%        62.13%           1.93%
          Voting Age                  7,204        2,709         4,274             121
                                                 37.60%        59.33%           1.68%
 County: Webster GA
         Total:                       2,348        1,136         1,107              59
                                                 48.38%        47.15%           2.51%
          Voting Age                  1,847          931           844              36
                                                 50.41%        45.70%           1.95%
District 012 Total
           Total:                   190,819       64,553       115,621           7,429
                                                 33.83%        60.59%           3.89%
          Voting Age                149,154       54,752        86,465           5,197
                                                 36.71%        57.97%           3.48%
District 013




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 013
 County: Ben Hill GA
           Total:                    17,194        9,219         6,537           1,054
                                                 53.62%        38.02%           6.13%
         Voting Age                  13,165        7,459         4,745             653
                                                 56.66%        36.04%           4.96%
 County: Berrien GA
         Total:                      18,160       14,396         2,198           1,045
                                                 79.27%        12.10%           5.75%
         Voting Age                  13,690       11,181         1,499             622
                                                 81.67%        10.95%           4.54%
 County: Coffee GA
         Total:                      19,881       11,977         4,080          3,319
                                                 60.24%        20.52%         16.69%
         Voting Age                  14,865        9,458         2,978          2,029
                                                 63.63%        20.03%         13.65%
 County: Crisp GA
         Total:                      20,128        9,892         9,194             634
                                                 49.15%        45.68%           3.15%
         Voting Age                  15,570        8,248         6,603             414
                                                 52.97%        42.41%           2.66%
 County: Irwin GA
         Total:                       9,666        6,402         2,333             663
                                                 66.23%        24.14%           6.86%
         Voting Age                   7,547        5,047         1,720             545
                                                 66.87%        22.79%           7.22%
 County: Lee GA
         Total:                      33,163       22,758         7,755             953
                                                 68.62%        23.38%           2.87%
         Voting Age                  24,676       17,356         5,503             603
                                                 70.34%        22.30%           2.44%
 County: Tift GA
         Total:                      41,344       22,189        12,734          5,219
                                                 53.67%        30.80%         12.62%
         Voting Age                  31,224       18,011         8,963          3,295
                                                 57.68%        28.71%         10.55%
 County: Turner GA
         Total:                       9,006        4,700         3,813             372
                                                 52.19%        42.34%           4.13%
         Voting Age                   6,960        3,891         2,752             256
                                                 55.91%        39.54%           3.68%
 County: Worth GA
         Total:                      20,784       14,427         5,517             381
                                                 69.41%        26.54%           1.83%
         Voting Age                  16,444       11,747         4,108             244
                                                 71.44%        24.98%           1.48%




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 013
District 013 Total
           Total:                   189,326      115,960        54,161         13,640
                                                 61.25%        28.61%          7.20%
          Voting Age                144,141       92,398        38,871          8,661
                                                 64.10%        26.97%          6.01%
District 014
 County: Fulton GA
           Total:                   192,533      105,178        37,409         26,906
                                                 54.63%        19.43%         13.97%
          Voting Age                155,340       88,706        29,470         18,844
                                                 57.10%        18.97%         12.13%
District 014 Total
           Total:                   192,533      105,178        37,409         26,906
                                                 54.63%        19.43%         13.97%
          Voting Age                155,340       88,706        29,470         18,844
                                                 57.10%        18.97%         12.13%
District 015
 County: Chattahoochee GA
           Total:                     9,565        5,403         1,825          1,610
                                                 56.49%        19.08%         16.83%
          Voting Age                  7,199        4,212         1,287          1,160
                                                 58.51%        17.88%         16.11%
 County: Macon GA
         Total:                      12,082        4,078         7,296             472
                                                 33.75%        60.39%           3.91%
          Voting Age                  9,938        3,379         6,021             322
                                                 34.00%        60.59%           3.24%
 County: Marion GA
         Total:                       7,498        4,486         2,223             560
                                                 59.83%        29.65%           7.47%
          Voting Age                  5,854        3,643         1,687             337
                                                 62.23%        28.82%           5.76%
 County: Muscogee GA
         Total:                     142,205       40,201        87,188         11,247
                                                 28.27%        61.31%          7.91%
          Voting Age                107,284       33,202        63,629          7,440
                                                 30.95%        59.31%          6.93%
 County: Schley GA
         Total:                       4,547        3,357           933             175
                                                 73.83%        20.52%           3.85%
          Voting Age                  3,328        2,520           644             103
                                                 75.72%        19.35%           3.09%
 County: Talbot GA
         Total:                       5,733        2,427         3,145             112
                                                 42.33%        54.86%           1.95%
          Voting Age                  4,783        2,129         2,537              56
                                                 44.51%        53.04%           1.17%



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 015
 County: Taylor GA
           Total:                     7,816        4,584         2,946              168
                                                 58.65%        37.69%            2.15%
          Voting Age                  6,120        3,686         2,235              107
                                                 60.23%        36.52%            1.75%
District 015 Total
           Total:                   189,446       64,536       105,556          14,344
                                                 34.07%        55.72%           7.57%
          Voting Age                144,506       52,771        78,040           9,525
                                                 36.52%        54.00%           6.59%
District 016
 County: Fayette GA
           Total:                    87,134       57,368        14,975            6,927
                                                 65.84%        17.19%            7.95%
          Voting Age                 66,132       45,568        10,611            4,501
                                                 68.90%        16.05%            6.81%
 County: Lamar GA
         Total:                      18,500       12,344         5,220              475
                                                 66.72%        28.22%            2.57%
          Voting Age                 14,541        9,852         4,017              323
                                                 67.75%        27.63%            2.22%
 County: Pike GA
         Total:                      18,889       16,313         1,613              348
                                                 86.36%         8.54%            1.84%
          Voting Age                 14,337       12,422         1,254              207
                                                 86.64%         8.75%            1.44%
 County: Spalding GA
         Total:                      67,306       37,105        24,522            3,666
                                                 55.13%        36.43%            5.45%
          Voting Age                 52,123       30,612        17,511            2,377
                                                 58.73%        33.60%            4.56%
District 016 Total
           Total:                   191,829      123,130        46,330          11,416
                                                 64.19%        24.15%           5.95%
          Voting Age                147,133       98,454        33,393           7,408
                                                 66.91%        22.70%           5.03%
District 017
 County: Henry GA
           Total:                    82,287       35,695        38,103            5,745
                                                 43.38%        46.31%            6.98%
          Voting Age                 60,768       28,184        26,755            3,707
                                                 46.38%        44.03%            6.10%
 County: Morgan GA
         Total:                      20,097       14,487         4,339              712
                                                 72.09%        21.59%            3.54%
          Voting Age                 15,574       11,452         3,280              434
                                                 73.53%        21.06%            2.79%



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 017
 County: Newton GA
           Total:                    45,536       27,283        14,670            2,359
                                                 59.92%        32.22%            5.18%
          Voting Age                 34,660       21,542        10,674            1,517
                                                 62.15%        30.80%            4.38%
 County: Walton GA
         Total:                      44,590       31,675         7,994            2,890
                                                 71.04%        17.93%            6.48%
          Voting Age                 33,470       24,668         5,536            1,753
                                                 73.70%        16.54%            5.24%
District 017 Total
           Total:                   192,510      109,140        65,106          11,706
                                                 56.69%        33.82%           6.08%
          Voting Age                144,472       85,846        46,245           7,411
                                                 59.42%        32.01%           5.13%
District 018
 County: Bibb GA
           Total:                    53,182       30,331        17,446            2,306
                                                 57.03%        32.80%            4.34%
          Voting Age                 42,225       25,246        13,001            1,630
                                                 59.79%        30.79%            3.86%
 County: Crawford GA
         Total:                      12,130        8,866         2,455              415
                                                 73.09%        20.24%            3.42%
          Voting Age                  9,606        7,079         1,938              287
                                                 73.69%        20.17%            2.99%
 County: Houston GA
         Total:                      42,875       22,773        13,818            3,320
                                                 53.11%        32.23%            7.74%
          Voting Age                 32,630       18,440         9,733            2,187
                                                 56.51%        29.83%            6.70%
 County: Monroe GA
         Total:                      27,957       19,954         6,444              714
                                                 71.37%        23.05%            2.55%
          Voting Age                 21,913       15,771         5,068              464
                                                 71.97%        23.13%            2.12%
 County: Peach GA
         Total:                      27,981       12,119        12,645            2,547
                                                 43.31%        45.19%            9.10%
          Voting Age                 22,111       10,071         9,720            1,788
                                                 45.55%        43.96%            8.09%
 County: Upson GA
         Total:                      27,700       18,009         8,324              633
                                                 65.01%        30.05%            2.29%
          Voting Age                 21,711       14,548         6,202              411
                                                 67.01%        28.57%            1.89%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 018
District 018 Total
           Total:                   191,825      112,052        61,132            9,935
                                                 58.41%        31.87%            5.18%
          Voting Age                150,196       91,155        45,662            6,767
                                                 60.69%        30.40%            4.51%
District 019
 County: Appling GA
           Total:                    18,444       12,674         3,647            1,825
                                                 68.72%        19.77%            9.89%
          Voting Age                 13,958       10,048         2,540            1,118
                                                 71.99%        18.20%            8.01%
 County: Bacon GA
         Total:                      11,140        8,103         1,970              875
                                                 72.74%        17.68%            7.85%
          Voting Age                  8,310        6,374         1,245              547
                                                 76.70%        14.98%            6.58%
 County: Coffee GA
         Total:                      23,211       12,181         8,495            2,111
                                                 52.48%        36.60%            9.09%
          Voting Age                 17,554        9,688         6,213            1,295
                                                 55.19%        35.39%            7.38%
 County: Jeff Davis GA
         Total:                      14,779        9,950         2,493           2,047
                                                 67.33%        16.87%          13.85%
          Voting Age                 10,856        7,643         1,752           1,233
                                                 70.40%        16.14%          11.36%
 County: Long GA
         Total:                      16,168        8,774         4,734           1,979
                                                 54.27%        29.28%          12.24%
          Voting Age                 11,234        6,422         3,107           1,227
                                                 57.17%        27.66%          10.92%
 County: Montgomery GA
         Total:                       8,610        5,665         2,224              571
                                                 65.80%        25.83%            6.63%
          Voting Age                  6,792        4,527         1,781              377
                                                 66.65%        26.22%            5.55%
 County: Tattnall GA
         Total:                      22,842       13,825         6,331           2,303
                                                 60.52%        27.72%          10.08%
          Voting Age                 17,654       11,020         4,886           1,419
                                                 62.42%        27.68%           8.04%
 County: Telfair GA
         Total:                      12,477        5,970         4,754           1,928
                                                 47.85%        38.10%          15.45%
          Voting Age                 10,190        4,802         3,806           1,757
                                                 47.12%        37.35%          17.24%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 019
 County: Toombs GA
           Total:                    27,030       16,007         7,402           3,044
                                                 59.22%        27.38%          11.26%
          Voting Age                 20,261       12,810         5,036           1,978
                                                 63.22%        24.86%           9.76%
 County: Wayne GA
         Total:                      30,144       21,301         6,390            1,732
                                                 70.66%        21.20%            5.75%
          Voting Age                 23,105       16,754         4,662            1,116
                                                 72.51%        20.18%            4.83%
 County: Wheeler GA
         Total:                       7,471        4,157         2,949              272
                                                 55.64%        39.47%            3.64%
          Voting Age                  6,217        3,418         2,561              174
                                                 54.98%        41.19%            2.80%
District 019 Total
           Total:                   192,316      118,607        51,389          18,687
                                                 61.67%        26.72%           9.72%
          Voting Age                146,131       93,506        37,589          12,241
                                                 63.99%        25.72%           8.38%
District 020
 County: Bleckley GA
           Total:                    12,583        8,867         2,951              469
                                                 70.47%        23.45%            3.73%
          Voting Age                  9,613        7,032         2,036              311
                                                 73.15%        21.18%            3.24%
 County: Dodge GA
         Total:                      19,925       12,865         6,148              620
                                                 64.57%        30.86%            3.11%
          Voting Age                 15,709       10,360         4,725              406
                                                 65.95%        30.08%            2.58%
 County: Dooly GA
         Total:                      11,208        4,611         5,652              797
                                                 41.14%        50.43%            7.11%
          Voting Age                  9,187        4,029         4,526              493
                                                 43.86%        49.27%            5.37%
 County: Houston GA
         Total:                      74,275       45,561        20,160            4,037
                                                 61.34%        27.14%            5.44%
          Voting Age                 54,626       34,565        14,238            2,474
                                                 63.28%        26.06%            4.53%
 County: Laurens GA
         Total:                      49,570       27,881        19,132            1,424
                                                 56.25%        38.60%            2.87%
          Voting Age                 37,734       22,229        13,695              923
                                                 58.91%        36.29%            2.45%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 020
 County: Pulaski GA
           Total:                     9,855        6,022         3,250              327
                                                 61.11%        32.98%            3.32%
          Voting Age                  8,012        5,027         2,564              224
                                                 62.74%        32.00%            2.80%
 County: Treutlen GA
         Total:                       6,406        4,065         2,114              170
                                                 63.46%        33.00%            2.65%
          Voting Age                  4,934        3,272         1,514               98
                                                 66.32%        30.69%            1.99%
 County: Wilcox GA
         Total:                       8,766        5,185         3,161              272
                                                 59.15%        36.06%            3.10%
          Voting Age                  7,218        4,215         2,693              209
                                                 58.40%        37.31%            2.90%
District 020 Total
           Total:                   192,588      115,057        62,568            8,116
                                                 59.74%        32.49%            4.21%
          Voting Age                147,033       90,729        45,991            5,138
                                                 61.71%        31.28%            3.49%
District 021
 County: Cherokee GA
           Total:                   109,034       84,927         6,259          12,939
                                                 77.89%         5.74%          11.87%
          Voting Age                 82,623       66,763         4,208           8,139
                                                 80.80%         5.09%           9.85%
 County: Fulton GA
         Total:                      83,538       52,054         9,233            6,566
                                                 62.31%        11.05%            7.86%
          Voting Age                 62,497       40,439         6,615            4,582
                                                 64.71%        10.58%            7.33%
District 021 Total
           Total:                   192,572      136,981        15,492          19,505
                                                 71.13%         8.04%          10.13%
          Voting Age                145,120      107,202        10,823          12,721
                                                 73.87%         7.46%           8.77%
District 022
 County: Richmond GA
           Total:                   193,163       60,066       115,985          10,869
                                                 31.10%        60.05%           5.63%
          Voting Age                150,450       51,728        85,009           8,049
                                                 34.38%        56.50%           5.35%
District 022 Total
           Total:                   193,163       60,066       115,985          10,869
                                                 31.10%        60.05%           5.63%
          Voting Age                150,450       51,728        85,009           8,049
                                                 34.38%        56.50%           5.35%



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Plan Components with Population Detail                                      Ga_SB1EX

                                     Total     NH_Wht         AP_Blk        [Hispanic
                                Population                                    Origin]

District 023
 County: Burke GA
           Total:                   24,596       11,941        11,430              777
                                                48.55%        46.47%            3.16%
         Voting Age                 18,778        9,566         8,362              494
                                                50.94%        44.53%            2.63%
 County: Columbia GA
         Total:                     59,796       33,199        17,140           6,023
                                                55.52%        28.66%          10.07%
         Voting Age                 43,068       25,353        11,461           3,708
                                                58.87%        26.61%           8.61%
 County: Emanuel GA
         Total:                     22,768       13,815         7,556              993
                                                60.68%        33.19%            4.36%
         Voting Age                 17,320       11,013         5,404              589
                                                63.59%        31.20%            3.40%
 County: Glascock GA
         Total:                      2,884        2,573           226               52
                                                89.22%         7.84%            1.80%
         Voting Age                  2,236        2,003           167               31
                                                89.58%         7.47%            1.39%
 County: Jefferson GA
         Total:                     15,709        6,834         8,208              462
                                                43.50%        52.25%            2.94%
         Voting Age                 12,301        5,536         6,324              280
                                                45.00%        51.41%            2.28%
 County: Jenkins GA
         Total:                      8,674        4,611         3,638              303
                                                53.16%        41.94%            3.49%
         Voting Age                  7,005        3,874         2,843              194
                                                55.30%        40.59%            2.77%
 County: McDuffie GA
         Total:                     21,632       11,417         9,045              790
                                                52.78%        41.81%            3.65%
         Voting Age                 16,615        9,359         6,425              536
                                                56.33%        38.67%            3.23%
 County: Richmond GA
         Total:                     13,444        8,331         3,985              580
                                                61.97%        29.64%            4.31%
         Voting Age                 10,449        6,675         2,921              396
                                                63.88%        27.95%            3.79%
 County: Screven GA
         Total:                     14,067        8,018         5,527              287
                                                57.00%        39.29%            2.04%
         Voting Age                 10,893        6,387         4,144              188
                                                58.63%        38.04%            1.73%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 023
 County: Taliaferro GA
           Total:                     1,559          591           876               69
                                                 37.91%        56.19%            4.43%
          Voting Age                  1,289          506           722               46
                                                 39.26%        56.01%            3.57%
 County: Warren GA
         Total:                       5,215        1,974         3,128               53
                                                 37.85%        59.98%            1.02%
          Voting Age                  4,159        1,716         2,360               46
                                                 41.26%        56.74%            1.11%
District 023 Total
           Total:                   190,344      103,304        70,759          10,389
                                                 54.27%        37.17%           5.46%
          Voting Age                144,113       81,988        51,133           6,508
                                                 56.89%        35.48%           4.52%
District 024
 County: Columbia GA
           Total:                    96,214       65,912        15,376            5,835
                                                 68.51%        15.98%            6.06%
          Voting Age                 71,755       50,717        10,812            3,647
                                                 70.68%        15.07%            5.08%
 County: Elbert GA
         Total:                      19,637       12,610         5,520              996
                                                 64.22%        28.11%            5.07%
          Voting Age                 15,493       10,322         4,122              660
                                                 66.62%        26.61%            4.26%
 County: Greene GA
         Total:                      18,915       11,126         6,027            1,289
                                                 58.82%        31.86%            6.81%
          Voting Age                 15,358        9,675         4,470              826
                                                 63.00%        29.11%            5.38%
 County: Hart GA
         Total:                      25,828       19,250         4,732              931
                                                 74.53%        18.32%            3.60%
          Voting Age                 20,436       15,761         3,447              578
                                                 77.12%        16.87%            2.83%
 County: Lincoln GA
         Total:                       7,690        5,196         2,212               92
                                                 67.57%        28.76%            1.20%
          Voting Age                  6,270        4,316         1,728               54
                                                 68.84%        27.56%            0.86%
 County: Oglethorpe GA
         Total:                      14,825       10,903         2,468              869
                                                 73.54%        16.65%            5.86%
          Voting Age                 11,639        8,799         1,853              531
                                                 75.60%        15.92%            4.56%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 024
 County: Wilkes GA
           Total:                     9,565        4,952         3,989              399
                                                 51.77%        41.70%            4.17%
          Voting Age                  7,651        4,154         3,071              243
                                                 54.29%        40.14%            3.18%
District 024 Total
           Total:                   192,674      129,949        40,324          10,411
                                                 67.45%        20.93%           5.40%
          Voting Age                148,602      103,744        29,503           6,539
                                                 69.81%        19.85%           4.40%
District 025
 County: Baldwin GA
           Total:                    43,799       22,432        18,985            1,139
                                                 51.22%        43.35%            2.60%
          Voting Age                 35,732       19,377        14,515              835
                                                 54.23%        40.62%            2.34%
 County: Bibb GA
         Total:                      15,513        7,379         6,992              552
                                                 47.57%        45.07%            3.56%
          Voting Age                 12,080        6,252         4,977              387
                                                 51.75%        41.20%            3.20%
 County: Butts GA
         Total:                      25,434       16,628         7,212              803
                                                 65.38%        28.36%            3.16%
          Voting Age                 20,360       13,510         5,660              559
                                                 66.36%        27.80%            2.75%
 County: Henry GA
         Total:                      41,433       18,223        18,943            2,955
                                                 43.98%        45.72%            7.13%
          Voting Age                 30,205       14,080        13,172            1,932
                                                 46.61%        43.61%            6.40%
 County: Jasper GA
         Total:                      14,588       10,771         2,676              684
                                                 73.83%        18.34%            4.69%
          Voting Age                 11,118        8,400         1,966              402
                                                 75.55%        17.68%            3.62%
 County: Jones GA
         Total:                      28,347       20,074         7,114              476
                                                 70.82%        25.10%            1.68%
          Voting Age                 21,575       15,428         5,341              302
                                                 71.51%        24.76%            1.40%
 County: Putnam GA
         Total:                      22,047       14,316         5,701            1,557
                                                 64.93%        25.86%            7.06%
          Voting Age                 17,847       12,209         4,229            1,031
                                                 68.41%        23.70%            5.78%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 025
District 025 Total
           Total:                   191,161      109,823        67,623            8,166
                                                 57.45%        35.37%            4.27%
          Voting Age                148,917       89,256        49,860            5,448
                                                 59.94%        33.48%            3.66%
District 026
 County: Bibb GA
           Total:                    88,651       19,077        64,427            3,879
                                                 21.52%        72.67%            4.38%
          Voting Age                 66,597       16,481        46,292            2,717
                                                 24.75%        69.51%            4.08%
 County: Hancock GA
         Total:                       8,735        2,413         6,131               63
                                                 27.62%        70.19%            0.72%
          Voting Age                  7,487        2,220         5,108               47
                                                 29.65%        68.22%            0.63%
 County: Houston GA
         Total:                      46,483       17,877        22,542            4,450
                                                 38.46%        48.50%            9.57%
          Voting Age                 34,862       15,013        15,634            2,869
                                                 43.06%        44.85%            8.23%
 County: Johnson GA
         Total:                       9,189        5,800         3,124              117
                                                 63.12%        34.00%            1.27%
          Voting Age                  7,474        4,790         2,513               82
                                                 64.09%        33.62%            1.10%
 County: Twiggs GA
         Total:                       8,022        4,487         3,226              124
                                                 55.93%        40.21%            1.55%
          Voting Age                  6,589        3,733         2,627               79
                                                 56.66%        39.87%            1.20%
 County: Washington GA
         Total:                      19,988        8,412        10,969              334
                                                 42.09%        54.88%            1.67%
          Voting Age                 15,709        6,944         8,333              235
                                                 44.20%        53.05%            1.50%
 County: Wilkinson GA
         Total:                       8,877        5,110         3,330              239
                                                 57.56%        37.51%            2.69%
          Voting Age                  7,026        4,165         2,549              152
                                                 59.28%        36.28%            2.16%
District 026 Total
           Total:                   189,945       63,176       113,749            9,206
                                                 33.26%        59.89%            4.85%
          Voting Age                145,744       53,346        83,056            6,181
                                                 36.60%        56.99%            4.24%
District 027



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 027
 County: Forsyth GA
           Total:                   190,676      129,651       10,506           22,131
                                                 68.00%        5.51%           11.61%
          Voting Age                139,196       99,531        6,961           14,200
                                                 71.50%        5.00%           10.20%
District 027 Total
           Total:                   190,676      129,651       10,506           22,131
                                                 68.00%        5.51%           11.61%
          Voting Age                139,196       99,531        6,961           14,200
                                                 71.50%        5.00%           10.20%
District 028
 County: Coweta GA
           Total:                   146,158       99,421        28,289          11,053
                                                 68.02%        19.36%           7.56%
          Voting Age                111,155       78,073        20,196           7,384
                                                 70.24%        18.17%           6.64%
 County: Douglas GA
         Total:                      25,889       15,965         6,766            2,125
                                                 61.67%        26.13%            8.21%
          Voting Age                 19,664       12,823         4,719            1,360
                                                 65.21%        24.00%            6.92%
 County: Fulton GA
         Total:                       6,963        2,713         3,475              653
                                                 38.96%        49.91%            9.38%
          Voting Age                  5,456        2,361         2,535              440
                                                 43.27%        46.46%            8.06%
 County: Heard GA
         Total:                      11,412        9,589         1,142              253
                                                 84.03%        10.01%            2.22%
          Voting Age                  8,698        7,407           832              153
                                                 85.16%         9.57%            1.76%
District 028 Total
           Total:                   190,422      127,688        39,672          14,084
                                                 67.06%        20.83%           7.40%
          Voting Age                144,973      100,664        28,282           9,337
                                                 69.44%        19.51%           6.44%
District 029
 County: Harris GA
           Total:                    34,668       25,925         5,742            1,417
                                                 74.78%        16.56%            4.09%
          Voting Age                 26,799       20,298         4,431              908
                                                 75.74%        16.53%            3.39%
 County: Meriwether GA
         Total:                      20,613       12,084         7,547              475
                                                 58.62%        36.61%            2.30%
          Voting Age                 16,526        9,994         5,845              299
                                                 60.47%        35.37%            1.81%



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 029
 County: Muscogee GA
           Total:                    64,717       38,882        15,024            5,266
                                                 60.08%        23.21%            8.14%
          Voting Age                 49,768       31,433        10,672            3,454
                                                 63.16%        21.44%            6.94%
 County: Troup GA
         Total:                      69,426       38,099        25,473            2,956
                                                 54.88%        36.69%            4.26%
          Voting Age                 52,581       30,377        18,202            1,822
                                                 57.77%        34.62%            3.47%
District 029 Total
           Total:                   189,424      114,990        53,786          10,114
                                                 60.71%        28.39%           5.34%
          Voting Age                145,674       92,102        39,150           6,483
                                                 63.22%        26.88%           4.45%
District 030
 County: Carroll GA
           Total:                   119,148       80,725        24,618            9,586
                                                 67.75%        20.66%            8.05%
          Voting Age                 90,996       63,803        17,827            6,129
                                                 70.12%        19.59%            6.74%
 County: Douglas GA
         Total:                      23,454        7,625        12,401           2,725
                                                 32.51%        52.87%          11.62%
          Voting Age                 17,242        6,258         8,698           1,720
                                                 36.30%        50.45%           9.98%
 County: Haralson GA
         Total:                      29,919       26,825         1,541              497
                                                 89.66%         5.15%            1.66%
          Voting Age                 22,854       20,617         1,106              323
                                                 90.21%         4.84%            1.41%
 County: Paulding GA
         Total:                      18,954       13,062         4,048            1,106
                                                 68.91%        21.36%            5.84%
          Voting Age                 13,985       10,021         2,715              675
                                                 71.66%        19.41%            4.83%
District 030 Total
           Total:                   191,475      128,237        42,608          13,914
                                                 66.97%        22.25%           7.27%
          Voting Age                145,077      100,699        30,346           8,847
                                                 69.41%        20.92%           6.10%
District 031
 County: Paulding GA
           Total:                   149,707       95,382        37,248          11,458
                                                 63.71%        24.88%           7.65%
          Voting Age                110,013       73,045        25,449           7,299
                                                 66.40%        23.13%           6.63%



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 031
 County: Polk GA
           Total:                    42,853       30,161         5,816           5,585
                                                 70.38%        13.57%          13.03%
          Voting Age                 32,238       24,049         3,991           3,252
                                                 74.60%        12.38%          10.09%
District 031 Total
           Total:                   192,560      125,543        43,064          17,043
                                                 65.20%        22.36%           8.85%
          Voting Age                142,251       97,094        29,440          10,551
                                                 68.26%        20.70%           7.42%
District 032
 County: Cherokee GA
           Total:                    90,981       64,930         9,461          11,002
                                                 71.37%        10.40%          12.09%
          Voting Age                 69,190       51,294         6,571           7,233
                                                 74.13%         9.50%          10.45%
 County: Cobb GA
         Total:                     101,467       56,571        20,578          12,274
                                                 55.75%        20.28%          12.10%
          Voting Age                 80,689       47,295        15,703           8,575
                                                 58.61%        19.46%          10.63%
District 032 Total
           Total:                   192,448      121,501        30,039          23,276
                                                 63.13%        15.61%          12.09%
          Voting Age                149,879       98,589        22,274          15,808
                                                 65.78%        14.86%          10.55%
District 033
 County: Cobb GA
           Total:                   192,694       50,104        84,864          51,497
                                                 26.00%        44.04%          26.72%
          Voting Age                146,415       44,286        62,897          33,570
                                                 30.25%        42.96%          22.93%
District 033 Total
           Total:                   192,694       50,104        84,864          51,497
                                                 26.00%        44.04%          26.72%
          Voting Age                146,415       44,286        62,897          33,570
                                                 30.25%        42.96%          22.93%
District 034
 County: Clayton GA
           Total:                   158,608       10,411       116,923          25,702
                                                  6.56%        73.72%          16.20%
          Voting Age                116,174        9,417        85,523          16,417
                                                  8.11%        73.62%          14.13%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 034
 County: Fayette GA
           Total:                    32,060       10,776        17,101            2,553
                                                 33.61%        53.34%            7.96%
          Voting Age                 25,666        9,534        13,117            1,667
                                                 37.15%        51.11%            6.49%
District 034 Total
           Total:                   190,668       21,187       134,024          28,255
                                                 11.11%        70.29%          14.82%
          Voting Age                141,840       18,951        98,640          18,084
                                                 13.36%        69.54%          12.75%
District 035
 County: Douglas GA
           Total:                    94,894       26,287        55,093          11,185
                                                 27.70%        58.06%          11.79%
          Voting Age                 71,522       22,335        39,960           7,132
                                                 31.23%        55.87%           9.97%
 County: Fulton GA
         Total:                      97,945        5,451        86,603            5,550
                                                  5.57%        88.42%            5.67%
          Voting Age                 73,153        4,899        64,059            3,738
                                                  6.70%        87.57%            5.11%
District 035 Total
           Total:                   192,839       31,738       141,696          16,735
                                                 16.46%        73.48%           8.68%
          Voting Age                144,675       27,234       104,019          10,870
                                                 18.82%        71.90%           7.51%
District 036
 County: Fulton GA
           Total:                   192,282       63,642       104,523          14,534
                                                 33.10%        54.36%           7.56%
          Voting Age                161,385       58,394        82,859          11,394
                                                 36.18%        51.34%           7.06%
District 036 Total
           Total:                   192,282       63,642       104,523          14,534
                                                 33.10%        54.36%           7.56%
          Voting Age                161,385       58,394        82,859          11,394
                                                 36.18%        51.34%           7.06%
District 037
 County: Bartow GA
           Total:                    11,130        8,430           646           1,528
                                                 75.74%         5.80%          13.73%
          Voting Age                  8,818        6,997           435             936
                                                 79.35%         4.93%          10.61%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 037
 County: Cobb GA
           Total:                   181,541      111,749        39,545          17,714
                                                 61.56%        21.78%           9.76%
          Voting Age                138,961       89,599        28,049          11,900
                                                 64.48%        20.18%           8.56%
District 037 Total
           Total:                   192,671      120,179        40,191          19,242
                                                 62.38%        20.86%           9.99%
          Voting Age                147,779       96,596        28,484          12,836
                                                 65.37%        19.27%           8.69%
District 038
 County: Cobb GA
           Total:                   108,305       37,092        47,359          15,917
                                                 34.25%        43.73%          14.70%
          Voting Age                 83,807       31,034        35,736          10,657
                                                 37.03%        42.64%          12.72%
 County: Fulton GA
         Total:                      84,850        1,588        80,345            2,867
                                                  1.87%        94.69%            3.38%
          Voting Age                 64,560        1,411        61,150            1,863
                                                  2.19%        94.72%            2.89%
District 038 Total
           Total:                   193,155       38,680       127,704          18,784
                                                 20.03%        66.11%           9.72%
          Voting Age                148,367       32,445        96,886          12,520
                                                 21.87%        65.30%           8.44%
District 039
 County: Fulton GA
           Total:                   191,500       48,493       121,412          11,684
                                                 25.32%        63.40%           6.10%
          Voting Age                156,022       43,478        94,702           8,809
                                                 27.87%        60.70%           5.65%
District 039 Total
           Total:                   191,500       48,493       121,412          11,684
                                                 25.32%        63.40%           6.10%
          Voting Age                156,022       43,478        94,702           8,809
                                                 27.87%        60.70%           5.65%
District 040
 County: DeKalb GA
           Total:                   164,997       74,345        27,095          40,942
                                                 45.06%        16.42%          24.81%
          Voting Age                127,423       60,620        21,898          27,542
                                                 47.57%        17.19%          21.61%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 040
 County: Gwinnett GA
           Total:                    25,547        8,906         8,624           6,338
                                                 34.86%        33.76%          24.81%
          Voting Age                 19,577        7,501         6,379           4,240
                                                 38.32%        32.58%          21.66%
District 040 Total
           Total:                   190,544       83,251        35,719          47,280
                                                 43.69%        18.75%          24.81%
          Voting Age                147,000       68,121        28,277          31,782
                                                 46.34%        19.24%          21.62%
District 041
 County: DeKalb GA
           Total:                   183,560       32,081       120,328          13,250
                                                 17.48%        65.55%           7.22%
          Voting Age                139,591       27,806        90,016           9,249
                                                 19.92%        64.49%           6.63%
 County: Gwinnett GA
         Total:                       7,463        3,942         1,434              728
                                                 52.82%        19.21%            9.75%
          Voting Age                  5,687        3,262           945              458
                                                 57.36%        16.62%            8.05%
District 041 Total
           Total:                   191,023       36,023       121,762          13,978
                                                 18.86%        63.74%           7.32%
          Voting Age                145,278       31,068        90,961           9,707
                                                 21.39%        62.61%           6.68%
District 042
 County: DeKalb GA
           Total:                   190,940       95,296        58,439          19,335
                                                 49.91%        30.61%          10.13%
          Voting Age                153,952       79,111        47,383          13,303
                                                 51.39%        30.78%           8.64%
District 042 Total
           Total:                   190,940       95,296        58,439          19,335
                                                 49.91%        30.61%          10.13%
          Voting Age                153,952       79,111        47,383          13,303
                                                 51.39%        30.78%           8.64%
District 043
 County: DeKalb GA
           Total:                    32,212        1,224        29,608            1,332
                                                  3.80%        91.92%            4.14%
          Voting Age                 24,150        1,123        22,060              907
                                                  4.65%        91.35%            3.76%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 043
 County: Newton GA
           Total:                    66,947       19,463        41,231            4,805
                                                 29.07%        61.59%            7.18%
          Voting Age                 50,088       16,089        29,759            3,044
                                                 32.12%        59.41%            6.08%
 County: Rockdale GA
         Total:                      93,570       24,500        57,204           9,540
                                                 26.18%        61.13%          10.20%
          Voting Age                 71,503       21,457        41,935           6,089
                                                 30.01%        58.65%           8.52%
District 043 Total
           Total:                   192,729       45,187       128,043          15,677
                                                 23.45%        66.44%           8.13%
          Voting Age                145,741       38,669        93,754          10,040
                                                 26.53%        64.33%           6.89%
District 044
 County: Clayton GA
           Total:                   138,987       15,491        99,428          16,844
                                                 11.15%        71.54%          12.12%
          Voting Age                104,404       13,979        73,331          10,961
                                                 13.39%        70.24%          10.50%
 County: DeKalb GA
         Total:                      51,049        9,253        38,839            2,092
                                                 18.13%        76.08%            4.10%
          Voting Age                 40,820        8,223        30,268            1,529
                                                 20.14%        74.15%            3.75%
District 044 Total
           Total:                   190,036       24,744       138,267          18,936
                                                 13.02%        72.76%           9.96%
          Voting Age                145,224       22,202       103,599          12,490
                                                 15.29%        71.34%           8.60%
District 045
 County: Barrow GA
           Total:                    39,217       26,710         5,033           4,668
                                                 68.11%        12.83%          11.90%
          Voting Age                 29,707       21,097         3,514           2,978
                                                 71.02%        11.83%          10.02%
 County: Gwinnett GA
         Total:                     151,475       73,861        32,509          23,295
                                                 48.76%        21.46%          15.38%
          Voting Age                110,999       56,952        22,635          15,389
                                                 51.31%        20.39%          13.86%
District 045 Total
           Total:                   190,692      100,571        37,542          27,963
                                                 52.74%        19.69%          14.66%
          Voting Age                140,706       78,049        26,149          18,367
                                                 55.47%        18.58%          13.05%



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 046
 County: Barrow GA
           Total:                    17,116        9,793         3,573           2,774
                                                 57.22%        20.88%          16.21%
          Voting Age                 12,083        7,253         2,401           1,784
                                                 60.03%        19.87%          14.76%
 County: Clarke GA
         Total:                      52,016       35,421         9,024            3,318
                                                 68.10%        17.35%            6.38%
          Voting Age                 45,312       32,150         6,731            2,724
                                                 70.95%        14.85%            6.01%
 County: Gwinnett GA
         Total:                      27,298       12,037         9,493           4,420
                                                 44.09%        34.78%          16.19%
          Voting Age                 19,469        9,235         6,372           2,859
                                                 47.43%        32.73%          14.68%
 County: Oconee GA
         Total:                      41,799       33,886         2,280            2,347
                                                 81.07%         5.45%            5.61%
          Voting Age                 30,221       24,942         1,660            1,405
                                                 82.53%         5.49%            4.65%
 County: Walton GA
         Total:                      52,083       36,824        10,810            2,338
                                                 70.70%        20.76%            4.49%
          Voting Age                 39,628       28,979         7,629            1,483
                                                 73.13%        19.25%            3.74%
District 046 Total
           Total:                   190,312      127,961        35,180          15,197
                                                 67.24%        18.49%           7.99%
          Voting Age                146,713      102,559        24,793          10,255
                                                 69.90%        16.90%           6.99%
District 047
 County: Barrow GA
           Total:                    27,172       19,079         3,301           3,118
                                                 70.22%        12.15%          11.48%
          Voting Age                 20,405       14,891         2,307           1,964
                                                 72.98%        11.31%           9.63%
 County: Clarke GA
         Total:                      76,655       36,780        24,648          11,018
                                                 47.98%        32.15%          14.37%
          Voting Age                 61,518       32,381        18,045           7,489
                                                 52.64%        29.33%          12.17%
 County: Jackson GA
         Total:                      56,660       43,850         4,393            5,298
                                                 77.39%         7.75%            9.35%
          Voting Age                 41,564       32,978         2,966            3,381
                                                 79.34%         7.14%            8.13%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 047
 County: Madison GA
           Total:                    30,120       23,549         3,196            1,956
                                                 78.18%        10.61%            6.49%
          Voting Age                 23,112       18,643         2,225            1,198
                                                 80.66%         9.63%            5.18%
District 047 Total
           Total:                   190,607      123,258        35,538          21,390
                                                 64.67%        18.64%          11.22%
          Voting Age                146,599       98,893        25,543          14,032
                                                 67.46%        17.42%           9.57%
District 048
 County: Forsyth GA
           Total:                    60,607       29,756         2,716            3,095
                                                 49.10%         4.48%            5.11%
          Voting Age                 41,997       22,486         1,790            2,004
                                                 53.54%         4.26%            4.77%
 County: Fulton GA
         Total:                      83,219       38,078         9,960            5,476
                                                 45.76%        11.97%            6.58%
          Voting Age                 61,631       29,982         7,027            3,696
                                                 48.65%        11.40%            6.00%
 County: Gwinnett GA
         Total:                      46,297       25,343         6,203           5,847
                                                 54.74%        13.40%          12.63%
          Voting Age                 33,367       19,107         4,151           3,884
                                                 57.26%        12.44%          11.64%
District 048 Total
           Total:                   190,123       93,177       18,879           14,418
                                                 49.01%        9.93%            7.58%
          Voting Age                136,995       71,575       12,968            9,584
                                                 52.25%        9.47%            7.00%
District 049
 County: Hall GA
           Total:                   189,355      115,222       16,099           49,692
                                                 60.85%        8.50%           26.24%
          Voting Age                144,123       94,600       11,475           31,557
                                                 65.64%        7.96%           21.90%
District 049 Total
           Total:                   189,355      115,222       16,099           49,692
                                                 60.85%        8.50%           26.24%
          Voting Age                144,123       94,600       11,475           31,557
                                                 65.64%        7.96%           21.90%
District 050




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Plan Components with Population Detail                                      Ga_SB1EX

                                     Total     NH_Wht         AP_Blk        [Hispanic
                                Population                                    Origin]

District 050
 County: Banks GA
           Total:                   18,035       15,578           589            1,164
                                                86.38%         3.27%            6.45%
         Voting Age                 13,900       12,278           365              721
                                                88.33%         2.63%            5.19%
 County: Franklin GA
         Total:                     23,424       19,262         2,207            1,121
                                                82.23%         9.42%            4.79%
         Voting Age                 18,307       15,466         1,523              678
                                                84.48%         8.32%            3.70%
 County: Habersham GA
         Total:                     46,031       34,694         2,165           6,880
                                                75.37%         4.70%          14.95%
         Voting Age                 35,878       28,299         1,675           4,115
                                                78.88%         4.67%          11.47%
 County: Hall GA
         Total:                     13,781        5,196           907           7,318
                                                37.70%         6.58%          53.10%
         Voting Age                  9,721        4,200           619           4,589
                                                43.21%         6.37%          47.21%
 County: Jackson GA
         Total:                     19,247       15,214         1,755            1,414
                                                79.05%         9.12%            7.35%
         Voting Age                 14,887       12,037         1,302              880
                                                80.86%         8.75%            5.91%
 County: Rabun GA
         Total:                     16,883       14,625           210            1,452
                                                86.63%         1.24%            8.60%
         Voting Age                 13,767       12,236           129              928
                                                88.88%         0.94%            6.74%
 County: Stephens GA
         Total:                     26,784       21,323         3,527              857
                                                79.61%        13.17%            3.20%
         Voting Age                 21,163       17,310         2,467              578
                                                81.79%        11.66%            2.73%
 County: Towns GA
         Total:                     12,493       11,469           168              415
                                                91.80%         1.34%            3.32%
         Voting Age                 10,923       10,100           137              338
                                                92.47%         1.25%            3.09%
 County: White GA
         Total:                     12,642       11,464           198              356
                                                90.68%         1.57%            2.82%
         Voting Age                 10,253        9,411           124              233
                                                91.79%         1.21%            2.27%




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 050
District 050 Total
           Total:                   189,320      148,825       11,726          20,977
                                                 78.61%        6.19%          11.08%
          Voting Age                148,799      121,337        8,341          13,060
                                                 81.54%        5.61%           8.78%
District 051
 County: Dawson GA
           Total:                    26,798       23,544          392            1,605
                                                 87.86%        1.46%            5.99%
          Voting Age                 21,441       19,183          249            1,047
                                                 89.47%        1.16%            4.88%
 County: Fannin GA
         Total:                      25,319       23,351          199              753
                                                 92.23%        0.79%            2.97%
          Voting Age                 21,188       19,721          133              505
                                                 93.08%        0.63%            2.38%
 County: Gilmer GA
         Total:                      31,353       26,365          296           3,599
                                                 84.09%        0.94%          11.48%
          Voting Age                 25,417       22,187          161           2,158
                                                 87.29%        0.63%           8.49%
 County: Lumpkin GA
         Total:                      33,488       29,241          685            1,790
                                                 87.32%        2.05%            5.35%
          Voting Age                 27,689       24,419          507            1,345
                                                 88.19%        1.83%            4.86%
 County: Pickens GA
         Total:                      33,216       30,122          512            1,198
                                                 90.69%        1.54%            3.61%
          Voting Age                 26,799       24,626          319              755
                                                 91.89%        1.19%            2.82%
 County: Union GA
         Total:                      24,632       22,646          228              816
                                                 91.94%        0.93%            3.31%
          Voting Age                 20,808       19,351          147              563
                                                 93.00%        0.71%            2.71%
 County: White GA
         Total:                      15,361       13,495          523              557
                                                 87.85%        3.40%            3.63%
          Voting Age                 12,229       10,907          360              372
                                                 89.19%        2.94%            3.04%
District 051 Total
           Total:                   190,167      168,764        2,835          10,318
                                                 88.75%        1.49%           5.43%
          Voting Age                155,571      140,394        1,876           6,745
                                                 90.24%        1.21%           4.34%
District 052



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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 052
 County: Bartow GA
           Total:                    97,771       71,729        12,749            9,223
                                                 73.36%        13.04%            9.43%
          Voting Age                 74,752       56,762         8,942            5,881
                                                 75.93%        11.96%            7.87%
 County: Floyd GA
         Total:                      85,090       58,363        14,081           9,582
                                                 68.59%        16.55%          11.26%
          Voting Age                 65,739       47,378        10,019           5,920
                                                 72.07%        15.24%           9.01%
 County: Gordon GA
         Total:                       7,938        6,899           266              487
                                                 86.91%         3.35%            6.14%
          Voting Age                  6,129        5,443           159              282
                                                 88.81%         2.59%            4.60%
District 052 Total
           Total:                   190,799      136,991        27,096          19,292
                                                 71.80%        14.20%          10.11%
          Voting Age                146,620      109,583        19,120          12,083
                                                 74.74%        13.04%           8.24%
District 053
 County: Catoosa GA
           Total:                    67,872       59,280         2,642            2,341
                                                 87.34%         3.89%            3.45%
          Voting Age                 52,448       46,578         1,684            1,492
                                                 88.81%         3.21%            2.84%
 County: Chattooga GA
         Total:                      24,965       20,079         2,865            1,297
                                                 80.43%        11.48%            5.20%
          Voting Age                 19,416       15,885         2,235              733
                                                 81.81%        11.51%            3.78%
 County: Dade GA
         Total:                      16,251       14,786           228              364
                                                 90.99%         1.40%            2.24%
          Voting Age                 12,987       11,925           140              243
                                                 91.82%         1.08%            1.87%
 County: Floyd GA
         Total:                      13,494        9,384         1,525           1,884
                                                 69.54%        11.30%          13.96%
          Voting Age                 10,556        7,710         1,045           1,247
                                                 73.04%         9.90%          11.81%
 County: Walker GA
         Total:                      67,654       59,654         3,664            1,685
                                                 88.18%         5.42%            2.49%
          Voting Age                 52,794       47,292         2,454            1,066
                                                 89.58%         4.65%            2.02%




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Plan Components with Population Detail                                       Ga_SB1EX

                                      Total     NH_Wht         AP_Blk        [Hispanic
                                 Population                                    Origin]

District 053
District 053 Total
           Total:                   190,236      163,183        10,924            7,571
                                                 85.78%         5.74%            3.98%
          Voting Age                148,201      129,390         7,558            4,781
                                                 87.31%         5.10%            3.23%
District 054
 County: Gordon GA
           Total:                    49,606       36,418         2,653           8,470
                                                 73.41%         5.35%          17.07%
          Voting Age                 37,371       28,641         1,780           5,310
                                                 76.64%         4.76%          14.21%
 County: Murray GA
         Total:                      39,973       32,164           556           5,914
                                                 80.46%         1.39%          14.79%
          Voting Age                 30,210       25,146           321           3,696
                                                 83.24%         1.06%          12.23%
 County: Whitfield GA
         Total:                     102,864       57,875         4,919          36,916
                                                 56.26%         4.78%          35.89%
          Voting Age                 76,262       46,881         3,349          23,553
                                                 61.47%         4.39%          30.88%
District 054 Total
           Total:                   192,443      126,457         8,128          51,300
                                                 65.71%         4.22%          26.66%
          Voting Age                143,843      100,668         5,450          32,559
                                                 69.98%         3.79%          22.64%
District 055
 County: DeKalb GA
           Total:                    65,718        1,920        60,912            2,625
                                                  2.92%        92.69%            3.99%
          Voting Age                 50,456        1,719        46,664            1,706
                                                  3.41%        92.48%            3.38%
 County: Gwinnett GA
         Total:                     124,437       32,482        67,133          16,648
                                                 26.10%        53.95%          13.38%
          Voting Age                 91,512       27,464        46,995          10,656
                                                 30.01%        51.35%          11.64%
District 055 Total
           Total:                   190,155       34,402       128,045          19,273
                                                 18.09%        67.34%          10.14%
          Voting Age                141,968       29,183        93,659          12,362
                                                 20.56%        65.97%           8.71%
District 056




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Plan Components with Population Detail                                      Ga_SB1EX

                                      Total     NH_Wht         AP_Blk       [Hispanic
                                 Population                                   Origin]

District 056
 County: Cherokee GA
           Total:                    66,605       48,010        5,967           8,170
                                                 72.08%        8.96%          12.27%
          Voting Age                 51,115       38,098        4,197           5,543
                                                 74.53%        8.21%          10.84%
 County: Cobb GA
         Total:                      89,893       66,151        6,696            5,995
                                                 73.59%        7.45%            6.67%
          Voting Age                 66,553       50,572        4,697            3,906
                                                 75.99%        7.06%            5.87%
 County: Fulton GA
         Total:                      34,728       27,149        2,792            2,333
                                                 78.18%        8.04%            6.72%
          Voting Age                 26,780       21,361        2,046            1,609
                                                 79.76%        7.64%            6.01%
District 056 Total
           Total:                   191,226      141,310       15,455          16,498
                                                 73.90%        8.08%           8.63%
          Voting Age                144,448      110,031       10,940          11,058
                                                 76.17%        7.57%           7.66%




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